Case 8:24-cv-01997-JLS-DFM   Document 127-7   Filed 01/08/25   Page 1 of 122 Page
                                  ID #:4786




                       EXHIBIT 7
     Case 8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document127-7
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                                                          01/08/25   Page
                                                                     Page 12 of
                                                                             of 9122Page
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      Plaintiff, pro se
10
11
12
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
13
14    LENORE ALBERT, et al,                     CASE NO. 8:24-cv-01997-WLH (DFMx)
15                            Plaintiff,        PLAINTIFF LENORE ALBERT’S
16    vs.                                       DECLARATION IN OPPOSITION TO
17
                                                TYLER TECHNOLOGIES' MOTION
      TYLER TECHNOLOGIES, INC., et al,          TO DISMISS
18                     Defendants.
19                                              Complaint filed: 09-16-2024
                                                First Amended Complaint filed: 11-04-2024
20
21                                              Hearing Date: December 20, 2024
                                                Time: 1:30PM
22
                                                Ctrm: 9B – 9th Flr
23
24
      Ryan McMahon
25    Email: Codethree53@gmail.com
26    7533 English Hills Road
      Vacaville, CA 95687
27
      Telephone: 707-333-3127
28
                                                i
         PLAINTIFF LENORE ALBERT’S DECLARATION IN OPPOSITION TO
                       TYLER TECHNOLOGIES' MOTION TO DISMISS
       Albert, et al. v Tyler Technologies, Inc., et al. Case No. 8:24-cv-01997-WLH (DFMx)
     Case 8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document127-7
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                                                          01/08/25   Page
                                                                     Page 23 of
                                                                             of 9122Page
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      Telephone: 559-727-1604
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18
19
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22
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                                               ii
         PLAINTIFF LENORE ALBERT’S DECLARATION IN OPPOSITION TO
                       TYLER TECHNOLOGIES' MOTION TO DISMISS
       Albert, et al. v Tyler Technologies, Inc., et al. Case No. 8:24-cv-01997-WLH (DFMx)
     Case 8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document127-7
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                                                       Filed 11/27/24
                                                             01/08/25   Page
                                                                        Page 34 of
                                                                                of 9122Page
                                                                                         Page
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1                DECLARATION OF LENORE ALBERT IN OPPOSITION TO TYLER
2                         TECHNOLOGIES’ MOTION TO DISMISS
3           I, LENORE ALBERT, am one of the plaintiffs in the above-captioned action and
4     if called as a witness, could competently testify of my own personal knowledge as
5     follows:
6     1. I have been the cooperative one with meet and confers.
7     2. However, if I am only given 24 hours notice or less it needs to be an emergency for
8        me to adjust what I am doing.
9     3. Defendants were acting in bad faith in trying to get a meeting established with all of
10       the plaintiffs in less than 24 hours when they had the first amended complaint in
11       their hands.
12    4. On or about October 17, 2024, I sent a Zoom link so that all parties could participate
13       in good faith in a meet and confer on the complaint for October 23, 2024.
14    5. Both attorneys Zach Timm and Beth Petronio of K&L Gates represented Tyler
15       Technologies in the data breach class action, so I was familiar with their names.
16    6. However, Beth Petronio had not filed her application for pro hac vice by October 23,
17       2024.
18    7. So, I sent an email notifying all counsel that only attorneys who have appeared in the
19       case will be allowed into the meeting.
20    8. In the data breach case, the State Bar defendants substituted Cooley LLP attorneys
21       with Freeman, Mathis & Gary LLP, so there is a precedent that the defendants do
22       not necessarily keep the same counsel.
23    9. Zach Timm, Nicholas Fine, and Kevin Gilbert will attend the meet and confer
24       session on October 23, 2024.
25    10. It was something I had only heard about from other lawyers.
26    11. There was no good faith effort by the defendants to discuss the pleadings.
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         PLAINTIFF LENORE ALBERT’S DECLARATION IN OPPOSITION TO
                       TYLER TECHNOLOGIES' MOTION TO DISMISS
       Albert, et al. v Tyler Technologies, Inc., et al. Case No. 8:24-cv-01997-WLH (DFMx)
     Case 8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document127-7
                                           88-1          Filed
                                                         Filed 11/27/24
                                                               01/08/25   Page
                                                                          Page 45 of
                                                                                  of 9122Page
                                                                                           Page
                                                                                              ID
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1     12. In the data breach class action, the defense counsel would actually go through the
2        causes of action, and we would discuss the issues. Defendants would cite their legal
3        authority, and I would cite mine.
4     13. It was two hours of Kevin Gilbert trying to intimidate the pro pers.
5     14. Zach Timm did not meet and confer and instead said he would wait for Beth
6        Petronio.
7     15. The second meet and confer session, wherein I sent out a Zoom link, was on October
8        29, 2024.
9     16. Beth Petronio, Kevin Gilbert, Zach Timm, and Nicholas Fine attended this second
10       session.
11    17. Kevin Gilbert called me stupid and dumb when I asked him what causes of action
12       the State Bar had issues with and asked for the basis.
13    18. When I asked for case law, he said he didn’t have any yet and tried to shame me,
14       making the others believe I did not know what I was doing.
15    19. The Bar cannot delete my knowledge or experience.
16    20. There was no meeting and conferring as intended by local rules by Kevin Gilbert.
17    21. The motions Kevin and Beth referred to during the session were Rule 11 sanctions
18       and SLAPP motions seeking attorney fees.
19    22. The meeting was centered around the plaintiffs' being told they would have to pay
20       money to sue the defendants.
21    23. The plaintiffs dismissed most of their causes of action out of fear and filed a first
22       amended complaint on November 4, 2024.
23    24. I then set up the next meet-and-confer session with opposing counsel for November
24       12, 2024, at 8:00 AM because the defendants wanted the meeting to be during their
25       regular business hours.
26    25. I offered the defendants a thirty-day extension, but they did not accept the invitation.
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         PLAINTIFF LENORE ALBERT’S DECLARATION IN OPPOSITION TO
                       TYLER TECHNOLOGIES' MOTION TO DISMISS
       Albert, et al. v Tyler Technologies, Inc., et al. Case No. 8:24-cv-01997-WLH (DFMx)
     Case 8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document127-7
                                           88-1         Filed
                                                        Filed 11/27/24
                                                              01/08/25   Page
                                                                         Page 56 of
                                                                                 of 9122Page
                                                                                          Page
                                                                                             ID
                                      ID#:2880
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1     26. Beth Petronio went first, concluding there was no tortious interference and no legal
2        basis other than the other plaintiffs' lack of proof that Tyler Technologies knew
3        about their relationship with me.
4     27. As for negligence, she contended that there was no tolling of the statute of
5        limitations.
6     28. Her meet and confer, short, was more informative than Kevin Gilbert’s.
7     29. James Ocon asked about their attorney fees, and Kevin Gilbert responded that they
8        would keep the information confidential until they filed their motion for fees.
9     30. Beth Petronio told the plaintiffs they were considering filing a motion for attorney
10       fees as sanctions.
11    31. Kevin Gilbert also said he would file a SLAPP motion because the claims are
12       frivolous.
13    32. Beth Petronio asserted that Tyler Tech and the State Bar could not have an agency
14       relationship because their contract expressly disclaims one.
15    33. The meet and confer session ended at 8:28 AM.
16    34. There was no rush to file the motions because the plaintiffs agreed to give the
17       defendants a 30-day extension so long as they did not need to respond during the
18       December holiday, which the defendants refused to sign.
19    35. On January 12, 2024, the state court overruled the defendants’ demurrers and found
20       two viable causes of action based on mandatory duty and negligence against the
21       State Bar of California and Tyler Technologies, Inc. Attached hereto and fully
22       incorporated herein as Exhibit 1 is a true and correct copy of the state court’s
23       Minute Order dated January 12, 2024.
24    36. I had a motion for class certification pending when the interim suspension was
25       ordered.
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         PLAINTIFF LENORE ALBERT’S DECLARATION IN OPPOSITION TO
                       TYLER TECHNOLOGIES' MOTION TO DISMISS
       Albert, et al. v Tyler Technologies, Inc., et al. Case No. 8:24-cv-01997-WLH (DFMx)
     Case 8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document127-7
                                           88-1        Filed
                                                       Filed 11/27/24
                                                             01/08/25   Page
                                                                        Page 67 of
                                                                                of 9122Page
                                                                                         Page
                                                                                            ID
                                      ID#:2881
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1     37. On March 20, 2024, the state court struck the motion to certify the class. Attached
2        hereto and fully incorporated herein as Exhibit 2 is a true and correct copy of the
3        state court’s Minute Order dated March 20, 2024.
4     38. On July 17, 2024, I was disbarred.
5     39. However, my petition for cert was good enough for the U.S. Supreme Court to keep
6        my membership in good standing. Attached hereto and fully incorporated herein as
7        Exhibit 3 is a true and correct copy of the U.S. Supreme Court Certificate in Good
8        Standing dated November 19, 2024.
9     40. I have remained a member in good standing before the U.S. Supreme Court since
10       2007.
11    41. At no time did the U.S. Supreme Court find any of the State Bar’s disciplinary
12       actions warranted any reciprocal discipline or even to issue an order to show cause.
13    42. I settled with Kevan Schwitzer, the operator of JudyRecords.com where the
14       confidential state bar records were located online.
15    43. He provided an affidavit showing that the cause was Tyler Technologies’ lack of
16       adequate access control check (in part). Attached hereto and fully incorporated
17       herein as Exhibit 4 is a true and correct copy of Mr. Schwitzer’s affidavit.
18    44. Many documents (communications) were also supplied along with that affidavit.
19    45. Included in those documents was a communication where Tyler Technologies says
20       to hold off until all 13 California agencies are handled because they need to be
21       treated as “one bucket.” Attached hereto and fully incorporated herein as Exhibit 5
22       is a true and correct copy of nine communications showing there were
23       approximately thirteen government agencies in California that suffered the same
24       data breach and there was an agreement by Tyler Tech to handle it as one bucket.
25    46. Attached hereto and fully incorporated herein as Exhibit 6 is a true and correct copy
26       of the email notice I received showing I was a victim of the data breach and my
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         PLAINTIFF LENORE ALBERT’S DECLARATION IN OPPOSITION TO
                       TYLER TECHNOLOGIES' MOTION TO DISMISS
       Albert, et al. v Tyler Technologies, Inc., et al. Case No. 8:24-cv-01997-WLH (DFMx)
     Case 8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document127-7
                                           88-1        Filed
                                                       Filed 11/27/24
                                                             01/08/25   Page
                                                                        Page 78 of
                                                                                of 9122Page
                                                                                         Page
                                                                                            ID
                                      ID#:2882
                                         #:4793


1        name was on the internet with the confidential state bar investigation where someone
2        else viewed it.
3     47. I don’t know exactly what investigation the other person viewed because the State
4        Bar will not tell me.
5     48. Attached hereto and fully incorporated herein as Exhibit 7 is a true and correct copy
6        of the 2022 CIS Controls standards that were in place when the breach occurred.
7           I declare under the laws of the United States that the foregoing is true and correct
8     to the best of my ability. Executed this day in Coldwater, Michigan.
9     Dated: November 27, 2024         Respectfully Submitted,
10                                    /s/ Lenore L. Albert_______
11                                    Lenore L. Albert, plaintiff, pro se
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         PLAINTIFF LENORE ALBERT’S DECLARATION IN OPPOSITION TO
                       TYLER TECHNOLOGIES' MOTION TO DISMISS
       Albert, et al. v Tyler Technologies, Inc., et al. Case No. 8:24-cv-01997-WLH (DFMx)
     Case 8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document127-7
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                                                             01/08/25   Page
                                                                        Page 89 of
                                                                                of 9122Page
                                                                                         Page
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1                                       PROOF OF SERVICE
2     STATE OF CALIFORNIA, COUNTY OF ORANGE:
3      I declare that I am over the age of 18 years, and a party to the within action using ECF
      to file and serve; that I am employed in Orange County, California; my business
4
      address is 1968 S Coast Hwy #3960, Laguna Beach, CA 92651. On November 27,
5     2024, I served a copy of the following document(s) described as:
6
      PLAINTIFF LENORE ALBERT’S DECLARATION IN OPPOSITION TO
      TYLER TECHNOLOGIES' MOTION TO DISMISS
7     On the interested parties in this action as follows:
8     See Electronic Service list
9     [x] BY E-SERVE and EMAIL – I caused such document(s) to be transmitted to the
10    office(s) of the addressee(s) listed above by electronic mail at the e-mail address(es)
      set forth. (Per Covid-19 Order)
11
      [] BY MAIL– I caused such document(s) to be placed in pre-addressed envelope(s)
12    with postage thereon fully prepaid and sealed, to be deposited as regular US Mail at
13    Huntington Beach, California, to the aforementioned addressee(s).
       I declare under penalty of perjury under the laws of the State of California and the
14    United States of America that the foregoing is true and correct.
15
      Dated: November 27, 2024
16
                                                   _/s/Lenore Albert_____________________
17                                                            Lenore Albert
18
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         PLAINTIFF LENORE ALBERT’S DECLARATION IN OPPOSITION TO
                       TYLER TECHNOLOGIES' MOTION TO DISMISS
       Albert, et al. v Tyler Technologies, Inc., et al. Case No. 8:24-cv-01997-WLH (DFMx)
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          8:24-cv-01997-WLH-DFM
             8:24-cv-01997-JLS-DFM Document
                                    Document 88-1
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                                                           11/27/24
                                                              01/08/25Page
                                                                        Page
                                                                           9 of10
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1                                ELECTRONIC SERVICE LIST
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5      Orbach Huff + Henderson LLP
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       Pleasanton
       6200 Stoneridge Mall Road, Suite 225
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       San Francisco, CA 94105-1639 Telephone: 415-538-2388; Facsimile: 415-538-2517
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       K&L GATES LLP
22     10100 Santa Monica Boulevard Seventh Floor
23
       Los Angeles, California 90067 Telephone: 310.552.5000
       Co-plaintiffs by email by consent – as listed on the caption.
24
       George Cardona to be served; serviceofprocess@calbar.ca.gov
25
       and Chief Justice Patricia Guerrero to be served with summons and complaint.
26
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                                                   7
          PLAINTIFF LENORE ALBERT’S DECLARATION IN OPPOSITION TO
                        TYLER TECHNOLOGIES' MOTION TO DISMISS
        Albert, et al. v Tyler Technologies, Inc., et al. Case No. 8:24-cv-01997-WLH (DFMx)
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           Case
              8:24-cv-01997-WLH-DFM
                 8:24-cv-01997-JLS-DFM Document
                                          Document88-2
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                                                                11/27/24
                                                                   01/08/25Page
                                                                             Page
                                                                                1 of11
                                                                                     3 ofPage
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                               SUPERIOR COURT     OF
                                           Page#:2885
                                                ID   CALIFORNIA,
                                                   #:4796
                                    COUNTY OF ORANGE
                                   CIVIL COMPLEX CENTER
                                            MINUTE ORDER
DATE: 01/12/2024                    TIME: 10:00:00 AM              DEPT: CX105
JUDICIAL OFFICER PRESIDING: Randall J. Sherman
CLERK: J. Phu
REPORTER/ERM: Lori Anastasiou CSR# 4345
BAILIFF/COURT ATTENDANT: R. Lau

CASE NO: 30-2022-01250695-CU-AT-CXC CASE INIT.DATE: 03/18/2022
CASE TITLE: Roe 1 vs. The State Bar of California
CASE CATEGORY: Civil - Unlimited     CASE TYPE: Antitrust/Trade Regulation

EVENT ID/DOCUMENT ID: 74111451
EVENT TYPE: Demurrer to Complaint
MOVING PARTY: Rick Rankin
CAUSAL DOCUMENT/DATE FILED: Demurrer to Amended Complaint, 09/25/2023

EVENT ID/DOCUMENT ID: 74110742
EVENT TYPE: Demurrer to Amended Complaint
MOVING PARTY: The State Bar of California
CAUSAL DOCUMENT/DATE FILED: Demurrer to Amended Complaint to Third Amended Complaint,
09/25/2023

EVENT ID/DOCUMENT ID: 74111403
EVENT TYPE: Demurrer to Amended Complaint
MOVING PARTY: Tyler Technologies, Inc.
CAUSAL DOCUMENT/DATE FILED: Demurrer to Amended Complaint, 09/25/2023

APPEARANCES
Chrstopher Weber, from Freeman, Mathis & Gary, LLP, present for Defendant(s) remotely.
Suzanne Grandt, from Office of General Counsel The State Bar of California, present for Defendant
(s) remotely.
Michael A. Gold and Justin A. Anderson (in person), from Jeffer Mangels Butler & Mitchell LLP,
present for Defendant(s) remotely.
Beth W. Petronio and Zachary T. Timm, from K&L GATES, LLP, present for Defendant(s).
Lenore Albert, from Law Offices of Lenore Albert, present for Plaintiff(s) remotely.
Tentative Ruling posted on the Internet .

Hearing held, participants appearing remotely and in person.

The Court hears oral argument.

The Court confirms the tentative ruling as follows:

Defendant The State Bar of California’s Demurrer to Plaintiffs’ Third Amended Complaint, Defendant




DATE: 01/12/2024                                 MINUTE ORDER                                Page 1
DEPT: CX105                                                                              Calendar No.
       Case
         Case
            8:24-cv-01997-WLH-DFM
               8:24-cv-01997-JLS-DFM Document
                                           Document 88-2
                                                      127-7Filed
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                                                                  11/27/24
                                                                     01/08/25Page
                                                                               Page
                                                                                  2 of12
                                                                                       3 ofPage
                                                                                            122 ID
CASE TITLE: Roe 1 vs. The State Bar of California
                                             Page#:2886 CASE NO: 30-2022-01250695-CU-AT-CXC
                                                  ID #:4797

Tyler Technologies, Inc.’s Demurrer to Third Amended Complaint, and Defendant Rick Rankin’s
Demurrer to Third Amended Complaint of Plaintiffs are sustained with 20 days leave to amend as to the
First, Sixth (State Bar only), Seventh, Eighth, Ninth, Tenth and Eleventh Causes of Action, sustained
without leave to amend as to the Second, Third and Sixth (Rick Rankin only) Causes of Action and
overruled as to the Fourth and Fifth (State Bar only) Cause of Action. Defendant The State Bar of
California’s Request for Judicial Notice is denied.

Plaintiffs’ First Cause of Action is for Invasion of Privacy. Case law requires that plaintiffs must establish
conduct by the defendant constituting a serious invasion of their privacy. Actionable invasions of privacy
must be sufficiently serious in their nature, scope, and actual or potential impact to constitute an
egregious breach of the social norms underlying the privacy right. The impact on the plaintiffs’ privacy
rights must be more than slight or trivial. Hill v. National Collegiate Athletic Assn. (1994) 7 Cal. 4th 1, 37,
40; Mezger v. Bick (2021) 66 Cal. App. 5th 76, 87. Here, none of the plaintiffs allege that any of their
social security numbers or medical records information were made public by the State Bar data breach.
Rather, plaintiffs admit in ¶21 of their Third Amended Complaint that “plaintiffs and the members of the
class can only speculate as to what confidential state bar investigation was publicly posted online that
was attached to their identity”. Three of the five plaintiffs admit they never received a notice of being
affected by the data breach, and the other two plaintiffs admit they received notice that their docket data
was involved in the breach but no evidence it was ever viewed. TAC ¶¶92, 100, 110, 114, 119. As a
result, plaintiffs fail to allege either a serious invasion of their privacy, an egregious breach of the social
norms underlying their privacy rights, or an impact on plaintiffs’ privacy rights that is more than slight or
trivial. Nor do they allege “conduct by the defendant” constituting a serious invasion of their privacy.
Thus, plaintiffs fail to state a cause of action for Invasion of Privacy.

Plaintiffs’ Second Cause of Action is for Violation of Civil Code §1798.150(a). Plaintiffs’ opposition states
that they have withdrawn this cause of action.

Plaintiffs’ Third Cause of Action is for Violation of Civil Code §1798.81.5. Plaintiffs’ opposition states that
they have withdrawn this cause of action.

The Fourth Cause of Action is for Negligence. Defendant Tyler Technologies argues against the
sufficiency of plaintiffs’ damage allegations, but those arguments are improper at the demurrer stage.

Plaintiffs’ Fifth Cause of Action is for violation of Gov. Code §815.6. That statute provides, “Where a
public entity is under a mandatory duty imposed by an enactment that is designed to protect against the
risk of a particular kind of injury, the public entity is liable for an injury of that kind proximately caused by
its failure to discharge the duty unless the public entity establishes that it exercised reasonable diligence
to discharge the duty.” Application of Section 815.6 requires that the enactment be obligatory, rather
than discretionary or permissive and require that a particular action be taken or not taken. Wilson v.
County of San Diego (2001) 91 Cal. App. 4th 974, 980. Bus. & Prof. Code §6086.1 and State Bar Rules
of Procedure, Rules 2301 and 2302, mandate that all disciplinary investigations are confidential until the
time that formal charges are filed, and that information concerning inquiries, complaints or investigations
is confidential, and shall not be shared outside of the State Bar Office of Chief Trial Counsel. These
enactments are sufficient to create an obligatory, mandatory duty to protect the confidentiality of plaintiffs’
disciplinary records before any formal charges are filed. To avoid liability, defendant State Bar will have
to show that it exercised reasonable diligence to discharge that duty.

The Sixth Cause of Action is for violation of Gov. Code §815.4. That statute provides, “ A public entity is
liable for injury proximately caused by a tortious act or omission of an independent contractor of the
public entity to the same extent that the public entity would be subject to such liability if it were a private
person.” Plaintiffs allege that defendant Rick Rankin is an independent contractor of the State Bar who is
liable on other causes of action for his alleged failure to ensure that the State Bar’s software had
adequate security. Plaintiffs therefore allege enough to state a cause of action against the State Bar




DATE: 01/12/2024                                   MINUTE ORDER                                       Page 2
DEPT: CX105                                                                                       Calendar No.
       Case
         Case
            8:24-cv-01997-WLH-DFM
               8:24-cv-01997-JLS-DFM Document
                                           Document 88-2
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                                                                     01/08/25Page
                                                                               Page
                                                                                  3 of13
                                                                                       3 ofPage
                                                                                            122 ID
CASE TITLE: Roe 1 vs. The State Bar of California
                                             Page#:2887 CASE NO: 30-2022-01250695-CU-AT-CXC
                                                  ID #:4798

under the statute IF they state viable claims against Rick Rankin, which they do not yet do. Defendant
Rick Rankin is not a public entity, and thus cannot possibly be held liable under this statute.

The Seventh Cause of Action is for Negligence per se. The State Bar demurs to this claim on the ground
that it is immune from common law tort claims under Gov. Code §815(a), but this argument fails due to
the State Bar potentially being liable on the Fifth (and Sixth) Causes of Action, which adequately assert
liability pursuant to the Gov. Code. Defendants Tyler Technologies and Rick Rankin argue that
negligence per se is not a cognizable cause of action, but is an evidentiary doctrine establishing a
presumption of negligence that does not establish tort liability itself. Quiroz v. Seventh Ave. Center
(2006) 140 Cal. App. 4th 1256, 1285. This argument is well taken. Plaintiffs should really be asserting a
negligence cause of action rather than negligence per se.

The Eighth Cause of Action is for Public Disclosure of Private Facts. In Hill v. National Collegiate Athletic
Assn. (1994) 7 Cal. 4th 1, however, the court held, “Common law invasion of privacy by public disclosure
of private facts requires that the actionable disclosure be widely published and not confined to a few
persons or limited circumstances.” 7 Cal. 4th at 27. Plaintiffs fail to allege that private facts of theirs
were widely published.

The Ninth Cause of Action is for False Light. To state a false light claim, plaintiffs must allege statements
that are (1) assertions of fact, (2) actually false or create a false impression about them, (3) highly
offensive to a reasonable person or defamatory, and (4) made with actual malice. De Havilland v. FX
Networks, LLC (2018) 21 Cal. App. 5th 845, 865. Here, plaintiffs fail to allege either that defendants
made assertions of fact made about them or that defendants made assertions of fact with actual malice.

The Tenth Cause of Action is for Fraud. However, the only alleged false statement was the notice
provided by the State Bar to plaintiffs and the class, not any representation by Tyler or Rankin. More
importantly, plaintiffs’ allegations do not show or explain how their damages were proximately caused by
the allegedly false notice from the State Bar, rather than by the data breach itself.

The Eleventh Cause of Action is for Violation of Bus. & Prof. Code §17200. However, plaintiffs fail to
allege any anti-competitive or unfair business practices by Tyler or Rankin. Plaintiffs also have not
shown how Tyler or Rankin is subject to Bus. & Prof. Code §6086.1, or how any other of the cited
statutes apply to them. In seeking monetary relief, plaintiffs plead “reputational harm and time loss” and
“lost money” due to mitigation costs, which are not money or property acquired by defendants which
would support a claim for restitution, which is the only relief afforded by a UCL claim (aside from an
injunction).

Discussions held between the Court and counsel regarding setting of an Informal Discovery Conference,
as set forth on the record.

The Court sets an Informal Discovery Conference for 02/09/2024 at 01:30 PM in Department CX105.

Defendants may file a 3 page brief two weeks before the hearing. Plaintiffs may file a response one week
before the hearing.

Parties waive notice.




DATE: 01/12/2024                                 MINUTE ORDER                                      Page 3
DEPT: CX105                                                                                    Calendar No.
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        8:24-cv-01997-WLH-DFM
           8:24-cv-01997-JLS-DFM Document
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SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
Civil Complex Center
751 W. Santa Ana Blvd
Santa Ana, CA 92701
SHORT TITLE: Roe 1 vs. The State Bar of California



    CLERK'S CERTIFICATE OF MAILING/ELECTRONIC                                          CASE NUMBER:
                     SERVICE                                                           30-2022-01250695-CU-AT-CXC


  I certify that I am not a party to this cause. I certify that that the following document(s), Minute Order dated 03/20/24, was
  transmitted electronically by an Orange County Superior Court email server on March 20, 2024, at 2:56:32 PM PDT. The
  business mailing address is Orange County Superior Court, 700 Civic Center Dr. W, Santa Ana, California 92701. Pursuant
  to Code of Civil Procedure section 1013b, I electronically served the document(s) on the persons identified at the email
  addresses listed below:

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                                                                Clerk of the Court, by:
                                                                                                                        , Deputy




                        CLERK'S CERTIFICATE OF MAILING/ELECTRONIC SERVICE


V3 1013a (June 2004)                                                                           Code of Civ. Procedure , § CCP1013(a)
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                                            MINUTE ORDER
DATE: 03/20/2024                    TIME: 02:44:00 PM                  DEPT: CX105
JUDICIAL OFFICER PRESIDING: Randall J. Sherman
CLERK: J. Phu
REPORTER/ERM: None
BAILIFF/COURT ATTENDANT:

CASE NO: 30-2022-01250695-CU-AT-CXC CASE INIT.DATE: 03/18/2022
CASE TITLE: Roe 1 vs. The State Bar of California
CASE CATEGORY: Civil - Unlimited     CASE TYPE: Antitrust/Trade Regulation

EVENT ID/DOCUMENT ID: 74253231
EVENT TYPE: Chambers Work



APPEARANCES

There are no appearances by any party.

Status Conference Statement filed on 3/15/2024 is read and considered.

Status Conference continued to 06/28/2024 at 10:00 AM in this department.

The Court, on its own motion, strikes Plaintiffs' Motion for Class Certification. It appears that plaintiffs'
counsel has been suspended or disbarred, which would preclude the element of having adequate class
counsel.

A Joint Status Report must be filed at least one week before the hearing.

Court orders clerk to give notice.




DATE: 03/20/2024                                 MINUTE ORDER                                      Page 1
DEPT: CX105                                                                                    Calendar No.
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        8:24-cv-01997-JLS-DFM Document
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                                         PageID #:2891
                                                ID #:4802
 Affidavit Executed in John Roe 1, et al v. The State Bar of California, et al


                             AFFIDAVIT OF KEVAN SCHWITZER

                 I, Kevan Schwitzer, state and affirm as follows:

         1.      I am over eighteen (18) years of age and have personal knowledge of the facts and

 circumstances stated in this affidavit, and if called upon to testify as a witness, I would testify to

 these facts.

 Kevan Schwitzer Background Information

         2.      I am a software engineer who resides in Irving, Texas.

         3.      I studied finance for several years in college at the University of Iowa. Although I

 did not graduate, I also began learning computer programming while in college.

         4.      I have been learning and working in the field of computer programming for over

 10 years now and am currently employed as a software engineer at a company that provides

 software to the utility industry.

         5.      I am the creator, owner, and operator of judyrecords.com (“judyrecords”).

 judyrecords is a completely free nationwide public records search engine with over 600 million

 United States court cases and other public records.

 judyrecords.com Background Information

         6.      I first began collecting public records for judyrecords in 2014 and launched the site

 in August 2020. The search engine includes records pulled from hundreds of public records

 databases.

         7.      I built the automated program that judyrecords uses to pull public records from

 publicly maintained records databases.

         8.      judyrecords uses MySQL for the database, Elasticsearch for the search function,

 and the automated program mainly uses PHP code.



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 Case8:24-cv-01997-WLH-DFM
       8:24-cv-01997-JLS-DFM Document Document88-5 127-7 Filed
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                                        PageID #:2892
                                               ID #:4803
 Affidavit Executed in John Roe 1, et al v. The State Bar of California, et al


        9.        The public records systems that judyrecords pulls records from can largely be

 divided into two categories, which I call “Type I” and “Type II” Systems. The following

 information regarding these types of Systems and these definitions are based on my personal

 experiences downloading public records from many public record databases.

 Type I Systems

        10.       Type I Systems provide simple and straightforward access to the records

 maintained and hosted in the database.

        11.       Type I Systems typically use straightforward URLs (uniform resource locators) that

 are tied to a standardized case identification number (“Case ID Numbers”) and allow for a variety

 of search types, including for example, simply searching date filed to retrieve all the cases in a

 certain date range. These straightforward URLs and searches allow an automated program, like

 the one used by judyrecords, to collect records contained in the database by simple and

 straightforward means.

        12.       Examples of Type I Systems are those used by the Oklahoma Statewide Courts, the

 United States Patent and Trademark Office, the United States Trademark Trial and Appeal Inquiry,

 and the Supreme Court of the United States.

 Type II Systems

        13.       Type II Systems make access to the records maintained and hosted in the database

 much more difficult.

        14.       Type II Systems limit the ability to search for broad categories of records, use

 randomized URLs that are a string of letters and numbers that are not standardized, and use other

 methods such as CAPTCHA to slow down records collection. These types of systems make it




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       8:24-cv-01997-JLS-DFM Document Document88-5 127-7 Filed
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                                               ID #:4804
 Affidavit Executed in John Roe 1, et al v. The State Bar of California, et al


 much more difficult for an automated program to collect records maintained in the database by

 simple and straightforward means.

        15.     Examples of Type II Systems are those used by the California State Bar, the Kansas

 Statewide Courts, the Kane County, IL Courts, and the Dekalb County, GA Courts.

        16.     The aforementioned examples of Type II Systems were all designed and maintained

 by Tyler Technologies, Inc. (“Tyler Tech.”). Tyler Tech. calls these public records portals

 “Odyssey.”

        17.     Despite the roadblocks that Odyssey systems can present for the collection of public

 records, these roadblocks can be dealt with.

        18.     For example, although the Tyler Tech. Odyssey systems used randomized URL

 strings rather than more straightforward Case ID Numbers, the Tyler Tech. Odyssey systems used

 the exact same randomized URL strings for the same Case ID Numbers in each of the public

 records systems maintained by Tyler Tech.

        19.     The Application Programming Interface (“API”) data returned by each Tyler Tech.

 search result made it apparent (via publicly-returned API results) that Tyler Tech used the exact

 same randomized URL strings for the same Case ID Numbers in each Tyler Tech. Odyssey system.

        20.     This pattern allowed the automated program used by judyrecords to directly access

 each individual case record in a Tyler Tech. Odyssey system without entering search terms into

 the portal for a public records database using the Odyssey system.

        21.     This method is similar to accessing a sub-page of a website by entering the URL of

 the specific sub-page rather than first going to the homepage and then clicking the link to take you

 to the subpage.




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 Case8:24-cv-01997-WLH-DFM
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                                        PageID #:2894
                                               ID #:4805
 Affidavit Executed in John Roe 1, et al v. The State Bar of California, et al


 judyrecords Collection of California Bar Attorney Discipline Records

         22.      On or about October 15, 2021, judyrecords began to collect records using the

 automated program, using the pattern in Tyler Tech. Odyssey systems mentioned above.

 Specifically, the automated program began to directly access California Bar disciplinary records

 (“California Bar Disciplinary Records”) available on the Odyssey system designed and maintained

 by Tyler Tech.

         23.      The California Bar Disciplinary Records that the automated program accessed were

 located at: https://discipline.calbar.ca.gov/Portal/Home. The access port for all requests was port

 443, as this is the port for all traffic using a URL that beings with “https://”. This port ensures that

 any traffic to access the website is secure at the message transport level. The URLs that the

 automated program directly accessed were an API that returned HTML pages.

         24.      The automated program was designed to only access and pull publicly available

 information and records. The automated program does not have any method or ability to bypass

 access control checks. The automated program also does not have any capability to de-encrypt

 records that it retrieves.

         25.      If a record intended to be non-public performs an access control check, judyrecords’

 automated program will not be able to collect the record and will move on to the next record.

         26.      The California Bar Disciplinary Records Odyssey System, designed and

 maintained by Tyler Tech., did not perform access control checks when the automated program

 directly accessed the individual records.

         27.      As the Odyssey system that Tyler Tech. designed and maintained did not perform

 access control checks upon these requests, the automated program was able to collect




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 Case8:24-cv-01997-WLH-DFM
       8:24-cv-01997-JLS-DFM Document Document88-5 127-7 Filed
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                                        PageID #:2895
                                               ID #:4806
 Affidavit Executed in John Roe 1, et al v. The State Bar of California, et al


 approximately 48,000 intended-to-be-public California Bar Disciplinary Records as well as

 approximately 322,000 intended-to-be-non-public California Bar Disciplinary Records.

        28.     After the automated program finished its collection of the California Bar

 Disciplinary Records, I performed a brief quality control check of the records retrieved.

        29.     I do not recall the number of records that I briefly reviewed, but if I followed my

 standard practices, I likely briefly viewed between twenty and thirty of the California Bar

 Disciplinary Records for the sole purpose of performing a quality control check to ensure that the

 automated program had properly collected the records and to see if there were any other issues.

        30.     I do not recall the exact records I briefly reviewed for quality control, nor do I recall

 any specific information contained in those records. I did not take notes on or otherwise record

 any information from the records I briefly reviewed. After my quality control check and making

 the California Bar Disciplinary Records available on judyrecords, until the evening of February

 26, 2022, I did not take any other action with respect to the records I briefly reviewed or

 information they contained.

        31.     Of the California Bar Disciplinary Records I briefly reviewed, the records only

 contained docket information as displayed by the Odyssey system, I did not see any underlying

 documents, and I saw no indication that the records retrieved were anything other than records

 intended to be publicly available.

        32.     As the quality control check did not reveal any issues or concerns with the public

 records the automated program had collected, the approximately 370,000 California Bar

 Disciplinary Records were added to the judyrecords website.

        33.     Making direct case requests is the process I have followed for many other public

 records databases that constitute the hundreds of millions of public records available on




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 Case8:24-cv-01997-WLH-DFM
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                                                                                    2211
                                                                                       of 122
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                                        PageID #:2896
                                               ID #:4807
 Affidavit Executed in John Roe 1, et al v. The State Bar of California, et al


 judyrecords. To name a few, judyrecords makes available records from Oklahoma Statewide

 Courts, Wisconsin Statewide Courts, the District of Columbia Court of Appeals, Nevada Supreme

 & Appellate Courts, Clayton County GA Courts, Cobb County GA Courts, Shawnee County

 Kansas Courts, the Texas Department of Corrections, the Iowa Department of Corrections, the

 United States Trademark Trial and Appeal Inquiry and the United States Patent and Trademark

 Office. Despite using direct case requests for these public records databases, to this point issues of

 non-public records being available on judyrecords have not occurred.

         34.     The information contained within the records that were published on judyrecords

 was the information that had been available on the Odyssey system case details page. This

 information included at least the case title and the parties involved, but the California Bar would

 know what information was available for specific records or types of records.

         35.     Upon information and belief, based on information conveyed by the California Bar,

 the case details page for records intended to be public contained more information than records

 intended to be nonpublic.

 Discovery of California Bar Disciplinary Records Intended to be Nonpublic on judyrecords

         36.     The evening of February 26, 2022, I discovered allegations from online reports that

 judyrecords had “hacked” the California Bar Disciplinary Records database after googling

 judyrecords for recent mentions of the site on the Internet. I first discovered a news story1 and also




 1
          See https://web.archive.org/web/20220227032659/https:/www.pe.com/2022/02/26/260000-confidential-
 attorney-discipline-records-published-after-data-breach-state-bar-says/


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 Case8:24-cv-01997-WLH-DFM
       8:24-cv-01997-JLS-DFM Document Document88-5 127-7 Filed
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                                                                                       of 122
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                                        PageID #:2897
                                               ID #:4808
 Affidavit Executed in John Roe 1, et al v. The State Bar of California, et al


 tweets2 from the same journalist. After reading this news story, I also found the press release3 the

 California State Bar had released.

         37.     Immediately after reading the news article, tweets, and press release, I removed all

 the California Bar Disciplinary Records in the judyrecords search index and then contacted the

 California Bar to address the issue. In my initial contact I informed the California State Bar that

 all of the California Bar Disciplinary Records accessed and pulled by the automated program and

 subsequently published by judyrecords had been publicly available.

         38.     The morning of February 28, 2022, as reflected in the emails and other documents

 accompanying this affidavit, I met with the California Bar to discuss the incident. The people at

 that meeting were Rick Rankin, the California Bar Chief Information Officer, Nick Albright, an

 IT security consultant from Emagined Security, and Steve Mazer, the California Bar’s Chief

 Administrative Officer. At that meeting the California Bar stated that, based on their investigation,

 their current belief was that there had not been an unlawful or malicious hack, and they wanted to

 quickly understand more about how these records were available to judyrecords.

         39.     Over the course of several subsequent communications, I shared the details of the

 direct access method and we concluded together that the California Bar Disciplinary Records

 Odyssey System, as designed and maintained by Tyler Tech., did not perform access control

 checks when the automated program, or anyone else, directly accessed California Bar Disciplinary

 Records with the direct URL.




 2
          See
 https://web.archive.org/web/20220423200147/https://twitter.com/TheChalkOutline/status/1497769824474128386
 and at
 https://web.archive.org/web/20220423200429/https://twitter.com/TheChalkOutline/status/1497791192049717248.
 3
          See https://web.archive.org/web/20220227005845/https:/www.calbar.ca.gov/About-Us/News/News-
 Releases/state-bar-of-california-addresses-breach-of-confidential-data.


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 Case8:24-cv-01997-WLH-DFM
       8:24-cv-01997-JLS-DFM Document Document88-5 127-7 Filed
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                                                                   01/08/25 Page
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                                                                                       of 122
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                                        PageID #:2898
                                               ID #:4809
 Affidavit Executed in John Roe 1, et al v. The State Bar of California, et al


        40.    This lack of access control checks in Tyler Tech’s Odyssey system meant that

 California Bar Disciplinary Records that were intended to be nonpublic were in fact publicly

 accessible by any individual or program that entered the direct URL.

        41.    This ability to directly access intended-to-be-nonpublic California Bar Disciplinary

 Records via the direct URL combined with the lack of access control checks being performed by

 Tyler Tech.’s Odyssey system, meant that even though judyrecords’ automated program was

 designed and intended to only access publicly available records that were intended to be public,

 these intended-to-be-non-public records were inadvertently publicly available via this method.

 Corrective Actions Taken with California Bar

        42.    After the initial call with the California Bar, I began to work with Rick Rankin and

 Nick Albright to determine which California Bar Disciplinary Records intended to be nonpublic

 were retrieved by judyrecords and had been viewed on judyrecords, to remove the California Bar

 Disciplinary Records intended to be nonpublic from judyrecords, and to help the California Bar

 understand why this happened and how to mitigate and prevent any further publication of records

 intended to be nonpublic.

        43.     An examination of the records intended-to-be-nonpublic in the California Bar

 Disciplinary Odyssey System and records that had previously been available on judyrecords

 revealed that of the approximately 370,000 California Bar Disciplinary Records that the

 judyrecords’ automated program had collected, roughly 322,000 were intended to be nonpublic

 and roughly 47,000 were intended to be public.

        44.    Although all approximately 370,000 California Bar Disciplinary Records had been

 available on judyrecords, the California State Bar’s internal team and IT security consultants




                                                  8
Case
 Case8:24-cv-01997-WLH-DFM
       8:24-cv-01997-JLS-DFM Document Document88-5 127-7 Filed
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                                                                   01/08/25 Page
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                                                                                  9 of
                                                                                    2511
                                                                                       of 122
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                                        PageID #:2899
                                               ID #:4810
 Affidavit Executed in John Roe 1, et al v. The State Bar of California, et al


 determined, based on judyrecords Google analytics data and other page view data, that only

 approximately 1,034 of the records intended to be nonpublic showed evidence of a page view.

        45.     As substantiated by the documents and communications that I have produced

 contemporaneously with this affidavit, I was in contact with Rick Rankin and Nick Albright as

 we worked to resolve the issues as described in paragraphs 39 – 44.

        46.     I also communicated with Rick Rankin and Nick Albright through the encrypted

 messaging platform Signal. While I have produced some screenshots of these conversations, I may

 not have captured all of these communications through screenshots, and some may now have been

 deleted automatically by Signal.

        47.     Through our cooperation, testing, and collaboration, Rick Rankin, Nick Albright,

 and myself were able to further confirm that it was the lack of access control checks in Tyler

 Tech’s Odyssey system that had allowed the judyrecords automated program to collect records

 that the California Bar had intended-to-be-non-public and did not intend to allow to be publicly

 accessible. This cooperation, testing, and collaboration is substantiated by the documents and

 communications that I have produced concurrent with this affidavit.

 Corrective Actions Taken with Tyler Technologies

        48.     In addition to collaborating with the California State Bar and Emagined Security,

 I have also worked with Tyler Tech. to help them understand how the judyrecords automated

 program functioned and how records intended to be nonpublic were publicly available by their

 software through a lack of access control checks.

        49.     The primary individual at Tyler Tech. that I worked with was Jeremy Ward, a

 Senior Director of Systems Engineering for Tyler Tech.




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     8:24-cv-01997-WLH-DFM
        8:24-cv-01997-JLS-DFM Document Document88-5 127-7 Filed
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                                                                    01/08/25 Page
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                                                                                        of 122
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                                         PageID #:2900
                                                ID #:4811
  Affidavit Executed in John Roe 1, et al v. The State Bar of California, et al


         50.      As with the California Bar, I have collaborated with Tyler Tech. and offered to

  remove records of Tyler Tech client jurisdictions that were intended to be nonpublic but were

  publicly available due to the lack of access control in the Tyler Tech. Odyssey system.

         51.      Judyrecords continues to collaborate with Tyler Tech. to mitigate further

  inadvertent exposure or publication of records that were intended-to-be-non-public.

         52.      My communications with Tyler Tech. were through the Kiteworks encrypted email

  platform. I have produced all of the records that I have access to, but it is possible that some

  communications and documents exchanged between Tyler Tech. and myself were no longer

  accessible from my end at the time I collected and preserved my documents and communications.

  It is possible Tyler Tech. may have additional responsive communications and documents that

  include myself.

         53.      In addition to communications through the Kiteworks encrypted email platform, I

  also initially communicated with Jeremy Ward on Reddit, and have provided screenshots of those

  communications.

  Miscellaneous

         54.      I have provided the public my thoughts, opinions, and information regarding my

  involvement in this matter on judyrecords, pdfs of which are produced concurrent with this

  affidavit. The representations I have made on these pages are consistent with the information

  contained within this affidavit, the documents and communications that I have produced, and are

  incorporated within this affidavit by reference through the date of the affidavit.

         55.      Although I have provided information and data related to this matter from

  judyrecords to the California Bar and Tyler Tech., at no time have I been involved in or have

  knowledge of any internal discussions, decisions, or actions taken regarding these California Bar




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     8:24-cv-01997-WLH-DFM
        8:24-cv-01997-JLS-DFM Document
                               Document88-5
                                         127-7 Filed
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                                                         01/08/25 Page
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            https://www.calbar.ca.gov/About-Us/News/News-Releases/state-bar-of-california-addresses-breach-of-confidential-data

            First thing, I removed all the CA state bar court cases in the judyrecords search index. All the records downloaded were publicly accessible on this
            portal:
            https://discipline.calbar.ca.gov/

            Second, I haven't been contacted about this issue and just checked for any communication from my hosting provider. Also, anyone can contact me for
            example on reddit with a simple google search.

            These cases were publicly accessible, so my assumption is that those are the cases open to the public. They weren't protected from public access.

            If there's anything I can do please let me know. Also, my direct number is


    ________________________________________________________________________________
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    Microsoft Teams meeting
    Join on your computer or mobile app
    Click here to join the meeting

    Or call in (audio only)
    +1 323-433-2365,,180533399# United States, Los Angeles
    Phone Conference ID: 180 533 399#
    Find a local number | Reset PIN

    Learn -
    -     More |-
                Meeting
                    -   options
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    ________________________________________________________________________________


      D invite.ics
        15K


  Kevan Schwitzer <kevanschwitzer@gmail.com>                                                                                                    Sun, Feb 27, 2022 at 10:33 PM
  To: "Rankin, Rick" <Rick.Rankin@calbar.ca.gov>

    OK, will see you then.

    What I can tell you after some digging is that I was able to pull a list of all the page CA State Bar page views between Oct 15 and Feb 23 and the number of total
    page views is 913 total. So a subset of this number would be the affected cases.
https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725971756085106240&simpl=msg-f%3A1725971756085106240&simpl=msg-a%3Ar-735680400023335…   4/19


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                                                                 ID #:4814
4/16/22, 3:43 PM                                                                      Gmail - State Bar of California + judyrecords.com connect


    Fortunately, I was also able to pull the exact list of URLs as well. Attached.


    [Quoted text hidden]


           CA State Bar page views.pdf
           269K


  Rankin, Rick <Rick.Rankin@calbar.ca.gov>                                                                                                                            Mon, Feb 28, 2022 at 8:34 AM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>

    HI Kevan,

    Thank you for this additional information. Are you able to produce this data from Feb 23rd to the time the data was taken down, and is it possible to get the
    date and time each record was accessed?

    Much appreciated, speak with you soon.

    Rick

    --

    Rick Rankin | IT Director (Interim)
    The State Bar of California
    180 Howard St. | San Francisco, CA 94105
    845 S. Figueroa St. | Los Angeles, CA 90017
    213-393-6725

    NEW! Schedule time with me HERE

    This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for the intended recipient, you may
    not use, copy, or disclose the message in whole or in part. If you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.

    From: Kevan Schwitzer <kevanschwitzer@gmail.com>
    Sent: Sunday, February 27, 2022 20:33
    To: Rankin, Rick <Rick.Rankin@calbar.ca.gov>
    Subject: Re: State Bar of California + judyrecords.com connect

    [Quoted text hidden]



  Rankin, Rick <Rick.Rankin@calbar.ca.gov>                                                                                                                            Mon, Feb 28, 2022 at 8:34 AM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>, Nicholas Albright <NicholasAlbright@emagined.com>
https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725971756085106240&simpl=msg-f%3A1725971756085106240&simpl=msg-a%3Ar-735680400023335…                           5/19


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                                                                ID #:4815
4/16/22, 4:11 PM                                                               Re: State Bar of California + judyrecords.com connect


Re: State Bar of California + judyrecords.com connect

  Rick Rankin <rick.rankin@calbar.ca.gov>
  Fri 3/25/2022 8:11 AM


  To kevanschwitzer@gmail.com <kevanschwitzer@gmail.com>;

  Cc Rick Rankin <rick.rankin@calbar.ca.gov>;




see below.



From: Kevan Schwitzer <kevanschwitzer@gmail.com>
Sent: Thursday, March 24, 2022 5:08:55 PM
To: rick.rankin@calbar.ca.gov <rick.rankin@calbar.ca.gov>
Cc: kevanschwitzer@gmail.com <kevanschwitzer@gmail.com>
Subject: Re: State Bar of California + judyrecords.com connect

How do I know the issue is now resolved?
We were able to recreate internally the underlying issue. Both remediation methods have been tested
internally by Tyler Technical Services, Tyler development, and Tyler internal security teams to resolve the
identified issue.

^-- basically tyler is not communicating anything to clients about the nature of the issue.
also not allowing clients to verify fixes at all, only tyler internal teams.

RR Yes we were able to recreate because we learned from you and from Nicholas how to recreate. Their average customer has to trust them.

In other words, no users have elevated access through logins that authorize access to additional records. Is this an issue for us?
Yes, Tyler still recommends disabling the Portal until full remediation is in place.

^-- this is consistent with not performing access control checks.

RR Yes that is for sure. They will never admit that.

Will turning off anonymous access to the Odyssey Portal prevent the issue?
The Portal anonymous access setting does not address the existing issue.

^-- anonymous user means not logged in. also consistent with not performing access control checks.

https://outlook.office365.com/Encryption/E4EView.aspx#viewmodel=ReadMessageItem&ItemID=E4E_M_142417b9-4efd-4f6a-aee0-42fac6489bae&IsPrintView=1&wid=17&ispopout=1       1/30


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4/17/22, 4:56 PM                                                                    TylerTechnologies KiteWorks


                                                                                                                                           Last web login:
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                                                                                                                                           Apr 15, 2022 4:26 pm
                                                                                                                                                                    J




    On Wed, Mar 09, 2022 at 02:35 PM jeremy.ward@tylertech .com wrote:
    To make sure I'm clear, did what they provided "work" for you?




    On Wed, Mar 09, 2022 at 03:24 PM judyrecordssite@gmail.com wrote:
    OK, here's what I found for Forsyth:

    Total case IDs to remove provided in json file: 259,473
    Total case IDs to remove found to intersect with GaCoForsythOdyNew_Case table: 259,473 (this should be expected, but confirms the query did not
    send more IDs than I provided)
    Total case IDs to remove found to interesct with GeorgiaCoForsythCase table (odyssey classic): 0
    Total page views for non-confidential cases - 671 (the first 2 I checked were for old juvenile traffic cases. i think that's worth noting, as traffic tickets
    may make up a large/significant % of cases, overall i think this is good)




    On Wed, Mar 09, 2022 at 02:14 PM jeremy.ward@tylertech.com wrote:
    Thanks very much. I appreciate it. I'll see if I can rename that folder.




    On Wed, Mar 09, 2022 at 02:37 PM judyrecordssite@gmail.com wrote:
    Note - I didn't see a way to rename the "Datasource files" folder.
    Feel free to rename judyrecords to tyler or similar to match the one you created.




    On Wed, Mar 09, 2022 at 01 :09 PM jeremy.ward@tylertech .com wrote:
    We just got the list in our folder and I transferred it over to you into a new folder on the file share "From Tyler to judyrecords." This is the list that
    Forsyth would like removed from your site. Can you remove and then send me back some sort of certification that the records have been removed?

    Once that is done, please send over the full file for Dallas. Thanks.

https://tylersftp.tylertech.com/#/mail/inbox/b250ac60-46f4-474a-aaf5-5da3ff54e3bc                                                                                       2/5


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                                                                                                                                                                         J


                     Reply all                 Forward             Move to Trash       Print



     Re:plan for short update points
      W jeremy.ward@tylertech.com
             Mar 09, 2022, 3:24 PM
             judyrecordssite@gmail.com
             No attachments




     Is there a way for you to "officially confirm" that you remove the Forsyth records from your system?

    Also, at this point we are holding on the CA clients you shared as we need to deal with them as a single bucket. We are working Dallas Co TX now
    and should be sending that back to you as soon as we can.

    Where do we stand on the remaining Tyler clients? Do you want to do those in batches or are you willing to send those over so that we can get them
    all in progress?




    On Wed, Mar 09, 2022 at 03:57 PM judyrecordssite@gmail.com wrote:
    Added a json file, same format one object per line, of each of the confidential cases viewed for Forsyth.

     ForsythNonPublicAccessedJson

    The phrase "name witheld " didn't show up as many times as I'd expected and the number of traffic cases was smaller than expected as well, with 16
    total mentions (not strictly related to 16 separate cases).

    As always, there is a chance I've made an error in my query to get these files, but in general things look like their matching and the numbers are
    coming out about what would be expected. Forsyth seemed like they had quite a few non-public cases, I would have otherwise guessed that they
    kind of number would be on the high end, but it seems those numbers may be more variable than 5% or 10% generally. Good news is that even at a
    high percent, the total cases accessed based on analytics is still pretty low.


https://tylersftp.tylertech.com/#/mail/inbox/31 063541 -7732-4266-8bdb-b4391 f8980ff                                                                                         1/5


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                     When ! left the meeting did you lose
                     the list of Ca liforn ia clients? I can
                     resend.


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                  californiacotehama

                  californiacosandiego


                 Thanks again. !'II be in touch with
                 what I learn on our side.


                                             np, gotem   -

                     i added an update on judyrecords        I
                  i said expect to have an update
                  monday                                 -


                  Perfect. Have a good night.




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                     Ok thanks. That is helpful info.

          I          Any chance you could send me the
                     list of case IDs for Forsyth County,
                     GA? Last one for this w eekend.


                                                            np

                                                                             I
                                     give me an hour or so


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                     separate file


                                         added another file



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     1zqÿ,yzptuszyÿ2}z|uÿuqÿ:utuqÿ>tÿ,y{qwustuszyÿtyrÿ0qpqrstuszy
     KV@ÿ\UAU@ÿJABÿ][MZYB^@aÿUVAUÿ̀PaQB@][BabÿVAbÿa@X@U@aÿAXXÿM[MfPOXY]ÿB@][BabÿZB[^ÿUV@ÿbYU@c
     m^f[BUAMUXQLÿUV@ÿFaQbb@QÿjPXM@BAOYXYUQÿ_Abÿ[MXQÿUBYgg@B@aÿOQÿ_@Oÿb]BAfYMgÿB@gPXABÿb@AB]V@bÿ[ZÿUV@ÿFaQbb@Qÿi[BUAXÿaYaÿM[Uÿf@B^YUÿA]]@bbÿU[
     M[MfPOXY]ÿB@][BabcÿKV@B@ÿYbÿM[ÿ@jYa@M]@ÿU[ÿbPgg@bUÿUV@ÿFaQbb@Qÿi[BUAXÿ_Abÿb]BAf@aÿOQÿAMQÿ@MUYUQÿO@bYa@bÿ̀PaQB@][BabcÿKV@ÿYMj@bUYgAUY[M
     B@j@AX@aÿM[ÿ@jYa@M]@ÿUVAUÿb]BAf@aÿ\UAU@ÿJABÿB@][Babÿ_@B@ÿ[MÿYMU@BM@UÿAB]VYj@ÿbYU@bcÿKV@ÿ\UAU@ÿJABÿU[[kÿUV@ÿFaQbb@Qÿi[BUAXÿ[ZZXYM@ÿ[MÿN@OBPABQ
     RLÿRTRRLÿb[ÿKQX@BÿK@]VM[X[gY@bÿ][PXaÿB@^@aYAU@ÿUV@ÿjPXM@BAOYXYUQc

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                     8:24-cv-01997-JLS-DFMb9Document
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                                               ÿ1-1
                                                9ÿ'ÿY6Filed
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                                                             88-7609/16/24
                                                                   9ÿ)65Filed
                                                                         12ÿX2ÿ11/27/24
                                                                                 3Page
                                                                              Filed 301/08/25
                                                                                     2ÿ6592ÿRofPage
                                                                                                   229!Page
                                                                                                        Page
                                                                                                         52 of38
                                                                                                                  ID
                                                                                                                   2 of
                                                                                                                     #:106
                                                                                                                      Page
                                                                                                                        122 ID
                                                                                      Page#:2912
                                                                                           ID #:4823

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   Case
    Case8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       1 of
                                                                         3984
                                                                            of 122
                                                                                Page
                                  Page
                                    ID #:2913
                                       ID #:4824




Privacy
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January 2022



CIS Controls Privacy Companion Guide
   Case
    Case8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       2 of
                                                                         4084
                                                                            of 122
                                                                                Page
                                  Page
                                    ID #:2914
                                       ID #:4825


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of a more secure online experience for everyone.

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CIS Controls Privacy Companion Guide                                                                            ﻿   Page i
   Case
    Case8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       3 of
                                                                         4184
                                                                            of 122
                                                                                Page
                                  Page
                                    ID #:2915
                                       ID #:4826


Contents                               Introduction                                                      1
                                       Methodology                                                       2
                                       Document Structure                                                4
                                       Audience                                                          5
                                       Scope                                                             6
                                       Privacy Assessments                                               7
                                       Applicability Overview                                            8



Control 01                             Inventory and Control of Enterprise Assets                        9
                                       Privacy Applicability                                            9
                                       Privacy Implications                                             9
                                       Additional Discussion                                           10
                                       Fair Information Practice Principles                            10
                                       General Data Protection Regulation Principles                   11
                                       Control 1 Privacy Applicability Table                           11

Control 02                             Inventory and Control of Software Assets                        13
                                       Privacy Applicability                                           13
                                       Privacy Implications                                            13
                                       Additional Discussion                                           14
                                       Fair Information Practice Principles                            14
                                       General Data Protection Regulation Principles                   14
                                       Control 2 Privacy Applicability Table                           15

Control 03                             DataProtection                                                  16
                                       Privacy Applicability                                           16
                                       Privacy Implications                                            16
                                       Additional Discussion                                           17
                                       Fair Information Practice Principles                            17
                                       General Data Protection Regulation Principles                   17
                                       Control 3 Privacy Applicability Table                           18

Control 04                             Secure Configuration of Enterprise Assets and Software          20
                                       Privacy Applicability                                           20
                                       Privacy Implications                                            20
                                       Additional Discussion                                           20
                                       Fair Information Practice Principles                            21
                                       General Data Protection Regulation Principles                   21
                                       Control 4 Privacy Applicability Table                           22

Control 05                             AccountManagement                                               24
                                       Privacy Applicability                                           24
                                       Privacy Implications                                            24
                                       Additional Discussion                                           25
                                       Fair Information Practice Principles                            25
                                       General Data Protection Regulation Principles                   25
                                       Control 5 Privacy Applicability Table                           26




CIS Controls Privacy Companion Guide                                                            ﻿   Page ii
   Case
    Case8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       4 of
                                                                         4284
                                                                            of 122
                                                                                Page
                                  Page
                                    ID #:2916
                                       ID #:4827

Control 06                             Access Management Control                               27
                                       Privacy Applicability                                   27
                                       Privacy Implications                                    27
                                       Additional Discussion                                   28
                                       Fair Information Practice Principles                    28
                                       General Data Protection Regulation Principles           28
                                       Control 6 Privacy Applicability Table                   29

Control 07                             Continuous VulnerabilityManagement                      31
                                       Privacy Applicability                                   31
                                       Privacy Implications                                    31
                                       Additional Discussion                                   31
                                       Fair Information Practice Principles                    32
                                       General Data Protection Regulation Principles           32
                                       Control 7 Privacy Applicability Table                   33

Control 08                             Audit LogManagement                                     34
                                       Privacy Applicability                                   34
                                       Privacy Implications                                    34
                                       Additional Discussion                                   34
                                       Fair Information Practice Principles                    34
                                       General Data Protection Regulation Principles           35
                                       Control 8 Privacy Applicability Table                   36

Control 09                             Email and Web BrowserProtections                        38
                                       Privacy Applicability                                   38
                                       Privacy Implications                                    38
                                       Additional Discussion                                   39
                                       Fair Information Practice Principles                    39
                                       General Data Protection Regulation Principles           40
                                       Control 9 Privacy Applicability Table                   40

Control 10                             MalwareDefenses                                         42
                                       Privacy Applicability                                   42
                                       Privacy Implications                                    42
                                       Additional Discussion                                   42
                                       Fair Information Practice Principles                    43
                                       General Data Protection Regulation Principles           43
                                       Control 10 Privacy Applicability Table                  44

Control 11                             Data Recovery                                           45
                                       Privacy Applicability                                   45
                                       Privacy Implications                                    45
                                       Additional Discussion                                   45
                                       Fair Information Practice Principles                    46
                                       General Data Protection Regulation Principles           46
                                       Control 11 Privacy Applicability Table                  47

Control 12                             NetworkInfrastructure                                   48
                                       Privacy Applicability                                   48
                                       Privacy Implications                                    48
                                       Additional Discussion                                   49
                                       Fair Information Practice Principles                    49
                                       General Data Protection Regulation Principles           49
                                       Control 12 Privacy Applicability Table                  50



CIS Controls Privacy Companion Guide                                                   ﻿   Page iii
   Case
    Case8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       5 of
                                                                         4384
                                                                            of 122
                                                                                Page
                                  Page
                                    ID #:2917
                                       ID #:4828

Control 13                             Network Monitoringand Defense                          52
                                       Privacy Applicability                                  52
                                       Privacy Implications                                   52
                                       Additional Discussion                                  52
                                       Fair Information Practice Principles                   53
                                       General Data Protection Regulation Principles          53
                                       Control 13 Privacy Applicability Table                 54

Control 14                             Security Awarenessand Skills Training                  56
                                       Privacy Applicability                                  56
                                       Privacy Implications                                   56
                                       Additional Discussion                                  56
                                       Fair Information Practice Principles                   57
                                       General Data Protection Regulation Principles          58
                                       Control 14 Privacy Applicability Table                 58

Control 15                             Service ProviderManagement                             60
                                       Privacy Applicability                                  60
                                       Privacy Implications                                   60
                                       Additional Discussion                                  61
                                       Fair Information Practice Principles                   61
                                       General Data Protection Regulation Principles          61
                                       Control 15 Privacy Applicability Table                 62

Control 16                             Application Software Security                          64
                                       Privacy Applicability                                  64
                                       Privacy Implications                                   64
                                       Additional Discussion                                  64
                                       Fair Information Practice Principles                   65
                                       General Data Protection Regulation Principles          65
                                       Control 16 Privacy Applicability Table                 66

Control 17                             Incident Response Management                           69
                                       Privacy Applicability                                  69
                                       Privacy Implications                                   69
                                       Additional Discussion                                  70
                                       Fair Information Practice Principles                   70
                                       General Data Protection Regulation Principles          70
                                       Control 17 Privacy Applicability Table                 71

Control 18                             PenetrationTesting                                     73
                                       Privacy Applicability                                  73
                                       Privacy Implications                                   73
                                       Additional Discussion                                  73
                                       Fair Information Practice Principles                   74
                                       General Data Protection Regulation Principles          74
                                       Control 18 Privacy Applicability Table                 75


                                       Acronyms and Abbreviations                             76
                                       Links and Resources                                    77
                                       Closing Notes                                          78




CIS Controls Privacy Companion Guide                                                   ﻿   Page iv
   Case
    Case8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       6 of
                                                                         4484
                                                                            of 122
                                                                                Page
                                  Page
                                    ID #:2918
                                       ID #:4829


Introduction
                                       The CIS Critical Security Controls (CIS Controls) are a prioritized set of actions that collectively
                                       form a defense-in-depth approach and best practices to mitigate the most common
                                       attacks against systems and networks. The CIS Controls are developed by a community of
                                       information technology (IT) experts who apply their first-hand experience as cyber defenders
                                       to create these globally accepted security best practices. The experts who develop the CIS
                                       Controls come from a wide range of sectors, including retail, manufacturing, healthcare,
                                       transportation, education, government, defense, and others. While the CIS Controls address
                                       the general practices that most enterprises should take to secure their systems, some
                                       operational environments and aspects of an information security program may present unique
                                       requirements not addressed by the CIS Controls.

                                       Many professionals within the cybersecurity industry struggle to understand the differences
                                       between privacy and security. Some view both as an interrelated means to an end, such
                                       as privacy is provided through the use of encryption to protect confidentiality. Some IT
                                       professionals also equate “privacy” with confidentiality. This confusion makes it challenging
                                       for IT professionals to protect privacy effectively, since it’s often impractical to achieve
                                       privacy without security; however, it is possible to obtain security without privacy. Or worse,
                                       security can be achieved at the expense of privacy. Additionally, legal staff grapple with the
                                       implications of changes in technology that often outpace the law. The purpose of the CIS
                                       Controls Privacy Guide is to develop best practices and guidance for implementing the CIS
                                       Controls while carefully considering the privacy impacts on the workforce, customers, and
                                       third-parties. The Privacy Guide supports the objectives of the CIS Controls by aligning privacy
                                       principles and highlighting potential privacy concerns that may arise through the usage of
                                       the CIS Controls. Considerations are presented so that IT, legal, and any other staff with
                                       privacy responsibilities can identify opportunities to integrate privacy considerations into data
                                       security controls.




CIS Controls Privacy Companion Guide                                                                                   Introduction   Page 1
   Case
    Case8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       7 of
                                                                         4584
                                                                            of 122
                                                                                Page
                                  Page
                                    ID #:2919
                                       ID #:4830


Methodology
                                           A consistent approach is needed for analyzing the CIS Controls in the context of privacy. CIS
                                           is leveraging the Fair Information Practice Principles (FIPPs)1 and the General Data Protection
                                           Regulation (GDPR)2 to help analyze the privacy implications of each CIS Control.

                                           The FIPPs are directly quoted as follows:

                                           1   The Collection Limitation Principle. There should be limits to the collection of personal
                                               data and any such data should be obtained by lawful and fair means and, where
                                               appropriate, with the knowledge or consent of the data subject.

                                           2   The Data Quality Principle. Personal data should be relevant to the purposes for which
                                               they are to be used and, to the extent necessary for those purposes, should be accurate,
                                               complete and kept up-to-date.

                                           3   The Purpose Specification Principle. The purposes for which personal data are collected
                                               should be specified not later than at the time of data collection and the subsequent use
                                               limited to the fulfillment of those purposes or such others as are not incompatible with
                                               those purposes and as are specified on each occasion of change of purpose.

                                           4   The Use Limitation Principle. Personal data should not be disclosed, made available or
                                               otherwise used for purposes other than those specified, except a) with the consent of the
                                               data subject, or b) by the authority of law.

                                           5   The Security Safeguards Principle. Personal data should be protected by reasonable
                                               security safeguards against such risks as loss or unauthorized access, destruction, use,
                                               modification or disclosure of data.

                                           6   The Openness Principle. There should be a general policy of openness about
                                               developments, practices and policies with respect to personal data. Means should be
                                               readily available of establishing the existence and nature of personal data and the main
                                               purposes of their use, as well as the identity and usual residence of the data controller.

                                           7   The Individual Participation Principle. An individual should have the right:

                                               a    to obtain from a data controller, or otherwise, confirmation of whether or not the data
                                                    controller has data relating to him;

                                               b    to have data relating to him communicated to him, within a reasonable time, at a
                                                    charge, if any, that is not excessive; in a reasonable manner, and in a form that is readily
                                                    intelligible to him;

                                               c    to be given reasons if a request made under subparagraphs (a) and (b) is denied and to
                                                    be able to challenge such denial; and

                                               d    to challenge data relating to him and, if the challenge is successful, to have the data
                                                    erased, rectified, completed or amended.

                                           8   The Accountability Principle. A data controller should be accountable for complying with
                                               measures which give effect to the principles stated above.




1 Fair Information Practice Principles (iapp.org)
2 General Data Protection Regulation (gdpr.eu)


CIS Controls Privacy Companion Guide                                                                                        Methodology    Page 2
   Case
    Case8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       8 of
                                                                         4684
                                                                            of 122
                                                                                Page
                                  Page
                                    ID #:2920
                                       ID #:4831

                                       GDPR is a multifaceted regulation governing the processing of personal data, as well as other
                                       technical aspects of an enterprise, in the European Union (EU) and beyond. The essential
                                       characteristics of the regulation are to protect personal data as a fundamental right and that
                                       privacy is to be respected. Many new privacy laws across the world are using the GDPR as
                                       framework for privacy law in their own country, state, or region. The EU wrote GDPR in such a
                                       way so that it applies to any enterprise that processes the data of EU citizens. Therefore, each
                                       CIS Control is analyzed for steps enterprises would need to take in order to ensure that they
                                       are including GDPR principles in their business. This is not to say that implementing each CIS
                                       Control will make an enterprise compliant with GDPR.

                                       Since GDPR is large law, spanning multiple areas, CIS has highlighted the areas of GDPR to
                                       be covered by this guide below.3

                                       1   Lawfulness, fairness, and transparency: processed lawfully, fairly and in a transparent
                                           manner in relation to the data subject.

                                       2   Purpose limitation: collected for specified, explicit and legitimate purposes and not further
                                           processed in a manner that is incompatible with those purposes; further processing
                                           for archiving purposes in the public interest, scientific or historical research purposes
                                           or statistical purposes shall, in accordance with Article 89(1), not be considered to be
                                           incompatible with the initial purposes.

                                       3   Data minimization: adequate, relevant and limited to what is necessary in relation to the
                                           purposes for which they are processed.

                                       4   Accuracy of data: accurate and, where necessary, kept up to date; every reasonable
                                           step must be taken to ensure that personal data that are inaccurate, having regard to the
                                           purposes for which they are processed, are erased or rectified without delay.

                                       5   Storage limitation: kept in a form which permits identification of data subjects for no
                                           longer than is necessary for the purposes for which the personal data are processed;
                                           personal data may be stored for longer periods insofar as the personal data will be
                                           processed solely for archiving purposes in the public interest, scientific or historical
                                           research purposes or statistical purposes in accordance with Article 89(1) subject to
                                           implementation of the appropriate technical and organisational [sic] measures required by
                                           this Regulation in order to safeguard the rights and freedoms of the data subject.

                                       6   Integrity and confidentiality: processed in a manner that ensures appropriate security of
                                           the personal data, including protection against unauthorised [sic] or unlawful processing
                                           and against accidental loss, destruction or damage, using appropriate technical or
                                           organisational [sic] measures.

                                       These are only the principles of GDPR. GDPR also declares a number of rights for users, with
                                       some of these being somewhat new concepts. This includes the right to erasure (“right to
                                       be forgotten”), which allows a user to request that their data be deleted from a data owner
                                       if certain conditions are met. Other rights include the ability for users to access their own
                                       data and to correct inaccuracies. In addition to rights for users, stipulations are put onto EU
                                       companies such as mandatory breach notifications if a company suffers a data breach and
                                       designing all future products from companies to leverage privacy as a foundational principle.
                                       GDPR contains too many items to analyze in this single document, and this guide will focus on
                                       GDPR Principles 1–6.




3 https://eur-lex.europa.eu/legal-content/EN/TXT/HTML/?uri=CELEX:32016R0679&from=EN#d1e1797-1-1


CIS Controls Privacy Companion Guide                                                                                 Methodology   Page 3
   Case
    Case8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       9 of
                                                                         4784
                                                                            of 122
                                                                                Page
                                  Page
                                    ID #:2921
                                       ID #:4832


Document Structure
                                       For each of the 18 CIS Controls, the following information is provided in this document:

                                       •   Privacy Applicability – Explores the degree to which a CIS Control pertains to privacy.
                                           Only specific Safeguards within a Control contribute towards privacy. This could
                                           include protecting the privacy of employees and customers, but may also include the
                                           enterprise’s IT systems.
                                       •   Privacy Implications – Includes the privacy issues and/or risks associated with
                                           implementing specific CIS Controls. This helps implement the Use Limitation, Security
                                           Safeguards, and Accountability FIPPs.

                                           •   Data Collection – This focuses on the types of data collected by the enterprise when
                                               implementing a CIS Control. While there is always a specific focus on personally
                                               identifiable information (PII), other data types may also be assessed such as open
                                               data, commercial data, and customer data (e.g., information about individuals using a
                                               company’s services).
                                           •   Data Storage – After data is collected, it must be stored somewhere until it is deleted.
                                               This portion analyzes issues associated with storing data such as where and how data is
                                               stored. This also includes the parties involved in the storage process.

                                       •   Additional Discussion – A general guidance area to include relevant tools, products,
                                           or threat information that could be of use can be found here. This helps implement the
                                           Purpose Specification and Data Quality and Integrity and confidentiality FIPPs.
                                       •   Fair Information Practice Principles – Concerns and other information associated with the
                                           FIPPs principles. Only relevant FIPPs will be listed.
                                       •   General Data Protection Regulation Principles – Concerns and other information
                                           associated with the GDPR principles. Only pre-specified GDPR principles will be listed.

                                       Additionally, a Control Applicability Table is provided at the end of every section. This table
                                       shows the applicability of each CIS Safeguard to privacy. The letter “Y” shows that a CIS
                                       Safeguard has privacy impacts, and “N” means there is no privacy impact. These tables
                                       notate any privacy impacts a particular CIS Safeguard may have and can assist in privacy
                                       engineering efforts. At times it was difficult to identify when a Safeguard was directly
                                       applicable to privacy. For instance, many Safeguards are designed to keep information
                                       secure from unauthorized disclosure via uses of cryptography and access control. But when
                                       identifying if a Safeguard is applicable to privacy, evaluating if a Control can protect the
                                       security of personal data was ultimately not a consideration. If it was a consideration, then all
                                       of the Safeguards within the CIS Controls would be applicable as they are designed to secure
                                       the IT systems which hold the personal data.




CIS Controls Privacy Companion Guide                                                                           Document Structure    Page 4
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         10 48
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2922
                                        ID #:4833


Audience
                                       This Privacy Guide is a resource meant for both IT security professionals, who are familiar with
                                       the CIS Controls, and privacy or legal staff within an enterprise. Users of this guide should
                                       have a working knowledge of basic privacy concepts. The previously introduced FIPPs in
                                       many ways are a foundational element in the privacy space. This document provides a history
                                       of their development and usage. The National Institute of Standards and Technology (NIST®)
                                       Privacy Framework provides a baseline guide to privacy concepts. Finally, certifications such
                                       as the Certified Information Privacy Professional (CIPP) from the International Association
                                       of Privacy Professionals (IAPP) can assist professionals in learning to understand the core
                                       concepts of privacy engineering and managing privacy risk.

                                       This document provides a bridge between IT security professionals looking to better
                                       understand how privacy applies to IT security controls, and privacy or legal professionals who
                                       need to better understand how modern technology and IT processes might impact privacy.
                                       Hopefully this document can enable a line of communication between these two groups
                                       and enhance the overall governance process by which business and legal management
                                       communicate with IT and IT security teams. Proper data governance will help enterprises
                                       better understand the privacy implications associated with implementing specific CIS
                                       Controls, and potentially develop additional mitigations to assist with meeting an enterprise’s
                                       privacy objectives.

                                       We hope that privacy professionals learn about the CIS Controls and how they can be a tool
                                       to support privacy requirements. This guide should be a good starting point to establish a
                                       constructive dialogue and cooperation among all groups. The Privacy Guide is useful for
                                       enterprises of any size: large enterprises that might lack solid communication between IT and
                                       legal teams and Small/Medium Enterprises (SMEs) that might not know what they need to
                                       know. The guide outlines some of the privacy implications of the CIS Controls and suggests
                                       mitigation approaches. Technical staff may not be aware of topics like regulatory requirements,
                                       data protection standards, requirements within partner agreements, and breach disclosure
                                       laws, which they need to prepare for reporting. There is no silver bullet to approaching privacy
                                       considerations as they are often complex and will vary by country, state, industry, customer
                                       type, and other factors.




CIS Controls Privacy Companion Guide                                                                                   Audience   Page 5
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         11 49
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2923
                                        ID #:4834


Scope
                                       While a complete treatment of privacy could be quite lengthy, this guide is only meant as
                                       a starting point to outline the most essential processes that every enterprise should focus
                                       on when dealing with data privacy and security concerns. Although the following topics fall
                                       outside the scope of the guide, we encourage enterprises to be mindful of the following issues,
                                       where applicable:

                                       •   Evolving national and international privacy laws
                                       •   Breach disclosure requirements that are locally, regionally, or nationally applicable
                                           including any other breach disclosure laws unique to an industry or sector
                                       •   Privacy related to personal mobile devices used in the enterprise
                                       •   Privacy related to leveraging another enterprise’s platform or service (e.g.,
                                           cloud computing)
                                       •   Data created as a result of using products and services of another company that could
                                           impact the privacy of employees and users
                                       •   Data portability requirements
                                       •   International transfers

                                       In noting privacy implications of the CIS Controls and suggesting mitigations, this document
                                       takes a broad view of privacy, since laws vary. As such, it is critical that IT security and privacy
                                       teams work in tandem to achieve both regulatory and internal privacy goals.

                                       Finally, in the context of this guide, privacy was considered for employees and the customers
                                       of products and services made by the enterprise. Essentially, privacy for employees from
                                       the enterprise was considered, and also privacy for end-users from having their passwords
                                       posted online.




CIS Controls Privacy Companion Guide                                                                                         Scope    Page 6
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         12 50
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2924
                                        ID #:4835


Privacy Assessments
                                         There are many ways to assess how privacy is protected within an enterprise. The National
                                         Academy of Sciences (NAS) Privacy Research and Best Practices report4 states that,
                                         “organizations must develop and continuously adapt their own internal policies and practices
                                         to protect privacy—beyond those that are legally mandated—in order to be effective and
                                         maintain the trust of their stakeholders and the public.” Therefore, CIS encourages enterprises
                                         to engage in a privacy assessment when implementing new IT systems or controls. Many
                                         privacy assessment frameworks exist and are based on different but often related foundational
                                         principles.

                                         A Privacy Impact Assessment (PIA) is one way of performing privacy assessments. PIAs
                                         help an enterprise identify personal data that an enterprise collects, processes, shares, and
                                         maintains. They can assist in demonstrating that program managers and system owners
                                         intentionally incorporate privacy principles throughout their information systems and business
                                         practices. There are multiple ways to perform a privacy impact assessment. The Government
                                         of New Zealand published a document providing useful steps for performing a privacy
                                         impact assessment.

                                         NIST provides a Privacy Framework that is a more recent approach for assessing privacy
                                         within an enterprise. The framework is a “tool that can help your enterprise create or improve
                                         a privacy program. Effective privacy risk management can help you build trust in your products
                                         and services, communicate better about your privacy practices, and meet your compliance
                                         obligations. Good cybersecurity is important but can’t address all privacy risks.” NIST®
                                         provides several resources to help small and medium-sized enterprises to incorporate privacy
                                         principles into their current IT practices.

                                         Finally, the European Telecommunications Standards Institute (ETSI) has provided resources
                                         for privacy enhancing implementations using the CIS Controls via ETSI TR 103 305-5.
                                         There are a variety of mechanisms within this document that can facilitate and encourage
                                         privacy protection. In addition, the Controls can help meet provisions of the EU General Data
                                         Protection Regulation (GDPR) using the CIS Critical Security Controls. The present document
                                         is directed at both achieving privacy objectives and performing privacy impact assessments.

                                         The CIS Controls do not contain a Control specifically focusing on privacy. As such, CIS does
                                         not recommend a single approach for performing a privacy assessment. Instead, multiple
                                         approaches are provided to make end-users aware of the options that exist to facilitate
                                         increasing privacy mechanisms.




4 National Academies of Sciences, Engineering, and Medicine. 2016. Privacy Research and Best Practices: Summary of a Workshop for the Intelligence Community.
  Washington, DC: The National Academies Press. doi:10.17226/21879.


CIS Controls Privacy Companion Guide                                                                                          Privacy Assessments      Page 7
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         13 51
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2925
                                        ID #:4836


Applicability Overview
  0% of CIS                            Control CIS Control Title                                                          Applicability
  Safeguards apply
                                          1     Inventory and Control of Enterprise Assets
  Between 1% and 60% of
  CIS Safeguards apply
                                         2      Inventory and Control of Software Assets
  More than 60% of CIS
  Safeguards apply                       3      Data Protection

                                         4      Secure Configuration of Enterprise Assets and Software

                                         5      Account Management

                                         6      Access Control Management

                                          7     Continuous Vulnerability Management

                                         8      Audit Log Management

                                         9      Email and Web Browser Protections

                                         10 Malware Defenses

                                         11     Data Recovery

                                         12 Network Infrastructure Management

                                         13 Network Monitoring and Defense

                                         14 Security Awareness and Skills Training

                                         15 Service Provider Management

                                         16 Application Software Security

                                         17 Incident Response Management

                                         18 Penetration Testing




CIS Controls Privacy Companion Guide                                                                 Applicability Overview    Page 8
    Case
      Case
         8:24-cv-01997-WLH-DFM
            8:24-cv-01997-JLS-DFM Document
                                   Document88-8
                                             127-7 Filed
                                                       Filed
                                                          11/27/24
                                                             01/08/25 Page
                                                                        Page
                                                                           14 52
                                                                              of 84
                                                                                 of 122
                                                                                     Page
                                    Page
                                       ID #:2926
                                          ID #:4837




      01                                Inventory and Control of
CONTROL

                                        Enterprise Assets
 Overview	                              Actively manage (inventory, track, and correct) all enterprise assets (end-user
                                        devices, including portable and mobile; network devices; non-computing/
                                        Internet of Things (IoT) devices; and servers) connected to the infrastructure,
                                        physically, virtually, remotely, and those within cloud environments, to accurately
                                        know the totality of assets that need to be monitored and protected within the
                                        enterprise. This will also support identifying unauthorized and unmanaged assets
                                        to remove or remediate.


 Privacy Applicability

                                        This CIS Control is applicable to the creation and maintenance of device inventories. Privacy
                                        principles should be incorporated into the device inventory process, from both a technological
                                        and a procedural standpoint. Many of the Safeguards within this Control are applicable
                                        to privacy.

 Privacy Implications
                                        •   Knowledge about a device, where it is located, who is using it, and how they are using it,
                                            could provide information about an individual (“personal data”). Further, many enterprises
                                            use an individual’s name or identifier, which explicitly links the device to the individual.
                                            Accordingly, inventories of enterprise assets should be handled as though they contain
                                            personal data. Note that this can occur with laptops, IoT, and mobile devices. At some
                                            point, it is possible for monitoring and tracking software to cross a line and negatively
                                            affect employee safety and privacy, essentially becoming employee “surveillanceware”.
                                        •   It is common for enterprises to provision device models to employees based on their role
                                            within the enterprise. For instance, developers may be provisioned with more powerful
                                            laptops than general staff, or executives may receive tablets. Knowledge of this information
                                            could allow inference of the user’s role in the enterprise and potentially associated
                                            characteristics such as likely salary range.
                                        •   With some mobile device deployment scenarios, such as Bring Your Own Device (BYOD)
                                            or Corporately Owned, Personally Enabled (COPE) mobile devices, device management
                                            platforms might track location of that device at any given time, which could expose the
                                            whereabouts of a user. Some device management platforms may also track device usage,
                                            and even the contents, which is likely to involve personal data.

                                        Data Collection

                                        Common data types collected for this CIS Control will include information about the device,
                                        such as model, owner, IP, and device name. Device name may include usernames or other
                                        user information. Identifying information (i.e., personal data) about the user is commonly
                                        stored in the device inventory, such as first name, last name, employee role, and potentially
                                        contact information such as phone number and email address. Information collected from
                                        mobile devices could include detailed information about the mobile device to include phone
                                        number and device identifiers.




 CIS Controls Privacy Companion Guide                                                 Control 01: Inventory and Control of Enterprise Assets   Page 9
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
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                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         15 53
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2927
                                        ID #:4838

                                       Data Storage

                                       Device inventory information may be stored in a Microsoft Excel spreadsheet located on a
                                       system administrator’s system. The inventory may also be hosted within a database stored
                                       onsite within the enterprise network. It is quite common to use an application to assist with
                                       the creation and maintenance of a device inventory. That information may be stored locally but
                                       may also be stored in a cloud-based system outside of the enterprise’s control. The external
                                       service provider may have access to all data inventory information, making the service
                                       provider’s privacy policies relevant to know before usage. Any hot sites or other organizations/
                                       hardware providing data redundancy may also store this data and user information.

Additional Discussion

                                       Technical staff should work with the privacy officer or legal counsel to identify what
                                       requirements are needed for privacy protection in regard to this CIS Control. Privacy
                                       preserving hostnames are encouraged, especially for devices expected to operate outside the
                                       enterprise network (e.g., phones, travel laptops). Device inventories should be protected from
                                       unauthorized access and exposure via other relevant CIS Controls and Safeguards since they
                                       contain personal data and can be used to attack an enterprise, its employees, contractors, and
                                       service providers.

                                       Automated inventory systems should be configured to collect only the information required
                                       by the enterprise for their inventory, and to delete obsolete information in a timely fashion.
                                       Automated inventory systems should also be manually audited to confirm data is being
                                       collected, maintained, and deleted as intended. This may require additional time and
                                       configuration. Documentation should explicitly reflect privacy decisions and associated
                                       rationales, and mitigations in place for hardware inventory creation and maintenance.

Fair Information Practice Principles
                                       •   The Collection Limitation Principle. IT should only collect the required data from devices
                                           when creating and maintaining an inventory. IT should carefully consider whether data is
                                           actually required to securely maintain and manage an inventory.
                                       •   The Data Quality Principle. Unnecessary data should not be collected or maintained within
                                           an enterprise asset inventory. Data should be updated on a regular basis and used only for
                                           data inventory purposes. Obsolete data should be deleted in a timely fashion.
                                       •   The Purpose Specification Principle. Employees should understand what personal data
                                           will be kept within the enterprise asset inventory, and how it will be used.
                                       •   The Use Limitation Principle. Personal data stored within enterprise asset inventories
                                           should not be shared or used for other purposes without explicit employee permission.
                                           Such other purposes should be necessary and reasonable.
                                       •   The Security Safeguards Principle. The CIS Controls can be leveraged to enable this
                                           principle, such as Control 3: Data Protection.
                                       •   The Openness Principle. Employees should understand what external systems may
                                           contain personal data and why.
                                       •   The Individual Participation Principle. Employees should have the ability to reasonably
                                           request to see what data is held about them in the inventory.
                                       •   The Accountability Principle. This principle must be discussed with the service provider
                                           before selection and usage.




CIS Controls Privacy Companion Guide                                               Control 01: Inventory and Control of Enterprise Assets   Page 10
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
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                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         16 54
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2928
                                        ID #:4839

General Data Protection Regulation Principles
                                                  •    Lawfulness, fairness, and transparency. Employees should understand what personal
                                                       data will be kept within the enterprise asset inventory, and how it will be used. A lawful
                                                       basis is needed for collecting personal data within the enterprise asset inventory.
                                                  •    Purpose limitation. Users should be informed in writing about your purpose for collecting
                                                       personal data in the enterprise asset inventory from the outset of collecting it. Personal
                                                       data kept within the enterprise asset inventory should only be used for inventory purposes.
                                                       This may conflict with the need to leverage asset inventory data for secure baselines and
                                                       vulnerability management. This may only apply to personally owned devices. Enterprise-
                                                       owned devices may not be subject to this principle.

                                                       •     Data minimization. Unnecessary inventory data should not be collected or maintained
                                                             within an enterprise asset inventory. The data that is collected for the hardware
                                                             inventory must be specifically used for the hardware inventory and nothing else.
                                                       •     Accuracy of data. Data should be updated on a regular basis where necessary and used
                                                             only for data inventory purposes. Written processes should be documented for how the
                                                             enterprise asset inventory is maintained and how incorrect data is corrected.
                                                       •     Storage limitation. Inventory data that can identify an individual should only be stored
                                                             for as long as needed. Obsolete data should be deleted without delay.

                                                  •    Integrity and confidentiality. The CIS Controls can be leveraged to enable this principle,
                                                       such as Control 3: Data Protection. Enterprise asset inventory data should be protected
                                                       from unauthorized access, modification, and disclosure.

Control 1 Privacy Applicability Table

CIS Control 01: Inventory and Control of Enterprise Assets                                                  Applicability Included?
Safeguard          Asset            Security      Control Title/                                            Applicability Justification and
                   Type             Function      Description                                               Privacy Considerations

1.1            -Devices-           -Identify- Establish and Maintain Detailed Enterprise                    Yes
                                                  Asset Inventory                                           The information collected within asset inventories
                                                  Establish and maintain an accurate, detailed, and         likely contains, or is directly connected to,
                                                  up-to-date inventory of all enterprise assets with        information systems containing PII and other
                                                  the potential to store or process data, to include:       personal data. Make sure your enterprise has,
                                                  end-user devices (including portable and mobile),         and implements, a data handling policy for the
                                                  network devices, non-computing/IoT devices,               inventory that applies the principles (above).
                                                  and servers. Ensure the inventory records the
                                                  network address (if static), hardware address,
                                                  machine name, data asset owner, department
                                                  for each asset, and whether the asset has been
                                                  approved to connect to the network. For mobile
                                                  end-user devices, MDM type tools can support
                                                  this process, where appropriate. This inventory
                                                  includes assets connected to the infrastructure
                                                  physically, virtually, remotely, and those within cloud
                                                  environments. Additionally, it includes assets that
                                                  are regularly connected to the enterprise’s network
                                                  infrastructure, even if they are not under control of
                                                  the enterprise. Review and update the inventory of
                                                  all enterprise assets bi-annually, or more frequently.

1.2            -Devices-          -Respond- Address Unauthorized Assets                                     Yes
                                            Ensure that a process exists to address                         Identifying and addressing unauthorized assets
                                            unauthorized assets on a weekly basis. The                      may intentionally or unintentionally involve the
                                            enterprise may choose to remove the asset from the              collection of personal data (e.g., the names of
                                            network, deny the asset from connecting remotely                commonly used wireless fidelity (Wi-Fi) server set
                                            to the network, or quarantine the asset.                        identifiers ( SSIDs) used by a mobile device, which
                                                                                                            could contain individuals’ names such as Alice and
                                                                                                            Bob or the name of a medical provider or other
                                                                                                            place the individual had previously visited).



CIS Controls Privacy Companion Guide                                                                 Control 01: Inventory and Control of Enterprise Assets   Page 11
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         17 55
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2929
                                        ID #:4840
CIS Control 01: Inventory and Control of Enterprise Assets                                                Applicability Included?
Safeguard          Asset            Security      Control Title/                                          Applicability Justification and
                   Type             Function      Description                                             Privacy Considerations

1.3            -Devices-           -Detect-       Utilize an Active Discovery Tool                        Yes
                                                  Utilize an active discovery tool to identify assets     Using automated tools to interrogate devices can
                                                  connected to the enterprise’s network. Configure        obtain information that the enterprise could use
                                                  the active discovery tool to execute daily, or more     to link devices to individuals. When interrogated,
                                                  frequently.                                             devices may offer identifying information in
                                                                                                          response.

1.4            -Devices-           -Identify- Use Dynamic Host Configuration Protocol                     Yes
                                                  (DHCP) Logging to Update Enterprise Asset               DHCP logs contain sensitive information because
                                                  Inventory                                               they map device identifiers to an IP address,
                                                  Use DHCP logging on all DHCP servers or Internet        so it’s critical that an enterprise limit who has
                                                  Protocol (IP) address management tools to update        access, carefully protect the data, and have a
                                                  the enterprise’s asset inventory. Review and use        data retention policy that limits the time it holds
                                                  logs to update the enterprise’s asset inventory         this data.
                                                  weekly, or more frequently.

1.5            -Devices-           -Detect-       Use a Passive Asset Discovery Tool                      Yes
                                                  Use a passive discovery tool to identify assets         Passive discovery may involve the collection
                                                  connected to the enterprise’s network. Review and       and use of device identifiers that are unique
                                                  use scans to update the enterprise’s asset inventory    (e.g., hostnames, media access control (MAC)
                                                  at least weekly, or more frequently.                    addresses, and IP addresses). The enterprise likely
                                                                                                          has the ability to link those identifiers to individual
                                                                                                          users. When these identifiers are combined
                                                                                                          with other data about those users, the resulting
                                                                                                          information may be personal data. Even the
                                                                                                          identifiers, when linked or able to be linked to an
                                                                                                          individual, may be considered personal data.




CIS Controls Privacy Companion Guide                                                                Control 01: Inventory and Control of Enterprise Assets   Page 12
    Case
      Case
         8:24-cv-01997-WLH-DFM
            8:24-cv-01997-JLS-DFM Document
                                   Document88-8
                                             127-7 Filed
                                                       Filed
                                                          11/27/24
                                                             01/08/25 Page
                                                                        Page
                                                                           18 56
                                                                              of 84
                                                                                 of 122
                                                                                     Page
                                    Page
                                       ID #:2930
                                          ID #:4841




      02                                Inventory and Control
CONTROL

                                        of Software Assets
 Overview	                              Actively manage (inventory, track, and correct) all software (operating systems
                                        and applications) on the network so that only authorized software is installed
                                        and can execute, and that unauthorized and unmanaged software is found and
                                        prevented from installation or execution.


 Privacy Applicability

                                        This CIS Control is applicable to the development and maintenance of software inventories.
                                        Privacy principles should be incorporated into the software inventory process, from both a
                                        technological and a procedural standpoint. Multiple Safeguards were not included for privacy.

 Privacy Implications
                                        •   Software inventories list authorized software (and versions) installed on enterprise
                                            approved devices. These software assets are directly tied to specific individuals and can
                                            collect and manipulate personal data about specific users.
                                        •   Certain software assets will contain information about employees, such as health
                                            information from sponsored wellness applications, financial information from
                                            accounting and payroll software, and personal information from human resource
                                            management software.
                                        •   Software on personal BYOD-enabled mobile devices may be able to access or request
                                            personal information related to lifestyle, health tracking, or personal finances. When users
                                            are using personal devices for work, this becomes more acute, as certain applications
                                            could indicate lifestyles that might be used to discriminate against specific employees. At
                                            some point, it is possible for monitoring and tracking software to cross a line and negatively
                                            affect employee safety and privacy, essentially becoming employee “surveillanceware”.

                                        Data Collection

                                        Common forms of data collected for this CIS Control will include information about the
                                        device to include model, owner, IP, and device name. Device name may include usernames or
                                        other user information such as first name, last name, employee role, and potentially contact
                                        information (e.g., phone number, email address). Information about other software installed on
                                        the system is likely to be available.

                                        Data Storage

                                        This information may be stored in a Microsoft Excel spreadsheet located on a system
                                        administrator’s system or hosted within a database stored onsite within the enterprise
                                        network. It is common to use an application to assist with software inventory. That information
                                        may be stored locally but may also be stored in a cloud-based system outside of the
                                        enterprise’s control. The service provider may have access to all data inventory information.
                                        Any hot sites or other organizations providing data redundancy may also store this inventory
                                        and user information.




 CIS Controls Privacy Companion Guide                                                Control 02: Inventory and Control of Software Assets   Page 13
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         19 57
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2931
                                        ID #:4842

Additional Discussion

                                       In the software inventory, effort should be made to identify software likely to contain personal
                                       or confidential information. Apply appropriate protections to the inventory and to sensitive
                                       software. Enterprises should have a privacy policy that lets users know these characteristics
                                       and what could be derived from the devices they own. Furthermore, automated systems
                                       should be configured appropriately to only collect necessary information, and documentation
                                       should explicitly reflect the privacy decisions and mitigations in place. IT should be made
                                       aware of privacy decisions within this process and follow approved documentation.

Fair Information Practice Principles
                                       •   The Collection Limitation Principle. IT should only collect the required data from software
                                           when creating and maintaining an inventory.
                                       •   The Data Quality Principle. Unnecessary data should not be maintained within a
                                           software inventory. Data should be updated on a regular basis and used only for data
                                           inventory purposes.
                                       •   The Purpose Specification Principle. Employees should understand what personal data
                                           will be kept within the software inventory, and how it will be used.
                                       •   The Use Limitation Principle. Personal data stored within software inventories should not
                                           be used for purposes other than those previously established, without explicit employee or
                                           customer permission.
                                       •   The Security Safeguards Principle. Technical staff should work with the corporate privacy
                                           officer, or legal counsel, to identify what requirements are needed for privacy data protection.
                                       •   The Openness Principle. Employees should understand what external systems may
                                           contain personal data.
                                       •   The Individual Participation Principle. Employees should have the ability to reasonably
                                           request to see what data is held about them in the inventory.
                                       •   The Accountability Principle. This principle must be discussed with the service provider
                                           before selection and usage.

General Data Protection Regulation Principles
                                       •   Lawfulness, fairness, and transparency. Employees should understand what personal
                                           data will be kept within the software asset inventory, and how it will be used. A lawful basis
                                           is needed for collecting personal data, in this case, what software would be on personal
                                           devices, within the software inventory.
                                       •   Purpose limitation. Users should be informed in writing about your purpose for collecting
                                           personal data in the software asset inventory from the outset of collecting it. Personal
                                           data kept within the software inventory should only be used for inventory purposes. This
                                           may conflict with the need to leverage software inventory data for secure baselines and
                                           vulnerability management. This may only apply to personally owned devices. Enterprise-
                                           owned devices may not be subject to this principle.
                                       •   Data minimization. Unnecessary software inventory data should not be collected or
                                           maintained within an enterprise asset inventory. The data that is collected for the software
                                           inventory must be specifically used for the software inventory and nothing else.
                                       •   Accuracy of data. Inventory data should be updated on a regular basis where necessary
                                           and used only for data inventory purposes. Written processes should be documented for
                                           how the software inventory is maintained and how incorrect data is corrected.
                                       •   Storage limitation. Inventory data that can identify an individual should only be stored for
                                           as long as needed. Obsolete data should be deleted without delay.
                                       •   Integrity and confidentiality. The CIS Controls can be leveraged to enable this principle,
                                           such as Control 3: Data Protection. Software inventory data should be protected from
                                           unauthorized access, modification, and disclosure.

CIS Controls Privacy Companion Guide                                                 Control 02: Inventory and Control of Software Assets   Page 14
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         20 58
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2932
                                        ID #:4843

Control 2 Privacy Applicability Table

CIS Control 02: Inventory and Control of Software Assets
Safeguard         Asset             Security      Control Title/                                          Applicability Included?
                  Type              Function      Description                                             Applicability Justification and Privacy Considerations

2.1         -Applications-        -Identify- Establish and Maintain a Software Inventory                  Yes
                                             Establish and maintain a detailed inventory of all           The information collected within asset inventories
                                             licensed software installed on enterprise assets.            likely contains, or is directly connected to,
                                             The software inventory must document the title,              information systems containing PII and other
                                             publisher, initial install/use date, and business            personal data.
                                             purpose for each entry; where appropriate,
                                             include the Uniform Resource Locator (URL),
                                             app store(s), version(s), deployment mechanism,
                                             and decommission date. Review and update the
                                             software inventory bi-annually, or more frequently.

2.2         -Applications-        -Identify- Ensure Authorized Software Is Currently                      No
                                                  Supported                                               Ensuring software assets are supported does not
                                                  Ensure that only currently supported software is        present privacy impacts.
                                                  designated as authorized in the software inventory
                                                  for enterprise assets. If software is unsupported
                                                  yet necessary for the fulfillment of the enterprise’s
                                                  mission, document an exception detailing mitigating
                                                  controls and residual risk acceptance. For any
                                                  unsupported software without an exception
                                                  documentation, designate as unauthorized. Review
                                                  the software list to verify software support at least
                                                  monthly, or more frequently.

2.3         -Applications- -Respond- Address Unauthorized Software                                        No
                                     Ensure that unauthorized software is either                          Removing unauthorized applications does not
                                     removed from use on enterprise assets or receives                    present privacy impacts, although it may cause the
                                     a documented exception. Review monthly, or more                      deletion of an employee’s personal data (e.g., photos
                                     frequently.                                                          in a photo sharing app). Deletion of an individual’s
                                                                                                          personal data could be a privacy impact in some
                                                                                                          circumstances. But, the enterprise may state that
                                                                                                          the employee was not authorized to create, collect,
                                                                                                          receive, share, or store that data on the device.

2.4         -Applications-         -Detect-       Utilize Automated Software Inventory Tools              Yes
                                                  Utilize software inventory tools, when possible,        Using automated tools to actively identify installed
                                                  throughout the enterprise to automate the discovery     applications will likely provide personal data to the
                                                  and documentation of installed software.                employer, especially on mobile platforms. This may
                                                                                                          include information about apps related to lifestyle,
                                                                                                          health tracking, or personal finances.

2.5         -Applications-        -Protect- Allowlist Authorized Software                                 Yes
                                            Use technical controls, such as application                   Allowlisting software on personal mobile devices
                                            allowlisting, to ensure that only authorized software         may be privacy-invasive based on the mobile
                                            can execute or be accessed. Reassess bi-annually,             operating system and specific implementation.
                                            or more frequently.

2.6         -Applications-        -Protect- Allowlist Authorized Libraries                                No
                                            Use technical controls to ensure that only                    This specific type of allowlisting does not present
                                            authorized software libraries, such as specific .dll,         privacy impacts.
                                            .ocx, .so, etc. files, are allowed to load into a system
                                            process. Block unauthorized libraries from loading
                                            into a system process. Reassess bi-annually, or
                                            more frequently.

2.7         -Applications-        -Protect- Allowlist Authorized Scripts                                  No
                                            Use technical controls, such as digital signatures            This specific type of allowlisting does not present
                                            and version control, to ensure that only authorized           privacy impacts.
                                            scripts, such as specific .ps1, .py, etc. files, are
                                            allowed to execute. Block unauthorized scripts from
                                            executing. Reassess bi-annually, or more frequently.



CIS Controls Privacy Companion Guide                                                                Control 02: Inventory and Control of Software Assets           Page 15
    Case
      Case
         8:24-cv-01997-WLH-DFM
            8:24-cv-01997-JLS-DFM Document
                                   Document88-8
                                             127-7 Filed
                                                       Filed
                                                          11/27/24
                                                             01/08/25 Page
                                                                        Page
                                                                           21 59
                                                                              of 84
                                                                                 of 122
                                                                                     Page
                                    Page
                                       ID #:2933
                                          ID #:4844




      03                                Data
CONTROL

                                        Protection
 Overview	                              Develop processes and technical controls to identify, classify, securely handle,
                                        retain, and dispose of data.


 Privacy Applicability

                                        Data Protection is a CIS Control that can help to protect a myriad of information types
                                        throughout an enterprise network, including PII and other personal data. Without the
                                        Safeguards listed here, much of the personal and customer information that enterprises
                                        keep would be at risk of unauthorized exposure. Yet, as stated in this guide’s Scope, keeping
                                        information safe from unauthorized disclosure is not the only consideration for being
                                        applicable to privacy. If it were the only consideration, then all of the Safeguards within the CIS
                                        Controls would be applicable. As such, only some of the Safeguards are listed as applicable.

 Privacy Implications
                                        •   Failure to implement many of the Safeguards within this CIS Control would likely be
                                            insufficient to protect PII and other personal data.
                                        •   Portable devices and media likely store PII and other personal data. Although addressing
                                            these form factors can be difficult, it is worth the extra effort and expenditure.
                                        •   Implementing many of the Safeguards within this Control can protect PII and other
                                            personal data. Yet, these same systems may require privileged roles and access to function
                                            as intended. Understanding the actions software is taking in the background and what
                                            information is being collected is a worthwhile activity.

                                        Data Collection

                                        Types of information should be labeled according to the data scheme established in Safeguard
                                        3.7 – Establish and Maintain a Data Classification Scheme. This does not necessarily need to
                                        be performed in an automated fashion via software, but IT administrators and Privacy Officers
                                        should have a general knowledge of the types of data collected. IT employees should know
                                        how to identify and report instances of newly discovered personal data.

                                        Safeguard 3.13 – Deploy a Data Loss Prevention (DLP) Solution can be leveraged in an
                                        automated fashion to identify collected PII and other personal data in the enterprise. DLP
                                        usage may reveal unknown PII and personal data, and should be monitored regularly. Access
                                        to sensitive data should be logged in accordance with Safeguard 3.14 – Log Sensitive Data
                                        Access. This ensures that, upon review of logs, it can be determined that only authorized
                                        individuals were able to access personal data. This likely cannot be accomplished on
                                        mobile devices.

                                        Data Storage

                                        Data inventories should be protected with Safeguards from this Control. Any data stored in
                                        cloud systems should also be protected, and personal data stored there should be explicitly
                                        understood and approved. Please see the CIS Controls Cloud Companion Guide for how to
                                        secure cloud-based systems.

                                        Disposal of stored personal data (Safeguard 3.5) should be accomplished in a secure manner
                                        in consultation with the enterprise’s information security office or existing policy. This should
                                        be performed for all physical paper, digital media, and IoT and mobile platforms.



 CIS Controls Privacy Companion Guide                                                                     Control 03: Data Protection   Page 16
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
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                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         22 60
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2934
                                        ID #:4845

Additional Discussion

                                       There are few direct privacy implications relating to CIS Control 3, as most of the Safeguards
                                       actively enhance privacy by preventing information from unauthorized disclosure. With that
                                       said, privacy implications exist for some Safeguards as mentioned above. A data management
                                       process, to include a data inventory classification scheme, could be interpreted in a manner to
                                       enhance privacy. These Safeguards can also be used to help understand the types of personal
                                       and customer data stored within the enterprise (e.g., PII, proprietary), and data classifications
                                       can then be leveraged to identify necessary data protection methods that assist in privacy
                                       protections.

                                       Implement auditing of regulatory and third-party agreement requirements to verify the
                                       location and appropriate protection of all privacy data. As previously noted, many of the
                                       Safeguards in this Control play a pivotal role in protection of private information, such as
                                       the use of cryptography. When in doubt, enterprises are encouraged to use the Control 3
                                       Safeguards because they protect personal data. Additionally, if there is a breach, it may
                                       be possible to prove lack of sufficient controls to protect data. Incorrect implementation of
                                       encryption, use of weak encryption algorithms, or insecure management of encryption keys all
                                       create a situation rife for a data breach.

Fair Information Practice Principles
                                       •   The Collection Limitation Principle. Personal data generally should not be collected
                                           as part of this Control with the exception of data access logs and Data Loss Prevention
                                           (DLP) systems.
                                       •   The Data Quality Principle. Any collected data should be relevant to the reason it was
                                           collected. For instance, the DLP should not be collecting data it is not meant to collect.
                                       •   The Purpose Specification Principle. Employees should understand why certain systems
                                           such as DLP are collecting their data.
                                       •   The Use Limitation Principle. DLP or access log data should not be shared unless consent
                                           is provided.
                                       •   The Security Safeguards Principle. Control 3, and the CIS Controls in general, can assist in
                                           protecting PII and other personal data.
                                       •   The Openness Principle. People who have their data collected and logged should
                                           understand what external systems may contain personal data.
                                       •   The Individual Participation Principle. This is unlikely to be implementable without serious
                                           discussion with any service providers beforehand. Employees should have the ability to
                                           reasonably request to see what data is stored about them.
                                       •   The Accountability Principle. It will be uncommon to find service providers who comply
                                           with many of the FIPPs.

General Data Protection Regulation Principles
                                       •   Lawfulness, fairness, and transparency. Employees should have the opportunity to
                                           make an informed decision on the type of personal data that will be kept as a result of the
                                           implementation of this Control. A lawful basis is needed for collecting personal data, in this
                                           case, what software would be on personal devices, within the software inventory.
                                       •   Purpose limitation. Users should be informed in writing about your purpose for collecting
                                           personal data from the outset of collecting it.
                                       •   Data minimization. Unnecessary personal and customer data should not be collected or
                                           maintained unless it is specifically needed. The data that is collected must be specifically
                                           used for its original intended purpose.




CIS Controls Privacy Companion Guide                                                                      Control 03: DataProtection   Page 17
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         23 61
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2935
                                        ID #:4846
                                              •   Accuracy of data. All personal and customer data should be updated on a regular basis
                                                  where necessary and used only for data management purposes. This includes DLP and log
                                                  data. Written processes should be documented for how this data is maintained and how
                                                  incorrect data is corrected.
                                              •   Storage limitation. Personal, customer, DLP, and log data that can help identify an
                                                  individual should only be stored for as long as needed. Obsolete data should be deleted
                                                  without delay.
                                              •   Integrity and confidentiality. The CIS Controls can be leveraged to enable this principle,
                                                  such as Control 3: Data Protection. Software inventory data should be protected from
                                                  unauthorized access, modification, and disclosure.

Control 3 Privacy Applicability Table

CIS Control 03: Data Protection
Safeguard         Asset            Security   Control Title/                                         Applicability Included?
                  Type             Function   Description                                            Applicability Justification and Privacy Considerations

3.1              -Data-           -Identify- Establish and Maintain a Data                           Yes
                                              Management Process                                     This can be leveraged to manage PII and other
                                              Establish and maintain a data management               types of private information.
                                              process. In the process, address data sensitivity,
                                              data owner, handling of data, data retention limits,
                                              and disposal requirements, based on sensitivity and
                                              retention standards for the enterprise. Review and
                                              update documentation annually, or when significant
                                              enterprise changes occur that could impact this
                                              Safeguard.

3.2              -Data-           -Identify- Establish and Maintain a Data Inventory                 Yes
                                             Establish and maintain a data inventory, based          This can be leveraged to manage PII and other
                                             on the enterprise’s data management process.            types of private information.
                                             Inventory sensitive data, at a minimum. Review and
                                             update inventory annually, at a minimum, with a
                                             priority on sensitive data.

3.3              -Data-           -Protect- Configure Data Access Control Lists                      Yes
                                            Configure data access control lists based on a           Only certain users and roles should be provided
                                            user’s need to know. Apply data access control lists,    access to certain types of protected and private
                                            also known as access permissions, to local and           information.
                                            remote file systems, databases, and applications.

3.4              -Data-           -Protect- Enforce Data Retention                                   Yes
                                            Retain data according to the enterprise’s data           The privacy implications associated with retained
                                            management process. Data retention must include          data should be analyzed and understood.
                                            both minimum and maximum timelines.

3.5              -Data-           -Protect- Securely Dispose of Data                                 Yes
                                            Securely dispose of data as outlined in the              All enterprise data should be securely disposed
                                            enterprise’s data management process. Ensure the         of, especially if private or customer information is
                                            disposal process and method are commensurate             included.
                                            with the data sensitivity.

3.6            -Devices-          -Protect- Encrypt Data on End-User Devices                         Yes
                                            Encrypt data on end-user devices containing              This helps protect stored information that is
                                            sensitive data. Example implementations can              private.
                                            include Windows BitLocker®, Apple FileVault®,
                                            Linux® dm-crypt.




CIS Controls Privacy Companion Guide                                                                                        Control 03: DataProtection        Page 18
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
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                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         24 62
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2936
                                        ID #:4847
CIS Control 03: Data Protection
Safeguard         Asset            Security   Control Title/                                          Applicability Included?
                  Type             Function   Description                                             Applicability Justification and Privacy Considerations

3.7              -Data-           -Identify- Establish and Maintain a Data                            Yes
                                              Classification Scheme                                   This can be leveraged to manage PII and other
                                              Establish and maintain an overall data classification   types of private information.
                                              scheme for the enterprise. Enterprises may use
                                              labels, such as “Sensitive,” “Confidential,” and
                                              “Public,” and classify their data according to those
                                              labels. Review and update the classification scheme
                                              annually, or when significant enterprise changes
                                              occur that could impact this Safeguard.

3.8              -Data-           -Identify- Document Data Flows                                      Yes
                                             Document data flows. Data flow documentation             This can ensure an enterprise knows where
                                             includes service provider data flows and should          personal data is likely to be sent and how it is likely
                                             be based on the enterprise’s data management             to be protected.
                                             process. Review and update documentation
                                             annually, or when significant enterprise changes
                                             occur that could impact this Safeguard.

3.9              -Data-           -Protect- Encrypt Data on Removable Media                           Yes
                                            Encrypt data on removable media.                          This helps protect stored information in transit that
                                                                                                      is private.

3.10             -Data-           -Protect- Encrypt Sensitive Data in Transit                         Yes
                                            Encrypt sensitive data in transit. Example                This helps protect stored information that is
                                            implementations can include, Transport Layer              private.
                                            Security (TLS) and Open Secure Shell (OpenSSH).

3.11             -Data-           -Protect- Encrypt Sensitive Data At Rest                            Yes
                                            Encrypt sensitive data at rest on servers,                This helps protect stored information that is
                                            applications, and databases containing sensitive          private.
                                            data. Storage-layer encryption, also known as
                                            server-side encryption, meets the minimum
                                            requirement of this Safeguard. Additional
                                            encryption methods may include application-layer
                                            encryption, also known as client-side encryption,
                                            where access to the data storage device(s) does not
                                            permit access to the plain-text data.

3.12           -Network-          -Protect- Segment Data Processing and Storage                       Yes
                                              Based on Sensitivity                                    Personal data should only be stored in approved
                                              Segment data processing and storage based on            locations and on appropriate systems. Access
                                              the sensitivity of the data. Do not process sensitive   should be appropriately restricted.
                                              data on enterprise assets intended for lower
                                              sensitivity data.

3.13             -Data-           -Protect- Deploy a Data Loss Prevention Solution                    Yes
                                            Implement an automated tool, such as a host-              This can be helpful to identify PII and other
                                            based Data Loss Prevention (DLP) tool to identify         personal data stored within the enterprise or
                                            all sensitive data stored, processed, or transmitted      leaving in an unauthorized manner.
                                            through enterprise assets, including those located
                                            onsite or at a remote service provider, and update
                                            the enterprise’s sensitive data inventory.

3.14             -Data-           -Detect-    Log Sensitive Data Access                               Yes
                                              Log sensitive data access, including modification       Only approved users and roles should access
                                              and disposal.                                           private information, and this can help create an
                                                                                                      audit trail to examine after the fact of a breach. Log
                                                                                                      data may also be useful in identifying if a breach
                                                                                                      occurred.




CIS Controls Privacy Companion Guide                                                                                          Control 03: DataProtection       Page 19
    Case
      Case
         8:24-cv-01997-WLH-DFM
            8:24-cv-01997-JLS-DFM Document
                                   Document88-8
                                             127-7 Filed
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                                                          11/27/24
                                                             01/08/25 Page
                                                                        Page
                                                                           25 63
                                                                              of 84
                                                                                 of 122
                                                                                     Page
                                    Page
                                       ID #:2937
                                          ID #:4848




      04                                Secure Configuration of
CONTROL

                                        Enterprise Assets and Software
 Overview	                              Establish and maintain the secure configuration of enterprise assets (end-user
                                        devices, including portable and mobile; network devices; non-computing/IoT
                                        devices; and servers) and software (operating systems and applications).


 Privacy Applicability

                                        Secure configurations for hardware and software assets can help enable privacy for
                                        employees by preventing data breaches and account takeovers. Certain configuration settings
                                        in popular products can be viewed as outright vulnerabilities, whereas other settings may
                                        weaken a system or software and make it more susceptible to a successful attack. With
                                        that said, a majority of the Safeguards within this Control can have a privacy impact when
                                        implemented within an enterprise.

 Privacy Implications
                                        •   Certain configurations of hardware and software can be viewed as negatively affecting
                                            the privacy of employees. Therefore, a privacy review of configuration settings by
                                            knowledgeable parties is necessary to ensure that certain products do not intentionally or
                                            unintentionally store or transmit private employee data.
                                        •   Configuring certain assets appropriately may cause data to be collected, such as traffic
                                            logs or data access logs. Because this information can be sensitive, IT must understand the
                                            settings they are enabling so that this information isn’t left in an unprotected state.
                                        •   Network appliances and applications such as Domain Name System (DNS) and
                                            firewalls will granularly track users by functioning as intended. How these appliances
                                            and applications function must be understood by IT, so that their data can be regularly
                                            maintained and protected.

                                        Data Collection

                                        Configurations for enterprise assets and software should be enabled in a manner that
                                        refrains from collecting personal data from employees as much as is practical. This means
                                        that systems with options to host or send data to other service providers should not be
                                        configured to do so.

                                        Data Storage

                                        To the extent practical, systems owned and operated by external service providers should not
                                        be configured to store personal data outside the enterprise. As few parties as possible, if any,
                                        should have access to the employee information and only for legitimate purposes.

 Additional Discussion

                                        Many of the Safeguards in this Control help to provide basic protections against common
                                        forms of unauthorized access, such as via the use of a lock screen password in Safeguard
                                        4.3 – Configure Automatic Session Locking on Enterprise Assets. Proper configuration
                                        for all enterprise assets should be accomplished via a secure configuration process for
                                        both traditional systems and network assets (Safeguards 4.1, 4.2). This should include
                                        proper configuration of server firewalls and on-device host-based firewall software
                                        (Safeguards 4.4, 4.5).




 CIS Controls Privacy Companion Guide                                    Control 04: Secure Configuration of Enterprise Assets and Software   Page 20
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         26 64
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2938
                                        ID #:4849

                                       Configuration of mobile devices to support privacy can be difficult to balance. While the
                                       enterprise needs the ability to securely manage and govern access to enterprise data on
                                       a mobile device, these devices also contain extremely personal and private information.
                                       Regardless of device ownership, effort should be made to minimize enterprise access to
                                       personal employee information. This can be configured via Enterprise Mobility Management
                                       (EMM) tools which help enable Safeguards 4.11 and 4.12. These tools do not necessarily need
                                       control of the entire device but can manage a single application that contains all enterprise
                                       data, which allows for separate work environments (4.12) and easy deletion of data as needed
                                       (4.11). Please refer to the CIS Controls Mobile Companion Guide for additional discussion
                                       regarding mobile security.

Fair Information Practice Principles
                                       •   The Collection Limitation Principle. Employees in the U.S. are typically notified that their
                                           activities are being tracked by their employers in the U.S. via various IT policies such as
                                           acceptable use. This should be done to comply with this principle.
                                       •   The Data Quality Principle. Any collected data should be relevant to the reason it was
                                           collected, in this case, network appliances protecting the network and other software and
                                           systems protecting the network.
                                       •   The Purpose Specification Principle. Employees should understand why network-based
                                           appliances are collecting their data.
                                       •   The Use Limitation Principle. Network data about user activities on the internet should
                                           not be shared unless consent is provided. This includes providing network data to other
                                           service providers.
                                       •   The Security Safeguards Principle. Care should be taken to secure any stored network
                                           data, which likely includes PII and other personal data.
                                       •   The Openness Principle. People who have their data collected and logged should
                                           understand what external systems may contain their personal data.
                                       •   The Individual Participation Principle. This is unlikely to be implementable without serious
                                           discussion with any service providers beforehand. Employees should have the ability to
                                           reasonably request to see what data is stored about them.
                                       •   The Accountability Principle. It will be uncommon to find service providers who comply
                                           with many of the FIPPs.

General Data Protection Regulation Principles
                                       •   Lawfulness, fairness, and transparency. Employees should have the opportunity to
                                           make an informed decision on the type of personal data that will be kept as a result of the
                                           implementation of this Control. A lawful basis is needed for collecting personal data, in this
                                           case, what software would be on personal devices, within the software inventory.
                                       •   Purpose limitation. Users should be informed in writing about your purpose for collecting
                                           personal data from the outset of collecting.
                                       •   Data minimization. Unnecessary personal and customer data should not be collected or
                                           maintained unless it is specifically needed. The data that is collected must be specifically
                                           used for its original intended purpose. Employees should understand why certain systems
                                           such as DLP are collecting their data.
                                       •   Accuracy of data. All personal and customer data should be updated on a regular basis
                                           where necessary and used only for specific purposes. Written processes should be
                                           documented for how this data is maintained and how incorrect data is corrected.
                                       •   Storage limitation. Personal, customer, and log data (e.g., traffic, application, DNS) that
                                           can help identify an individual should only be stored for as long as needed. Obsolete data
                                           should be deleted without delay.




CIS Controls Privacy Companion Guide                                     Control 04: Secure Configuration of Enterprise Assets and Software   Page 21
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       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         27 65
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2939
                                        ID #:4850
                                                 •    Integrity and confidentiality. The CIS Controls can be leveraged to enable this principle.
                                                      Much of the personal and customer information that enterprises store can be prevented
                                                      from unauthorized exposure if Safeguards within this Control are put into place. In addition
                                                      to this principle of GDPR, many of the Safeguards within this Control can help fulfill the
                                                      provisions of Article 32 of GDPR titled Security of processing. Article 32 1(a) states that,
                                                      in specific circumstances, data processors shall protect personal data, to include the
                                                      use of pseudonymized data, via encryption. Safeguards 3.6, 3.9, 3.10, and 3.11 can help to
                                                      accomplish this task.

Control 4 Privacy Applicability Table

CIS Control 04: Secure Configuration of Enterprise Assets and Software
Safeguard         Asset            Security      Control Title/                                                Applicability Included?
                  Type             Function      Description                                                   Applicability Justification and Privacy Considerations

4.1         -Applications-        -Protect- Establish and Maintain a Secure                                    Yes
                                                 Configuration Process                                         Secure configuration processes should take
                                                 Establish and maintain a secure configuration process         privacy into account when deciding upon
                                                 for enterprise assets (end-user devices, including            configurations. This should include what data
                                                 portable and mobile; non-computing/IoT devices;               is generated, and where it is stored. It should
                                                 and servers) and software (operating systems and              also include who can access, collect, and store
                                                 applications). Review and update documentation                PII and other personal data.
                                                 annually, or when significant enterprise changes occur
                                                 that could impact this Safeguard.

4.2           -Network-           -Protect- Establish and Maintain a Secure Configuration                      Yes
                                                 Process for Network Infrastructure                            Privacy should be considered when deciding
                                                 Establish and maintain a secure configuration process         upon configurations. At the very least,
                                                 for network devices. Review and update documentation          users connected to enterprise networks
                                                 annually, or when significant enterprise changes occur        should be guarded from low-effort passive
                                                 that could impact this Safeguard.                             enumeration sweeps.

4.3             -Users-           -Protect- Configure Automatic Session Locking on                             No
                                                 Enterprise Assets                                             This helps prevent naive attempts to access
                                                 Configure automatic session locking on enterprise             unauthorized personal data, but there are no
                                                 assets after a defined period of inactivity. For general      privacy impacts.
                                                 purpose operating systems, the period must not exceed
                                                 15 minutes. For mobile end-user devices, the period
                                                 must not exceed two minutes.

4.4            -Devices-          -Protect- Implement and Manage a Firewall on Servers                         Yes
                                            Implement and manage a firewall on servers, where                  While this Safeguard can help prevent a data
                                            supported. Example implementations include a virtual               breach, which would be an unauthorized
                                            firewall, operating system firewall, or a third-party              exposure of PII and other personal data, the
                                            firewall agent.                                                    privacy impact is the system and software
                                                                                                               reading or sniffing user traffic.

4.5            -Devices-          -Protect- Implement and Manage a Firewall on                                 Yes
                                                 End-User Devices                                              While this Safeguard can help prevent a data
                                                 Implement and manage a host-based firewall or port-           breach, which would be an unauthorized
                                                 filtering tool on end-user devices, with a default-deny       exposure of PII and other personal data, the
                                                 rule that drops all traffic except those services and ports   privacy impact is the system and software
                                                 that are explicitly allowed.                                  watching user activities.

4.6           -Network-           -Protect- Securely Manage Enterprise Assets and                              Yes
                                                 Software                                                      System administrators will at times have to
                                                 Securely manage enterprise assets and software.               access PII and other personal data. Using
                                                 Example implementations include managing                      secure protocols and access control to do so
                                                 configuration through version-controlled-infrastructure-      prevents eavesdropping and other attacks
                                                 as-code and accessing administrative interfaces over          over the wire. System administrators should
                                                 secure network protocols, such as Secure Shell (SSH)          be trained on acceptable activities and how to
                                                 and Hypertext Transfer Protocol (HTTPS). Do not use           avoid violations of user privacy when acting as
                                                 insecure management protocols, such as Telnet and             administrator.
                                                 HTTP, unless operationally essential.




CIS Controls Privacy Companion Guide                                                   Control 04: Secure Configuration of Enterprise Assets and Software               Page 22
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         28 66
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2940
                                        ID #:4851
CIS Control 04: Secure Configuration of Enterprise Assets and Software
Safeguard         Asset            Security      Control Title/                                               Applicability Included?
                  Type             Function      Description                                                  Applicability Justification and Privacy Considerations

4.7             -Users-           -Protect- Manage Default Accounts on Enterprise Assets                      Yes
                                                 and Software                                                 Certain accounts on systems will be given
                                                 Manage default accounts on enterprise assets                 additional privileges and may be able to access
                                                 and software, such as root, administrator, and               personal data. Access to these accounts needs
                                                 other pre-configured vendor accounts. Example                to be properly managed, with users of those
                                                 implementations can include disabling default accounts       accounts properly trained on how to avoid
                                                 or making them unusable.                                     violations of user privacy.

4.8            -Devices-          -Protect- Uninstall or Disable Unnecessary Services on                      Yes
                                                 Enterprise Assets and Applications                           Unnecessary services can be a vector for
                                                 Uninstall or disable unnecessary services on enterprise      unauthorized access and should be disabled.
                                                 assets and software, such as an unused file sharing          Unnecessary services may act as spyware
                                                 service, web application module, or service function.        and collect user information. However,
                                                                                                              some services that might be considered
                                                                                                              unnecessary by an enterprise could actually
                                                                                                              improve security and privacy, e.g., if an
                                                                                                              enterprise chooses not to supply a virtual
                                                                                                              private network (VPN), but the user is using
                                                                                                              a reputable, trusted service, or the user
                                                                                                              has included an ad-blocking, anti-tracking
                                                                                                              extension in their browser. Uninstalling or
                                                                                                              disabling services, especially without notice to
                                                                                                              the user, could cause the loss of personal data
                                                                                                              stored in those services to that user. However,
                                                                                                              the enterprise would argue those services
                                                                                                              were unauthorized in any event.

4.9            -Devices-          -Protect- Configure Trusted DNS Servers on                                  Yes
                                                 Enterprise Assets                                            Using an untrusted DNS server could trick
                                                 Configure trusted DNS servers on enterprise assets.          users into providing personal data to malicious
                                                 Example implementations include configuring assets to        parties. It is possible that a DNS provider may
                                                 use enterprise-controlled DNS servers and/or reputable       sell/share the DNS traffic with advertisers or
                                                 externally accessible DNS servers.                           others, which would have a privacy impact.

4.10           -Devices-         -Respond- Enforce Automatic Device Lockout on Portable                       No
                                                 End-User Devices                                             This helps prevent naive attempts to access
                                                 Enforce automatic device lockout following a                 unauthorized personal data on the devices. It
                                                 predetermined threshold of local failed authentication       also helps prevent more sophisticated cracking
                                                 attempts on portable end-user devices, where                 attempts. There is no privacy impact.
                                                 supported. For laptops, do not allow more than
                                                 20 failed authentication attempts; for tablets and
                                                 smartphones, no more than 10 failed authentication
                                                 attempts. Example implementations include Microsoft®
                                                 InTune Device Lock and Apple® Configuration Profile
                                                 maxFailedAttempts.

4.11           -Devices-          -Protect- Enforce Remote Wipe Capability on Portable                        Yes
                                                 End-User Devices                                             This Safeguard can help remove personal
                                                 Remotely wipe enterprise data from enterprise-owned          data if a device is lost or stolen or the holder
                                                 portable end-user devices when deemed appropriate            of the device is no longer authorized to access
                                                 such as lost or stolen devices, or when an individual no     the data.
                                                 longer supports the enterprise.

4.12           -Devices-          -Protect- Separate Enterprise Workspaces on Mobile                          Yes
                                                 End-User Devices                                             Separate workspaces help enterprises easily
                                                 Ensure separate enterprise workspaces are used on            access, manage, and delete only enterprise
                                                 mobile end-user devices, where supported. Example            information. They can also assist with private
                                                 implementations include using an Apple® Configuration        usage of a mobile device by only providing
                                                 Profile or Android™ Work Profile to separate enterprise      enterprise access to the workspace on the
                                                 applications and data from personal applications             phone managed by the employer.
                                                 and data.




CIS Controls Privacy Companion Guide                                                  Control 04: Secure Configuration of Enterprise Assets and Software               Page 23
    Case
      Case
         8:24-cv-01997-WLH-DFM
            8:24-cv-01997-JLS-DFM Document
                                   Document88-8
                                             127-7 Filed
                                                       Filed
                                                          11/27/24
                                                             01/08/25 Page
                                                                        Page
                                                                           29 67
                                                                              of 84
                                                                                 of 122
                                                                                     Page
                                    Page
                                       ID #:2941
                                          ID #:4852




      05                                Account
CONTROL

                                        Management
 Overview	                              Use processes and tools to assign and manage authorization to credentials for
                                        user accounts, including administrator accounts, as well as service accounts, to
                                        enterprise assets and software.


 Privacy Applicability

                                        Authentication is a large complex topic that includes creating identities, binding credentials,
                                        assigning privileges, and generally managing the lifecycle of accounts. This Control focuses on
                                        managing various aspects of the authentication process. Account management is applicable
                                        to all applications, devices, and services used by the enterprise. Every employee within the
                                        enterprise will need an account to access applications, devices, and internal or external
                                        service providers in order to use them. A majority of the Safeguards in this Control will have
                                        some amount of privacy impact.

 Privacy Implications
                                        •   Personal data can be leaked through the creation, usage, and disclosure of credentials.
                                            Users should refrain from putting personal data into passwords and other credentials,
                                            including responses to account security questions. At times, this information may not be
                                            stored securely, and if stolen or leaked could be used to break into other accounts.
                                        •   When malicious actors hack an enterprise, they often release passwords and other
                                            credentials to the public. Other account information may also be included within any
                                            leaked databases, which can include usernames and/or email addresses. Service provider
                                            accounts may also be affected.

                                        Data Collection

                                        Usernames, identifiers (e.g., email addresses), and credentials such as passwords and
                                        cryptographic information will be collected by internal enterprise applications and services,
                                        alongside third-party service providers that require authentication. Biometric information is
                                        another area of concern. During enrollment, these systems may also take biometric samples
                                        such as iris, facial, or fingerprint scans, which are then used to create biometric templates.
                                        These templates contain uniquely personal information, and if designed poorly can be used
                                        to reverse-engineer the biometrics of the individual or characteristics of their biometrics. It is
                                        generally unknown to an end-user what data is collected, how it is stored, whether it will be
                                        kept secure, and if it will be deleted when no longer needed.

                                        Data Storage

                                        Secure storage of enterprise account information and other data pertaining to authentication
                                        can be solved by implementation of several CIS Controls. Systems that store account
                                        information need to remain up-to-date on patches and ensure secure methods of storage
                                        are applied accordingly, including use of hashed and salted passwords alongside the use of
                                        encryption where applicable. All enterprises should understand the security practices being
                                        used to protect information before using any third-party service.




 CIS Controls Privacy Companion Guide                                                                 Control 05: Account Management   Page 24
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         30 68
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2942
                                        ID #:4853

Additional Discussion

                                       Using authentication platforms that allow for a single identity and set of credentials to access
                                       multiple services is a security best practice. However, these federated-identity or Single
                                       Sign-On (SSO) systems do have access to all authentication information within an enterprise,
                                       which could be misused, and may not be the best tools from a privacy perspective. The privacy
                                       policies and practices of SSO services should be carefully scrutinized before they are engaged.

Fair Information Practice Principles
                                       •   The Collection Limitation Principle. When creating an account, IT should refrain from
                                           obtaining more personal data than is needed.
                                       •   The Data Quality Principle. Any collected personal data should be used only for access or
                                           verifying access to enterprise systems.
                                       •   The Purpose Specification Principle. Employees should be informed why their personal
                                           information is being collected and how it will be used.
                                       •   The Use Limitation Principle. Employees should be informed if this information will be
                                           used to create accounts on future systems owned by third-party service providers or to
                                           allow third-parties access to their data.
                                       •   The Security Safeguards Principle. Care should be taken to secure any stored and
                                           transmitted credential data, which likely includes PII and other personal data.
                                       •   The Openness Principle. People who have their data collected for account creation and/or
                                           account management (e.g., access) should understand what external systems may contain
                                           or have access to their personal data and why.
                                       •   The Individual Participation Principle. This is unlikely to be implementable without serious
                                           discussion with any service providers beforehand. Employees should have the ability to
                                           reasonably request to see what data is stored about them.
                                       •   The Accountability Principle. It will be uncommon to find service providers who comply
                                           with many of the FIPPs. Enterprises are encouraged to use SSO providers that support
                                           MFA and do not share user data with other third-party organizations.

General Data Protection Regulation Principles
                                       •   Lawfulness, fairness, and transparency. Employees should have the opportunity to
                                           make an informed decision on the type of personal data that will be collected, retained,
                                           and shared as a result of account creation and maintenance. A lawful basis is needed
                                           for collecting and sharing personal data, in this case, potentially name, address, email,
                                           telephone, and other information.
                                       •   Purpose limitation. Users, to include employees and customers, should be informed in
                                           writing about your purpose for collecting personal data from the outset of collecting it.
                                           Personal data kept within the identity management platform, domain controller, or similar
                                           platform should only be used for account management. This may conflict with the need to
                                           integrate the domain controller with third-party software and platform. Employees should
                                           be informed if this information will be used to create accounts on future systems owned by
                                           third-party service providers.
                                       •   Data minimization. During the account creation process for a new user, the IT staff
                                           should refrain from obtaining more information than is needed. All data collected during
                                           the account creation process should be specifically used for account creation and
                                           maintenance. Account data should be deleted when no longer needed.
                                       •   Accuracy of data. All user and customer data associated with accounts should be updated
                                           on a regular basis where necessary and used only for account management. Written
                                           processes should be documented for how this data is maintained and how incorrect data is
                                           corrected or deleted. These processes should also include how customers can access and
                                           modify their own data.


CIS Controls Privacy Companion Guide                                                                Control 05: AccountManagement   Page 25
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
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                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         31 69
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2943
                                        ID #:4854
                                            •   Storage limitation. Employee and customer data that can help identify an individual should
                                                only be stored for as long as needed. Obsolete data should be deleted without delay. Much
                                                of the information associated with employee accounts will need to be kept indefinitely.
                                            •   Integrity and confidentiality. The CIS Controls can be leveraged to enable this principle,
                                                such as Control 3: Data Protection. Employee and customer account data should be
                                                protected from unauthorized access, modification, and disclosure.

Control 5 Privacy Applicability Table

CIS Control 05: Account Management
Safeguard        Asset           Security   Control Title/                                          Applicability Included?
                 Type            Function   Description                                             Applicability Justification and Privacy Considerations

5.1            -Users-         -Identify- Establish and Maintain an Inventory of                    Yes
                                            Accounts                                                Account inventories are likely to contain personal
                                            Establish and maintain an inventory of all accounts     data, which may include PII and personal data. This
                                            managed in the enterprise. The inventory must           information needs to be appropriately protected.
                                            include both user and administrator accounts.           A process should be written to best follow this
                                            The inventory, at a minimum, should contain the         Safeguard.
                                            person’s name, username, start/stop dates, and
                                            department. Validate that all active accounts are
                                            authorized, on a recurring schedule at a minimum
                                            quarterly, or more frequently.

5.2            -Users-         -Protect- Use Unique Passwords                                       Yes
                                         Use unique passwords for all enterprise assets. Best       Users should be instructed to refrain from
                                         practice implementation includes, at a minimum,            using personal information within passwords.
                                         an 8-character password for accounts using MFA             Additionally, the system should warn users against
                                         and a 14-character password for accounts not               the usage of the most common passwords.
                                         using MFA.

5.3            -Users-        -Respond- Disable Dormant Accounts                                    No
                                        Delete or disable any dormant accounts after a              Preventing dormant accounts from being used
                                        period of 45 days of inactivity, where supported.           helps prevent unintended disclosure of personal
                                                                                                    data that could be accessed via those accounts.

5.4            -Users-         -Protect- Restrict Administrator Privileges to                       Yes
                                            Dedicated Administrator Accounts                        Although this is a best practice in and of itself,
                                            Restrict administrator privileges to dedicated          it can help an enterprise protect personal data
                                            administrator accounts on enterprise assets.            since administrator accounts are often high
                                            Conduct general computing activities, such as           value targets for malicious actors and generally
                                            internet browsing, email, and productivity suite use,   have greater access to personal data on the
                                            from the user’s primary, non-privileged, account.       enterprise’s network. Restricting privileges also
                                                                                                    restricts administrative managing of PII and other
                                                                                                    information unless needed.

5.5            -Users-         -Identify- Establish and Maintain an Inventory of                    Yes
                                            Service Accounts                                        Depending on how service account inventories
                                            Establish and maintain an inventory of service          are developed, they may contain PII and personal
                                            accounts. The inventory, at a minimum, must             data. This information needs to be appropriately
                                            contain department owner, review date, and              protected. A process should be written to best
                                            purpose. Perform service account reviews to             follow this Safeguard.
                                            validate all active accounts are authorized, on a
                                            recurring schedule at a minimum quarterly, or more
                                            frequently.

5.6            -Users-         -Protect- Centralize Account Management                              Yes
                                         Centralize account management through a                    Centralized account management can significantly
                                         directory or identity service.                             benefit an enterprise from a security perspective,
                                                                                                    but the external enterprise providing federation
                                                                                                    services may have access to personal data and be
                                                                                                    able to correlate a user’s activities and behavior
                                                                                                    across multiple services.




CIS Controls Privacy Companion Guide                                                                                Control 05: AccountManagement            Page 26
    Case
      Case
         8:24-cv-01997-WLH-DFM
            8:24-cv-01997-JLS-DFM Document
                                   Document88-8
                                             127-7 Filed
                                                       Filed
                                                          11/27/24
                                                             01/08/25 Page
                                                                        Page
                                                                           32 70
                                                                              of 84
                                                                                 of 122
                                                                                     Page
                                    Page
                                       ID #:2944
                                          ID #:4855




      06                                Access Management
CONTROL

                                        Control
 Overview	                              Use processes and tools to create, assign, manage, and revoke access
                                        credentials and privileges for user, administrator, and service accounts for
                                        enterprise assets and software.


 Privacy Applicability

                                        The Access Management Control is meant to manage large portions of the authentication and
                                        authorization process, ranging from how a user accesses a device through revoking access
                                        credentials and privileges. Thorough implementations of CIS Control 5 and Control 6 involve
                                        written policies addressing these areas before devices and account access to other services
                                        are provided to users. While the impact of the Safeguards within this Control affects overall
                                        security in a major way, the privacy impact is generally minor.

 Privacy Implications
                                        •   PII and other personal data are often stored within authentication and authorization
                                            systems. These systems need to be set up in a privacy preserving manner to the extent
                                            practical. Generally, automated access management is preferred as it helps to prevent any
                                            accidental private and sensitive information exposures by people.
                                        •   The revocation of rights should preferably be performed in an automated manner to
                                            prevent a human from viewing personal information stored with accounts. To that extent,
                                            there may be some forms of PII and Protected Health Information (PHI) that system
                                            administrators do not need privileges to access. Failure to control access, even from
                                            administrators, could be a compliance requirement or could lead to unauthorized access
                                            and disclosure.
                                        •   Logs relating to authentication and authorization systems in general may record private
                                            action. For instance, some remote access and multifactor authentication mechanisms
                                            log the geolocation of users when they connect. Other authentication events will trigger
                                            logs such as time of access, time of authentication attempt, and resources accessed.
                                            Although these logs are not necessarily negative, they can be used to thwart privacy.
                                            Due to this and other factors, it is best practice to regularly audit and verify who has
                                            access to authentication and authorization data, and to only keep such data for as long as
                                            it is needed.

                                        Data Collection

                                        The information systems that help administrators manage rights and privileges within their
                                        enterprise may have collected personal data when enrolling users. Administrators and
                                        third-party service providers will generally have access to this data. This is also true for the
                                        authentication systems used for remote users. Geolocation information and data from device
                                        fingerprinting is likely to be collected by both parties.

                                        Data Storage

                                        The information systems that help administrators manage rights and privileges must store the
                                        information they collected. Access management third-party service providers will generally
                                        have access to this information.




 CIS Controls Privacy Companion Guide                                                         Control 06: Access Management Control   Page 27
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
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                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         33 71
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2945
                                        ID #:4856

Additional Discussion

                                       When considering the assignment of privileges to users and their credentials, this Control is
                                       concerned with protection of the privileges themselves. Secure authentication enables privacy
                                       on a network, as the user is able to access enterprise sources without eavesdropping. Rights
                                       and privileges are not always provided; sometimes they must be removed.

Fair Information Practice Principles
                                       •   The Collection Limitation Principle. When granting access to new resources, IT should
                                           refrain from obtaining more information from an employee than is needed.
                                       •   The Data Quality Principle. Any collected personal data should be used only for access to
                                           enterprise systems.
                                       •   The Purpose Specification Principle. Employees should be informed why their personal
                                           data and privileges are being collected and how they will be used.
                                       •   The Use Limitation Principle. Employees should be informed if this data will be used to
                                           create accounts on future systems owned by third-party service providers or to allow third-
                                           parties to access their data.
                                       •   The Security Safeguards Principle. Care should be taken to secure any stored and
                                           transmitted credential data, which likely includes PII and other personal data.
                                       •   The Openness Principle. People who have their data collected for account creation should
                                           understand what external systems may contain their personal data and why.
                                       •   The Individual Participation Principle. This is unlikely to be implementable without serious
                                           discussion with any service providers beforehand. Employees should have the ability to
                                           reasonably request to see what data is stored about them.
                                       •   The Accountability Principle. It will be uncommon to find service providers who comply
                                           with many of the FIPPs.

General Data Protection Regulation Principles
                                       •   Lawfulness, fairness, and transparency. Employees should have the opportunity to make
                                           an informed decision on the type of personal data that will be collected, used, or retained
                                           as a result of account creation and maintenance. A lawful basis is needed for collecting
                                           personal data.
                                       •   Purpose limitation. Access privileges kept within the identity management platform or
                                           domain controller or similar platform should only be used for account management. This
                                           may conflict with the need to integrate the domain controller with third-party software and
                                           platform. Employees should be informed if this information will be used to create accounts
                                           on future systems owned by third-party service providers.
                                       •   Data minimization. All information collected during the account creation process and
                                           through regular usage should be meant for a pre-specified purpose.
                                       •   Accuracy of data. All user and customer information associated with accounts, privileges,
                                           and access should be updated on a regular basis where necessary and used only for
                                           account management. Written processes should be documented for how this data is
                                           maintained and how incorrect data is corrected.
                                       •   Storage limitation. Employee and customer data that can help identify an individual should
                                           only be stored for as long as needed. Obsolete data should be deleted without delay. Much
                                           of the access control lists and privileges associated with employee accounts may need to
                                           be stored for extended periods of time for incident response and auditing purposes.
                                       •   Integrity and confidentiality. The CIS Controls can be leveraged to enable this principle,
                                           such as Control 3: Data Protection. Employee and customer account data, to include lists
                                           of access and privileges, should be protected from unauthorized access, modification,
                                           and disclosure.



CIS Controls Privacy Companion Guide                                                         Control 06: Access Management Control   Page 28
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         34 72
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2946
                                        ID #:4857

Control 6 Privacy Applicability Table

CIS Control 06: Access Management Control
Safeguard        Asset           Security   Control Title/                                         Applicability Included?
                 Type            Function   Description                                            Applicability Justification and Privacy Considerations

6.1            -Users-          -Protect- Establish an Access Granting Process                     Yes
                                          Establish and follow a process, preferably               Privacy of employee information should be taken
                                          automated, for granting access to enterprise assets      into account when establishing this process. An
                                          upon new hire, rights grant, or role change of a user.   automated process is preferred as a person does
                                                                                                   not need to view PII and other personal data.
                                                                                                   Automated processes are preferred because these
                                                                                                   can often be implemented with the appropriate
                                                                                                   privacy protections.

6.2            -Users-          -Protect- Establish an Access Revoking Process                     Yes
                                          Establish and follow a process, preferably               The revocation of rights should preferably be
                                          automated, for revoking access to enterprise             performed in an automated manner to prevent a
                                          assets, through disabling accounts immediately           human from viewing this information.
                                          upon termination, rights revocation, or role change
                                          of a user. Disabling accounts, instead of deleting
                                          accounts, may be necessary to preserve audit trails.

6.3            -Users-          -Protect- Require MFA for Externally-Exposed                       Yes
                                            Applications                                           Some remote access and multifactor
                                            Require all externally-exposed enterprise or           authentication mechanisms log the geolocation of
                                            third-party applications to enforce MFA, where         users when they connect, which is personal data.
                                            supported. Enforcing MFA through a directory           They may also collect other personal data through
                                            service or SSO provider is a satisfactory              device fingerprinting or other means to verify the
                                            implementation of this Safeguard.                      identity of the user.

6.4            -Users-          -Protect- Require MFA for Remote Network Access                    Yes
                                          Require MFA for remote network access.                   Some remote access and multifactor
                                                                                                   authentication mechanisms log the geolocation of
                                                                                                   users when they connect, which is personal data.
                                                                                                   They may also collect other personal data through
                                                                                                   device fingerprinting or other means to verify the
                                                                                                   identity of the user.

6.5            -Users-          -Protect- Require MFA for Administrative Access                    Yes
                                          Require MFA for all administrative access accounts,      Although a best practice, there are no major
                                          where supported, on all enterprise assets, whether       privacy concerns with the implementation of this
                                          managed on-site or through a third-party provider.       Safeguard. Some remote access and multifactor
                                                                                                   authentication mechanisms log the geolocation of
                                                                                                   users when they connect or use insecure SMS, and
                                                                                                   may tracks users’ access to services and across
                                                                                                   services (e.g., authentication apps).

6.6            -Users-          -Identify- Establish and Maintain an Inventory of                  Yes
                                            Authentication and Authorization Systems               Personal data is often stored within authentication
                                            Establish and maintain an inventory of the             and authorization systems. These systems need
                                            enterprise’s authentication and authorization          to be set up in a privacy preserving manner in as
                                            systems, including those hosted on-site or at          practical a manner as possible.
                                            a remote service provider. Review and update
                                            the inventory, at a minimum, annually, or more
                                            frequently.

6.7            -Users-          -Protect- Centralize Access Control                                Yes
                                          Centralize access control for all enterprise assets      Centralized access control can significantly benefit
                                          through a directory service or SSO provider, where       an enterprise from a security perspective, but any
                                          supported.                                               external organization providing these services may
                                                                                                   have access to personal information.




CIS Controls Privacy Companion Guide                                                                      Control 06: Access Management Control             Page 29
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
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                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         35 73
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2947
                                        ID #:4858
CIS Control 06: Access Management Control
Safeguard        Asset           Security   Control Title/                                           Applicability Included?
                 Type            Function   Description                                              Applicability Justification and Privacy Considerations

6.8             -Data-          -Protect- Define and Maintain Role-Based                             No
                                            Access Control                                           There are no privacy impacts when using role-
                                            Define and maintain role-based access control,           based access control, unless individual users are
                                            through determining and documenting the access           highlighted as roles within these systems or that
                                            rights necessary for each role within the enterprise     information is otherwise available (e.g., can be
                                            to successfully carry out its assigned duties.           inferred from the organizational chart or bios on
                                            Perform access control reviews of enterprise             the enterprise’s website).
                                            assets to validate all privileges are authorized, on a
                                            recurring schedule at a minimum annually, or more
                                            frequently.




CIS Controls Privacy Companion Guide                                                                        Control 06: Access Management Control             Page 30
    Case
      Case
         8:24-cv-01997-WLH-DFM
            8:24-cv-01997-JLS-DFM Document
                                   Document88-8
                                             127-7 Filed
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                                                          11/27/24
                                                             01/08/25 Page
                                                                        Page
                                                                           36 74
                                                                              of 84
                                                                                 of 122
                                                                                     Page
                                    Page
                                       ID #:2948
                                          ID #:4859




      07                                Continuous Vulnerability
CONTROL

                                        Management
 Overview	                              Develop a plan to continuously assess and track vulnerabilities on all enterprise
                                        assets within the enterprise’s infrastructure, in order to remediate, and minimize,
                                        the window of opportunity for attackers.


 Privacy Applicability

                                        This Control focuses on using software to monitor the vulnerabilities contained within
                                        software used by an enterprise. Applying the guidance from the CIS Controls for vulnerability
                                        management will contribute to situational awareness of vulnerabilities and taking proactive
                                        action for potential weaknesses in privacy supporting defensive mitigations. Control 7 does
                                        not contain a large number of Safeguards with a privacy impact. For instance, automated
                                        patch management and vulnerability remediation generally do not affect privacy or cause the
                                        exposure of sensitive data.

 Privacy Implications
                                        •   Combining an enterprise’s asset inventory with the tools and software ecosystem used
                                            for vulnerability scanning may share PII and other personal data with another enterprise.
                                            Asset inventories often have granular information about specific individuals, such as
                                            name, telephone number, email, and physical address. Personal information about
                                            assets and specific individuals assigned to them should not be provided to vulnerability
                                            management systems.
                                        •   Forcing updates on employee-owned devices without explicit agreement may be
                                            problematic. Privacy implications generally don’t exist with remediating vulnerabilities for
                                            company-owned property.

                                        Data Collection

                                        To the extent practical, vulnerability management software should be configured to
                                        refrain from collecting identifying information about systems. Connecting inventories with
                                        vulnerability management systems is often best practice, but oversharing can have a privacy
                                        impact. This vulnerability management software will have access to all of this information
                                        without the consent of the individual.

                                        Data Storage

                                        To the extent practical, enterprises should host all data relating to this software on-premises,
                                        and not in a cloud platform owned and operated by a third-party service provider.

 Additional Discussion

                                        There may be regulatory requirements or third-party agreements for identifying and managing
                                        vulnerabilities to systems that store personal data. Some of these regulatory requirements
                                        may specifically call out the need for managing vulnerabilities in order to protect personal data
                                        from unauthorized disclosure. Enterprises should understand the privacy laws governing their
                                        county, state, region, and industry.




 CIS Controls Privacy Companion Guide                                                   Control 07: Continuous Vulnerability Management   Page 31
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         37 75
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2949
                                        ID #:4860

Fair Information Practice Principles
                                       •   The Collection Limitation Principle. If a vulnerability management suite does not require
                                           access to PII and other personal data stored within the software and hardware inventory to
                                           function, then the information should not be provided.
                                       •   The Data Quality Principle. Any collected data, either from the software inventory, or
                                           directly from the host, should be used solely for vulnerability management purposes.
                                       •   The Purpose Specification Principle. Employees should be informed why their personal
                                           information is being collected by vulnerability management agents, and how the
                                           information will be used.
                                       •   The Use Limitation Principle. Employees should be informed if this information will be
                                           transferred to other systems owned by third-party service providers.
                                       •   The Security Safeguards Principle. Care should be taken to secure any stored and
                                           transmitted vulnerability data, which likely includes PII and other personal data.
                                       •   The Openness Principle. People who have their data collected by vulnerability
                                           management systems should understand what external systems may contain their
                                           personal data and why.
                                       •   The Individual Participation Principle. This is unlikely to be implementable without serious
                                           discussion with any service providers beforehand. Employees should have the ability to
                                           reasonably request to see what data is stored about them.
                                       •   The Accountability Principle. It will be uncommon to find service providers who comply
                                           with many of the FIPPs.

General Data Protection Regulation Principles
                                       •   Lawfulness, fairness, and transparency. Employees should have the opportunity to make
                                           an informed decision about their use of enterprise assets based on the type of personal
                                           data that will be in a vulnerability management platform. A lawful basis is needed for
                                           collecting personal data.
                                       •   Purpose limitation. Users should be informed in writing about your purpose for collecting
                                           personal data in the vulnerability management platform from the outset of collecting it.
                                           Personal data obtained for vulnerability management should only be used for this system
                                           and employees should be informed if their information will be transferred to other systems
                                           owned by third-party service providers. Enterprise-owned devices may not be subject to
                                           this principle.
                                       •   Data minimization. Nothing more than is necessary for vulnerability management should
                                           be collected. There will likely be significant overlap with the information collected for the
                                           enterprise asset and software inventories.
                                       •   Accuracy of data. User data in vulnerability management should be regularly checked
                                           for accuracy. Written processes should be documented for how user data in vulnerability
                                           management platforms is maintained and how incorrect data can be corrected or deleted.
                                       •   Storage limitation. User data should only be stored for as long as needed in a vulnerability
                                           management platform. Obsolete data should be deleted without delay.
                                       •   Integrity and confidentiality. The CIS Controls can be leveraged to enable this principle,
                                           such as Controls 3, 4, and 5. Vulnerability data should be protected from unauthorized
                                           access, modification, and disclosure and can be leveraged by an attacker to obtain
                                           unauthorized access to an enterprise’s systems.




CIS Controls Privacy Companion Guide                                                    Control 07: Continuous VulnerabilityManagement   Page 32
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
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                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         38 76
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2950
                                        ID #:4861

Control 7 Privacy Applicability Table

CIS Control 07: Continuous Vulnerability Management
Safeguard        Asset            Security     Control Title/                                           Applicability Included?
                 Type             Function     Description                                              Applicability Justification and Privacy Considerations

7.1         -Applications-       -Protect- Establish and Maintain a Vulnerability                       Yes
                                               Management Process                                       Personal information about assets and specific
                                               Establish and maintain a documented vulnerability        individuals assigned to them should not be
                                               management process for enterprise assets. Review         provided to vulnerability management systems.
                                               and update documentation annually, or when               Personal data stored on enterprise assets should
                                               significant enterprise changes occur that could          be taken into consideration.
                                               impact this Safeguard.

7.2         -Applications- -Respond- Establish and Maintain a                                           Yes
                                               Remediation Process                                      No potential for exposing sensitive information
                                               Establish and maintain a risk-based remediation          to unauthorized parties via this Safeguard. If the
                                               strategy documented in a remediation process, with       remediation process can result in deletion of user
                                               monthly, or more frequent, reviews.                      data, then there is a privacy concern.

7.3         -Applications-       -Protect- Perform Automated Operating System                           No
                                               Patch Management                                         Using automated patch management should not
                                               Perform operating system updates on enterprise           have an impact on privacy.
                                               assets through automated patch management on a
                                               monthly, or more frequent, basis.

7.4         -Applications-       -Protect- Perform Automated Application Patch                          No
                                               Management                                               Using automated patch management should not
                                               Perform application updates on enterprise assets         have an impact on privacy.
                                               through automated patch management on a
                                               monthly, or more frequent, basis.

7.5         -Applications-      -Identify- Perform Automated Vulnerability Scans of                     Yes
                                               Internal Enterprise Assets                               Assets on an internal network may have
                                               Perform automated vulnerability scans of                 hostnames that expose information about an
                                               internal enterprise assets on a quarterly, or more       individual. If a vulnerability scanning tool is able
                                               frequent, basis. Conduct both authenticated and          to ascertain what applications are installed on a
                                               unauthenticated scans, using a SCAP-compliant            system this may be a privacy concern.
                                               vulnerability scanning tool.

7.6         -Applications-      -Identify- Perform Automated Vulnerability Scans of                     Yes
                                               Externally-Exposed Enterprise Assets                     Assets on an external network may have
                                               Perform automated vulnerability scans of externally-     hostnames and often identifying features that
                                               exposed enterprise assets using a SCAP-compliant         may expose information about an individual. If a
                                               vulnerability scanning tool. Perform scans on a          vulnerability scanning tool is able to ascertain what
                                               monthly, or more frequent, basis.                        applications are installed on a system this may be
                                                                                                        a privacy concern.

7.7         -Applications- -Respond- Remediate Detected Vulnerabilities                                 No
                                     Remediate detected vulnerabilities in software                     No privacy implications exist with remediating
                                     through processes and tooling on a monthly, or                     vulnerabilities for company-owned property.
                                     more frequent, basis, based on the remediation
                                     process.




CIS Controls Privacy Companion Guide                                                                  Control 07: Continuous VulnerabilityManagement             Page 33
    Case
      Case
         8:24-cv-01997-WLH-DFM
            8:24-cv-01997-JLS-DFM Document
                                   Document88-8
                                             127-7 Filed
                                                       Filed
                                                          11/27/24
                                                             01/08/25 Page
                                                                        Page
                                                                           39 77
                                                                              of 84
                                                                                 of 122
                                                                                     Page
                                    Page
                                       ID #:2951
                                          ID #:4862




      08                                Audit Log
CONTROL

                                        Management
 Overview	                              Collect, alert, review, and retain audit logs of events that could help detect,
                                        understand, or recover from an attack.


 Privacy Applicability

                                        Firmware, software, systems, and services all generate audit logs. Logs help developers
                                        design and create products, while also helping IT staff to diagnose existing issues. These same
                                        logs also help create an audit trail to understand the actions that systems and users took while
                                        using the system. Control 8 includes all of these activities. Many of the Safeguards within this
                                        Control carry privacy implications, as logs may contain personal data.

 Privacy Implications
                                        •   Logs may contain PII and other personal data such as usernames, roles, and other
                                            information collected by the software writing to a log file. In order to avoid this, an audit log
                                            management process that takes privacy into account should be defined (Safeguard 8.1).
                                        •   Many disparate systems create and store audit logs. It is important to understand what
                                            systems, software, libraries, and even network devices should have their logs collected and
                                            regularly analyzed.

                                        Data Collection

                                        Audit logs should only be collected by third-parties if explicitly agreed upon and with
                                        appropriate privacy protections. Workforce members should be trained to refuse third-party
                                        log collection, unless explicitly authorized by the enterprise, and ensure a log retention
                                        duration is decided upon and applied. Older log files should be archived and protected via
                                        cryptography and access control mechanisms to prevent a breach from accessing all of an
                                        enterprise’s logs.

                                        Data Storage

                                        Log data should only be stored in secure locations with appropriate security controls. These
                                        are not secondary systems or storage locations; log data needs to be protected with regularly
                                        verified, defensive mitigations. This includes third-party service providers, with security
                                        controls generally known, and agreed upon in writing.

 Additional Discussion

                                        Administrators should work with the enterprise privacy officer, or legal department, to
                                        understand what potential PII is stored in logs and alerts. It is possible that personal data is
                                        logged or cached at the system or application level. Log data should be protected at the same
                                        level as the data itself, including appropriate retention limits. Finally, developers, both full-time
                                        employees and contractors, should be trained to avoid placing personal information within
                                        audit logs and alerts used to notify users.

 Fair Information Practice Principles
                                        •   The Collection Limitation Principle. Enterprise systems should be configured to write as
                                            little PII and personal data to logs as possible.




 CIS Controls Privacy Companion Guide                                                                 Control 08: Audit Log Management   Page 34
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
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                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         40 78
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2952
                                        ID #:4863
                                       •   The Data Quality Principle. Any log data with personal information should only be used
                                           in business processes requiring logs, such as reviewing an audit trail or troubleshooting
                                           system failures.
                                       •   The Purpose Specification Principle. Employees should be informed what information may
                                           be stored in log files, and how the information will be used.
                                       •   The Use Limitation Principle. Employees should be informed if log information will be
                                           transferred to other systems owned by third-party service providers, such as a Security
                                           Information and Event Management (SIEM) that is not hosted on-premises.
                                       •   The Security Safeguards Principle. Care should be taken to secure any stored log data,
                                           which likely includes PII and other personal data.
                                       •   The Openness Principle. Employees with PII and other personal data collected
                                           by enterprise systems should understand what external systems may contain their
                                           personal data.
                                       •   The Individual Participation Principle. This is unlikely to be implementable without serious
                                           discussion with any service providers beforehand. Employees should have the ability to
                                           reasonably request to see what data is stored about them.
                                       •   The Accountability Principle. It will be uncommon to find service providers who comply
                                           with many of the FIPPs.

General Data Protection Regulation Principles
                                       •   Lawfulness, fairness, and transparency. Employees should have the opportunity to
                                           make an informed decision on the type of personal data that will be stored in logs and
                                           subsequently collected by an enterprise. A lawful basis is needed for collecting logs
                                           containing personal data.
                                       •   Purpose limitation. Employees should be informed what information may be stored in log
                                           files, and how the information will be used, including transferring this data to a third-party
                                           for further analysis and correlation. Even enterprise-owned devices are subject to this
                                           principle under GDPR.
                                       •   Data minimization. Nothing more than is necessary should be written to log files and then
                                           subsequently collected or used by the enterprise.
                                       •   Accuracy of data. User data in logs should be checked for accuracy. Any storage locations
                                           of logs should also be verified to ensure they are storing the correct logs in the correct
                                           format. Written processes should be documented for how user data in logs is written and
                                           maintained.
                                       •   Storage limitation. User data should only be stored for as long as needed in a log platform.
                                           Obsolete data should be deleted without delay. Log files may need to be stored for a
                                           significant period of time for incident response, auditing, and troubleshooting purposes.
                                       •   Integrity and confidentiality. The CIS Controls can be leveraged to enable this principle,
                                           such as Controls 3 and 15. Log data should be protected from unauthorized access,
                                           modification, and disclosure and can be leveraged by an attacker to obtain unauthorized
                                           access to an enterprise’s systems.




CIS Controls Privacy Companion Guide                                                                Control 08: Audit LogManagement   Page 35
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
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                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         41 79
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2953
                                        ID #:4864

Control 8 Privacy Applicability Table

CIS Control 08: Audit Log Management
Safeguard        Asset           Security   Control Title/                                         Applicability Included?
                 Type            Function   Description                                            Applicability Justification and Privacy Considerations

8.1           -Network-         -Protect- Establish and Maintain an Audit Log                      Yes
                                            Management Process                                     Privacy should be a major consideration in the
                                            Establish and maintain an audit log management         development of an audit log management process.
                                            process that defines the enterprise’s logging          This process should consider log rotation and the
                                            requirements. At a minimum, address the collection,    information that is collected within logs.
                                            review, and retention of audit logs for enterprise
                                            assets. Review and update documentation annually,
                                            or when significant enterprise changes occur that
                                            could impact this Safeguard.

8.2           -Network-          -Detect-   Collect Audit Logs                                     Yes
                                            Collect audit logs. Ensure that logging, per the       Personal devices should not have their logs
                                            enterprise’s audit log management process, has         collected and viewable by the enterprise unless
                                            been enabled across enterprise assets.                 needed and previously discussed.

8.3           -Network-         -Protect- Ensure Adequate Audit Log Storage                        No
                                          Ensure that logging destinations maintain adequate       The size and location of audit log storage does not
                                          storage to comply with the enterprise’s audit log        carry privacy considerations.
                                          management process.

8.4           -Network-         -Protect- Standardize Time Synchronization                         No
                                          Standardize time synchronization. Configure at least     No privacy implications exist for cross-
                                          two synchronized time sources across enterprise          organizational time synchronization.
                                          assets, where supported.

8.5           -Network-          -Detect-   Collect Detailed Audit Logs                            Yes
                                            Configure detailed audit logging for enterprise        Detailed audit logs may contain PII and other
                                            assets containing sensitive data. Include event        personal data. Whether this information should be
                                            source, date, username, timestamp, source              collected in the first place should be considered,
                                            addresses, destination addresses, and other            and best practices in privacy protection should be
                                            useful elements that could assist in a forensic        included.
                                            investigation.

8.6           -Network-          -Detect-   Collect DNS Query Audit Logs                           Yes
                                            Collect DNS query audit logs on enterprise assets,     DNS query logs can easily be used to track
                                            where appropriate and supported.                       users and the sites they have visited, even on
                                                                                                   authorized personal devices accessing the
                                                                                                   network. They should be treated as though they
                                                                                                   are personal data.

8.7           -Network-          -Detect-   Collect URL Request Audit Logs                         Yes
                                            Collect URL request audit logs on enterprise assets,   Uniform Resource Locator (URL) request logs
                                            where appropriate and supported.                       can easily be used to track users and can contain
                                                                                                   personal data, even on authorized personal
                                                                                                   devices accessing the network. They should be
                                                                                                   treated as though they are personal data.

8.8           -Devices-          -Detect-   Collect Command-Line Audit Logs                        Yes
                                            Collect command-line audit logs. Example               Command-line audit logs can be used to track how
                                            implementations include collecting audit logs from     a user uses a system in a very granular manner.
                                            PowerShell®, BASH™, and remote administrative          This can reveal information about the user, e.g., if
                                            terminals.                                             they are using an accessibility device, their work
                                                                                                   patterns, etc.

8.9           -Network-          -Detect-   Centralize Audit Logs                                  Yes
                                            Centralize, to the extent possible, audit log          The confluence of all audit logs can offer a
                                            collection, and retention across enterprise assets.    very granular view into the activities of specific
                                                                                                   individuals and potentially their personal activities.




CIS Controls Privacy Companion Guide                                                                             Control 08: Audit LogManagement            Page 36
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         42 80
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2954
                                        ID #:4865
CIS Control 08: Audit Log Management
Safeguard        Asset           Security   Control Title/                                       Applicability Included?
                 Type            Function   Description                                          Applicability Justification and Privacy Considerations

8.10          -Network-         -Protect- Retain Audit Logs                                      Yes
                                          Retain audit logs across enterprise assets for a       Logs should only be actively stored online for
                                          minimum of 90 days.                                    specific lengths of time. Longer periods of time
                                                                                                 may exacerbate a data breach.

8.11          -Network-          -Detect-   Conduct Audit Log Reviews                            Yes
                                            Conduct reviews of audit logs to detect anomalies    Processes should be developed for how to ensure
                                            or abnormal events that could indicate a potential   privacy during audit log reviews. These processes
                                            threat. Conduct reviews on a weekly, or more         should include incident response personnel with a
                                            frequent, basis.                                     particular interest towards third-party personnel.
                                                                                                 Training can help assist in this endeavor.

8.12            -Data-           -Detect-   Collect Service Provider Logs                        Yes
                                            Collect service provider logs, where supported.      Authorized service providers collecting logs
                                            Example implementations include collecting           may collect PII and other personal data about
                                            authentication and authorization events,             employees, but only for the purpose of providing
                                            data creation and disposal events, and user          the service.
                                            management events.




CIS Controls Privacy Companion Guide                                                                           Control 08: Audit LogManagement            Page 37
    Case
      Case
         8:24-cv-01997-WLH-DFM
            8:24-cv-01997-JLS-DFM Document
                                   Document88-8
                                             127-7 Filed
                                                       Filed
                                                          11/27/24
                                                             01/08/25 Page
                                                                        Page
                                                                           43 81
                                                                              of 84
                                                                                 of 122
                                                                                     Page
                                    Page
                                       ID #:2955
                                          ID #:4866




      09                                Email and Web Browser
CONTROL

                                        Protections
 Overview	                              Improve protections and detections of threats from email and web vectors, as
                                        these are opportunities for attackers to manipulate human behavior through
                                        direct engagement.


 Privacy Applicability

                                        Email is the most common method of business communication, and email servers store all
                                        emails sent by users from their work accounts. Browsers are also key business applications
                                        and are required for everyday workplace activities. Most of the Safeguards within this Control
                                        can help protect an enterprise’s personal data, but browser extensions and DNS filtering have
                                        an outsized privacy impact and should be carefully considered.

 Privacy Implications
                                        •   Browser extensions are privileged apps running within a browser. They can granularly track
                                            users, view previous browser history, read cookies, and inject content into webpages.
                                        •   Tracking cookies and other elements as well as fingerprinting can be used by sites to
                                            “follow and record” all the sites visited by a user.
                                        •   URL filters help prevent an enterprise asset from accessing network resources that the
                                            enterprise deems unfit for the enterprise. URL filtering will also allow the filter to track the
                                            resources accessed or attempted to be accessed by users on the network.
                                        •   Email servers store extremely sensitive information about employees, customers, and
                                            others. Also, email accounts are often used to support password reset or two-factor
                                            authentication for other accounts. Retaining too much information on these servers for too
                                            long may make a breach worse.
                                        •   DNS servers can granularly track a user’s network activity. Most large enterprises have
                                            gateways for protection and monitoring of email and web traffic, which store activity about
                                            web searches, and may be another repository of emails. DNS filtering offers benefits, but
                                            who is doing the filtering and how they are doing it can have privacy implications. They
                                            can stop others from tracking you, but also allow the enterprise owning the DNS server
                                            to exclusively track users. It is worth understanding who that organization is, what their
                                            privacy policy is, and what their reputation is in the community. Also, given the sensitive
                                            nature of data handled by DNS servers, their data in transit and stored needs to be
                                            appropriately secured.

                                        Data Collection

                                        Web browsers can store local histories of all sites visited by the user. Some browser
                                        extensions are known to collect data from users without their knowledge. Websites may
                                        also track users with cookies, other tracking elements, and/or by fingerprinting. Systems
                                        performing URL filtering and DNS functions will know the websites that specific users and
                                        clients visit on the network. It would be trivial for these systems to collect and store user data.




 CIS Controls Privacy Companion Guide                                                       Control 09: Email and Web Browser Protections   Page 38
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         44 82
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2956
                                        ID #:4867

                                       Data Storage

                                       By default, browser history will be stored on a user’s computer. This information may also be
                                       federated across all systems logged into the browser with that username and password via
                                       modern history and bookmark synching. Some browsers offer profiles, containers, and other
                                       portioning features to help a user keep their browsing activity safe. DNS and URL filtering
                                       data should be considered sensitive and appropriately secured in a manner similar to other
                                       sensitive data the enterprise holds. Such data should only be collected if necessary.

Additional Discussion

                                       Most of the Safeguards within this Control do not have direct privacy implications. With
                                       that said, refraining from implementing many of the Safeguards within this Control may
                                       lead to a successful attack on an enterprise. This includes defenses such as regularly
                                       updating browsers and email clients (Safeguard 9.1), implementing Domain-based Message
                                       Authentication, Reporting & Conformance (DMARC) (Safeguard 9.5), and blocking specific file
                                       types (Safeguard 9.6).

                                       Browser extensions can have both privacy benefits and drawbacks. Since browser extensions
                                       are essentially software, with elevated privileges, running within a browser, they are able
                                       to access more information about a browser session and the user than is typical. Browser
                                       extensions can mask certain activities to actually enable privacy such as HTTPS Everywhere
                                       and Privacy Badger. Enterprises are encouraged to have an Allowlist of approved security and
                                       privacy-based browser extensions to aid their employees. These extensions should be vetted
                                       by IT, cybersecurity, and privacy business units within an enterprise.

                                       Yet, browser extensions can also granularly track users, view previous browser history, read
                                       cookies, and inject content into webpages. For instance, one academic study from 2018 states
                                       that of the “...178,893 extensions crawled from the Chrome Web Store between September
                                       2016 and March 2018...” the “...top 10 most popular Chrome extensions that we confirmed to
                                       be leaking private/sensitive information have [sic] more than 60 million users combined.” 5
                                       Further, some browser extensions could contain malware. It is generally best to assume that a
                                       browser is accessing data the user is not intending and refrain from using untrusted browser
                                       extensions to the degree practical as mentioned in Safeguard 9.4.

Fair Information Practice Principles
                                       •   The Collection Limitation Principle. Browsers and email systems should be configured to
                                           collect as little PII and personal data from employees as possible. Local regulations may
                                           require certain data to be recorded for specific purposes.
                                       •   The Data Quality Principle. Data from browsers and email systems should only be used
                                           for legitimate security purposes. For example, serving ads to users based on text within an
                                           email or their browsing could violate this principle.
                                       •   The Purpose Specification Principle. Employees should be informed what information may
                                           be stored by browsers and email, and how the information will be used.
                                       •   The Use Limitation Principle. Employees should be informed if browser and email data
                                           will be transferred to other systems owned by third-party service providers, such as a
                                           marketing company, or otherwise used by third-parties and why.
                                       •   The Security Safeguards Principle. Care should be taken to secure any browser and email
                                           data both when stored and in transit, which likely includes PII and other personal data.
                                       •   The Openness Principle. Employees with PII and other personal data collected by
                                           enterprise systems should understand what external systems may contain their personal
                                           data and why.



5 CCS ‘18: Proceedings of the 2018 ACM SIGSAC Conference on Computer and Communications Security, October 2018 Pages 1687–1700
  https://doi.org/10.1145/3243734.3243823


CIS Controls Privacy Companion Guide                                                          Control 09: Email and Web BrowserProtections   Page 39
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         45 83
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2957
                                        ID #:4868
                                                •   The Individual Participation Principle. This is unlikely to be implementable without serious
                                                    discussion with any service providers beforehand. Employees should have the ability to
                                                    reasonably request to see what data is stored about them.
                                                •   The Accountability Principle. It will be uncommon to find service providers who comply
                                                    with many of the FIPPs.

General Data Protection Regulation Principles
                                                •   Lawfulness, fairness, and transparency. Employees should have the opportunity to make
                                                    an informed decision on the type of personal data that will be collected from browsers and
                                                    email clients by an enterprise. A lawful basis is needed for collecting personal data.
                                                •   Purpose limitation. Users should be informed in writing about the purpose of collecting
                                                    personal data from browsers and email from the outset of collecting it. Personal data
                                                    obtained through the application of this Control should only be used for this system and
                                                    employees should be informed if their information will be transferred to other systems
                                                    owned or used by third-party service providers. This includes network visibility and security
                                                    tools. Serving ads to users based on their web history or text within an email could violate
                                                    this principle.
                                                •   Data minimization. Browsers and email systems must be configured to collect as little PII
                                                    and personal data from employees as possible. In addition to GDPR requirements, other
                                                    local regulations may require certain data to be recorded.
                                                •   Accuracy of data. User data collected from browsers and email clients should be regularly
                                                    checked for accuracy. Written processes should be documented for how to maintain this
                                                    data and how incorrect data can be corrected.
                                                •   Storage limitation. User data from browsers and email clients should only be stored for
                                                    as long as needed. Browser and email data may be quite useful in incident response
                                                    scenarios, and therefore kept for a significant amount of time. Obsolete data should be
                                                    deleted without delay.
                                                •   Integrity and confidentiality. The CIS Controls can be leveraged to enable this principle,
                                                    such as Control 3. A user’s browser and email data should be protected from unauthorized
                                                    access, modification, and disclosure and can be leveraged by an attacker to obtain
                                                    unauthorized access to an enterprise’s systems. This is especially true for email, as records
                                                    of authentication systems may be included there.

Control 9 Privacy Applicability Table

CIS Control 09: Email and Web Browser Protections
Safeguard         Asset           Security      Control Title/                                        Applicability Included?
                  Type            Function      Description                                           Applicability Justification and Privacy Considerations

9.1         -Applications-       -Protect- Ensure Use of Only Fully Supported                         No
                                                Browsers and Email Clients                            Browsers and email clients that are unsupported
                                                Ensure only fully supported browsers and email        should not be used. This is not included because
                                                clients are allowed to execute in the enterprise,     this enhances security with no specific privacy
                                                only using the latest version of browsers and email   impact. Users should be offered the ability to offer
                                                clients provided through the vendor.                  privacy preserving browsers.

9.2           -Network-          -Protect- Use DNS Filtering Services                                 Yes
                                           Use DNS filtering services on all enterprise assets to     DNS filtering can help prevent tracking by known
                                           block access to known malicious domains.                   malicious domains, but also gives the filter
                                                                                                      complete knowledge of the sites a user visits.
                                                                                                      Turning off DNS logging would be a more privacy
                                                                                                      preserving action, but may conflict with other
                                                                                                      IT needs.




CIS Controls Privacy Companion Guide                                                                  Control 09: Email and Web BrowserProtections             Page 40
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         46 84
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2958
                                        ID #:4869
CIS Control 09: Email and Web Browser Protections
Safeguard         Asset           Security      Control Title/                                            Applicability Included?
                  Type            Function      Description                                               Applicability Justification and Privacy Considerations

9.3           -Network-          -Protect- Maintain and Enforce Network-Based                             Yes
                                                URL Filters                                               This practice can help prevent an enterprise asset
                                                Enforce and update network-based URL filters              from downloading malware that may result in a
                                                to limit an enterprise asset from connecting to           privacy exposure. Yet, this network filter will have
                                                potentially malicious or unapproved websites.             deep knowledge on how users are accessing the
                                                Example implementations include category-                 enterprise network. Turning off logging would be
                                                based filtering, reputation-based filtering, or           a more privacy preserving action but may conflict
                                                through the use of block lists. Enforce filters for all   with other IT needs.
                                                enterprise assets.

9.4         -Applications-       -Protect- Restrict Unnecessary or Unauthorized                           Yes
                                                Browser and Email Client Extensions                       Browser extensions are well known for accessing
                                                Restrict, either through uninstalling or disabling,       and sharing information that users did not intend.
                                                any unauthorized or unnecessary browser or email          Some browser extensions offer privacy preserving
                                                client plugins, extensions, and add-on applications.      features.

9.5           -Network-          -Protect- Implement DMARC                                                No
                                           To lower the chance of spoofed or modified emails              DMARC can prevent phishing emails and other
                                           from valid domains, implement DMARC policy and                 malicious emails from reaching users, but there is
                                           verification, starting with implementing the Sender            no specific privacy impact.
                                           Policy Framework (SPF) and the DomainKeys
                                           Identified Mail (DKIM) standards.

9.6           -Network-          -Protect- Block Unnecessary File Types                                   No
                                           Block unnecessary file types attempting to enter the           Blocking the transfer of file types is important, but
                                           enterprise’s email gateway.                                    there is no specific privacy impact.

9.7           -Network-          -Protect- Deploy and Maintain Email Server Anti-                         Yes
                                                Malware Protections                                       Scanning emails can prevent phishing emails and
                                                Deploy and maintain email server anti-malware             other malicious attachments from reaching users,
                                                protections, such as attachment scanning and/or           but this system will also be able to access personal
                                                sandboxing.                                               data about a user and other individuals.




CIS Controls Privacy Companion Guide                                                                      Control 09: Email and Web BrowserProtections             Page 41
    Case
      Case
         8:24-cv-01997-WLH-DFM
            8:24-cv-01997-JLS-DFM Document
                                   Document88-8
                                             127-7 Filed
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                                                          11/27/24
                                                             01/08/25 Page
                                                                        Page
                                                                           47 85
                                                                              of 84
                                                                                 of 122
                                                                                     Page
                                    Page
                                       ID #:2959
                                          ID #:4870




      10                                Malware
CONTROL

                                        Defenses
 Overview	                              Prevent or control the installation, spread, and execution of malicious
                                        applications, code, or scripts on enterprise assets.


 Privacy Applicability

                                        This Control is specific to technologies and processes to prevent a successful attack from
                                        malware. There are few direct privacy impacts of implementing the malware protection
                                        Safeguards contained within this Control. When malware is installed on a system, it may
                                        collect PII and other personal data (e.g., contacts, browser history).

 Privacy Implications
                                        •   Spyware and adware may track what a user is doing on an infected computer. Other types
                                            of malware may also perform this function while performing more malicious activities
                                            on a system.
                                        •   Anti-malware software often requires elevated privileges on a system. This software could
                                            be abused by both the developer of the anti-malware software, and also by whoever
                                            administers the software. That administrator is also likely to have other types of privileged
                                            access over the system.
                                        •   If host and perimeter malware tools record sensitive data, any alerts and logs generated by
                                            these systems could contain that private information.

                                        Data Collection

                                        Malware infecting a system might collect and send private or personal data to the malware
                                        developer. This information may also be sent outside of the network. Defensive malware
                                        tools may also collect private information. Administrators should work with corporate Privacy
                                        Officers or the applicable business unit to understand what potential data is stored in logs
                                        and alerts.

                                        Data Storage

                                        Malware may be used to steal personal information and hold it elsewhere outside of the
                                        network. The logs and alerts from defensive anti-malware software should be stored in a
                                        secure location and access should be restricted.

 Additional Discussion

                                        Malware protections can ultimately help enable privacy. Without some sort of malware
                                        defense, and the regular updates to keep these defenses effective, the system is much
                                        more vulnerable to attack. Once infected, all local and network activity may be tracked and
                                        potentially exfiltrated elsewhere.

                                        It is common for employees, including IT staff, to download software outside of the explicit
                                        approval of IT policy. Depending on the site hosting the software download, downloading
                                        the correct software can be intentionally confusing, and users may accidentally download
                                        spyware/malware in lieu of anti-malware software.




 CIS Controls Privacy Companion Guide                                                                    Control 10: Malware Defenses   Page 42
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
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                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         48 86
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2960
                                        ID #:4871

Fair Information Practice Principles
                                       •   The Collection Limitation Principle. Anti-malware and perimeter defense systems should
                                           be configured to collect as little PII and personal data from employees as possible.
                                       •   The Data Quality Principle. Data from anti-malware and perimeter defense systems should
                                           only be used in security processes for defending against malware.
                                       •   The Purpose Specification Principle. Employees should be informed about the information
                                           that may be stored by anti-malware and perimeter defense systems, as well as how the
                                           information will be used.
                                       •   The Use Limitation Principle. Employees should be informed if anti-malware and perimeter
                                           defense data will be transferred to other systems owned or used by third-party service
                                           providers, such as a marketing company.
                                       •   The Security Safeguards Principle. Care should be taken to secure any anti-malware and
                                           perimeter defense data, which likely includes PII and other personal data.
                                       •   The Openness Principle. Employees with PII and other personal data collected by
                                           enterprise systems should understand what external systems may contain their personal
                                           data and why.
                                       •   The Individual Participation Principle. This is unlikely to be implementable without serious
                                           discussion with any service providers beforehand. Employees should have the ability to
                                           reasonably request to see what data is stored about them.
                                       •   The Accountability Principle. It will be uncommon to find service providers who comply
                                           with many of the FIPPs.

General Data Protection Regulation Principles
                                       •   Lawfulness, fairness, and transparency. Employees should have the opportunity to make
                                           an informed decision on the type of personal data that will be collected by an antivirus
                                           system. A lawful basis is needed for collecting personal data.
                                       •   Purpose limitation. Users should be informed in writing about your purpose for collecting
                                           personal data in the anti-malware platform from the outset of collecting it. Personal data
                                           collected through the anti-malware platform should only be used for this system and
                                           employees should be informed if their information will be transferred to other systems
                                           owned by third-party service providers.
                                       •   Data minimization. User data collected via an anti-malware platform is likely incidental,
                                           or a personal file may have been infected or was an infection vector. There will likely be
                                           significant overlap with the information collected for the enterprise asset and software
                                           inventories.
                                       •   Accuracy of data. User data collected via this Control should be regularly checked
                                           for accuracy.
                                       •   Storage limitation. User data, such as PII, should only be stored for as long as needed in an
                                           anti-malware system. Obsolete data should be deleted without delay.
                                       •   Integrity and confidentiality. The CIS Controls can be leveraged to enable this principle,
                                           such as Controls 3, 4, and 5. User data collected should be protected from unauthorized
                                           access, modification, and disclosure and can be leveraged by an attacker to obtain
                                           unauthorized access to an enterprise’s systems.




CIS Controls Privacy Companion Guide                                                                    Control 10: MalwareDefenses   Page 43
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
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                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         49 87
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2961
                                        ID #:4872

Control 10 Privacy Applicability Table

CIS Control 10: Malware Defenses
Safeguard        Asset             Security    Control Title/                                     Applicability Included?
                 Type              Function    Description                                        Applicability Justification and Privacy Considerations

10.1          -Devices-            -Protect-   Deploy and Maintain Anti-Malware                   Yes
                                               Software                                           Research should be done to understand the
                                               Deploy and maintain anti-malware software on all   information anti-malware software can access
                                               enterprise assets.                                 on a system and take privacy into account in its
                                                                                                  implementation.

10.2          -Devices-            -Protect-   Configure Automatic Anti-Malware                   Yes
                                               Signature Updates                                  Administrators for this software may have access
                                               Configure automatic updates for anti-malware       to sensitive information.
                                               signature files on all enterprise assets.

10.3          -Devices-            -Protect-   Disable Autorun and Autoplay for                   No
                                               Removable Media                                    There are no direct privacy impacts with disabling
                                               Disable autorun and autoplay auto-execute          autorun.
                                               functionality for removable media.

10.4          -Devices-            -Detect-    Configure Automatic Anti-Malware                   Yes
                                               Scanning of Removable Media                        The anti-malware software may scan personal
                                               Configure anti-malware software to automatically   files and collect information from these files. This
                                               scan removable media.                              personal data may subsequently be provided to an
                                                                                                  administrator for review.

10.5          -Devices-            -Protect-   Enable Anti-Exploitation Features                  No
                                               Enable anti-exploitation features on enterprise    Although these features may prevent a user from
                                               assets and software, where possible, such as       installing their own operating system on the
                                               Microsoft® Data Execution Prevention (DEP),        hardware, there are no direct privacy impacts.
                                               Windows® Defender Exploit Guard (WDEG), or
                                               Apple® System Integrity Protection (SIP) and
                                               Gatekeeper™.

10.6          -Devices-            -Protect-   Centrally Manage Anti-Malware Software             Yes
                                               Centrally manage anti-malware software.            Administrators for this software will likely have
                                                                                                  access to PII and personal data.

10.7          -Devices-            -Detect-    Use Behavior-Based Anti-Malware                    No
                                               Software                                           Certain benign user behaviors may trigger an
                                               Use behavior-based anti-malware software.          administrator to personally review logs.




CIS Controls Privacy Companion Guide                                                                                   Control 10: MalwareDefenses         Page 44
    Case
      Case
         8:24-cv-01997-WLH-DFM
            8:24-cv-01997-JLS-DFM Document
                                   Document88-8
                                             127-7 Filed
                                                       Filed
                                                          11/27/24
                                                             01/08/25 Page
                                                                        Page
                                                                           50 88
                                                                              of 84
                                                                                 of 122
                                                                                     Page
                                    Page
                                       ID #:2962
                                          ID #:4873




      11                                Data
CONTROL

                                        Recovery
 Overview	                              Establish and maintain data recovery practices sufficient to restore in-scope
                                        enterprise assets to a pre-incident and trusted state.


 Privacy Applicability

                                        This Control is meant to assist enterprises in preparing to recover from a cyber incident.
                                        Privacy concerns exist with many of the Safeguards within this Control. Principally, the
                                        Safeguards associated with providing information to third-parties are most applicable.

 Privacy Implications
                                        •   IT staff will need to create backups of enterprise information as part of this Control. PII
                                            contained within human resource (HR) and other records will need to be backed up, yet
                                            PII and other personal data may incidentally also be collected as part of this process. This
                                            is likely unavoidable unless both IT staff and employees are diligent about not storing
                                            non-work-related information on company systems. But, even work-related information
                                            in backups are likely to contain personal data. It’s common for these backups to then be
                                            stored with companies specializing in disaster recovery.
                                        •   Depending on the security measures taken by internal IT staff, third-party organizations
                                            involved in disaster recovery scenarios may have access to data stored in backups.
                                        •   Testing if backups can actually be restored is an important part of a data recovery process.
                                            Restoring backups during testing should be done carefully. If sensitive data is restored, that
                                            system should be properly protected and securely deleted after the exercise is complete.

                                        Data Collection

                                        PII and other personal data may be collected by IT when performing backups, and transferring
                                        backups offsite, or to a third-party organization for safekeeping and ransomware protection.
                                        Specific security protections for PII and other personal data need to be stipulated in the
                                        service level agreement (SLA).

                                        Data Storage

                                        IT may store backups offsite at an enterprise-owned location, such as another office building
                                        that is geographically separated from the primary office. Third-party organizations providing
                                        storage for company backups may store the information in a cloud platform or at a physical
                                        hot site or cold site. Personal data at both locations needs to be protected.

 Additional Discussion

                                        When performing backups, the ultimate storage location can make a difference. For instance,
                                        if backups are stored in the European Union, specific requirements related to protection of
                                        PII and other personal data will be required per General Data Protection Regulation (GDPR).
                                        Once a backup is taken, it’s best practice to ensure that the intended data is being saved
                                        and that it can actually be used to recover from a data loss. The testing and restoration of
                                        backups should be done in an organized and careful manner, as IT has access to PII and other
                                        personal data. If sensitive data is restored, the system should be properly protected until it is
                                        securely deleted.




 CIS Controls Privacy Companion Guide                                                                      Control 11: Data Recovery   Page 45
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         51 89
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2963
                                        ID #:4874

Fair Information Practice Principles
                                       •   The Collection Limitation Principle. All information on a system should not be backed up
                                           unless there is a strict delineation of enterprise and user data.
                                       •   The Data Quality Principle. Data from backups should only be used during data recovery
                                           or testing.
                                       •   The Purpose Specification Principle. Employees should be informed what information may
                                           be backed up and how the information will be used.
                                       •   The Use Limitation Principle. Employees should be informed if backups will be transferred
                                           to other systems owned or used by third-party service providers, such as a company
                                           focusing on data recovery.
                                       •   The Security Safeguards Principle. Care should be taken to secure any backups that likely
                                           include PII and other personal data. This includes encrypting the backups and ensuring
                                           adequate access control mechanisms are in place.
                                       •   The Openness Principle. Employees with PII and other personal data collected
                                           by enterprise systems should understand what external systems may contain their
                                           personal data.
                                       •   The Individual Participation Principle. This is unlikely to be implementable without serious
                                           discussion with any service providers beforehand. Employees should have the ability to
                                           reasonably request to see what data is stored about them.
                                       •   The Accountability Principle. It will be uncommon to find service providers who comply
                                           with many of the FIPPs.

General Data Protection Regulation Principles
                                       •   Lawfulness, fairness, and transparency. Employees should have the opportunity to make
                                           an informed decision on the type of personal data that will be collected during a backup or
                                           backup testing process. A lawful basis is needed for collecting personal data.
                                       •   Purpose limitation. Users should be informed in writing about your purpose for collecting
                                           personal data during a backup. Personal data collected during this process may be
                                           transferred to other vendors to assist in disaster recovery or long-term data storage.
                                           Employees should be made aware of this.
                                       •   Data minimization. Nothing more than is necessary for restoration of enterprise services
                                           should be collected, but there may be incidental collection of personal data. This should be
                                           avoided and written processes should be in place to avoid personal data collection.
                                       •   Accuracy of data. Backup data should regularly be verified for integrity in utility. Written
                                           processes should be documented for how user data in backups is maintained and how
                                           incorrect data can be corrected or, more likely, removed.
                                       •   Storage limitation. User data should only be stored for as long as needed, if it is needed at
                                           all. Obsolete data should be deleted without delay.
                                       •   Integrity and confidentiality. The CIS Controls can be leveraged to enable this principle,
                                           such as Controls 3, 4, and 5. Personal data should be protected from unauthorized access,
                                           modification, and disclosure and can be leveraged by an attacker to obtain unauthorized
                                           access to an enterprise’s systems.




CIS Controls Privacy Companion Guide                                                                        Control 11: Data Recovery   Page 46
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
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                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         52 90
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2964
                                        ID #:4875

Control 11 Privacy Applicability Table

CIS Control 11: Data Recovery
Safeguard         Asset          Security   Control Title/                                          Applicability Included?
                  Type           Function   Description                                             Applicability Justification and Privacy Considerations

11.1             -Data-         -Recover- Establish and Maintain a Data Recovery                    Yes
                                            Process                                                 This process should take privacy into account and
                                            Establish and maintain a data recovery process. In      ensure that to the extent possible, PII and other
                                            the process, address the scope of data recovery         personal data are not backed up, or at least not
                                            activities, recovery prioritization, and the security   provided to third-parties in an insecure form.
                                            of backup data. Review and update documentation
                                            annually, or when significant enterprise changes
                                            occur that could impact this Safeguard.

11.2             -Data-         -Recover- Perform Automated Backups                                 Yes
                                          Perform automated backups of in-scope enterprise          Automated backups should not store PII and
                                          assets. Run backups weekly, or more frequently,           other personal data in a form that third parties can
                                          based on the sensitivity of the data.                     access without the consent of the data owner.

11.3             -Data-         -Protect- Protect Recovery Data                                     Yes
                                          Protect recovery data with equivalent controls to         Any PII and other personal data that is backed up
                                          the original data. Reference encryption or data           should be protected at least as well as enterprise
                                          separation, based on requirements.                        data. In some cases, it may require higher data
                                                                                                    security.

11.4             -Data-         -Recover- Establish and Maintain an Isolated Instance               Yes
                                            of Recovery Data                                        There are no privacy implications of having an
                                            Establish and maintain an isolated instance of          offsite backup of enterprise data if it is secure and
                                            recovery data. Example implementations include          access is restricted.
                                            version controlling backup destinations through
                                            offline, cloud, or off-site systems or services.

11.5             -Data-         -Recover- Test Data Recovery                                        Yes
                                          Test backup recovery quarterly, or more frequently,       Restoring backups should be done carefully. If
                                          for a sampling of in-scope enterprise assets.             sensitive data is restored as part of the testing
                                                                                                    process, that system should be properly protected
                                                                                                    and securely deleted.




CIS Controls Privacy Companion Guide                                                                                         Control 11: Data Recovery       Page 47
    Case
      Case
         8:24-cv-01997-WLH-DFM
            8:24-cv-01997-JLS-DFM Document
                                   Document88-8
                                             127-7 Filed
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                                                          11/27/24
                                                             01/08/25 Page
                                                                        Page
                                                                           53 91
                                                                              of 84
                                                                                 of 122
                                                                                     Page
                                    Page
                                       ID #:2965
                                          ID #:4876




      12                                Network
CONTROL

                                        Infrastructure
 Overview	                              Establish, implement, and actively manage (track, report, correct) network
                                        devices, in order to prevent attackers from exploiting vulnerable network services
                                        and access points.


 Privacy Applicability

                                        The Safeguards within this Control pertain to ensuring network infrastructure (e.g., firewalls,
                                        routers, switches) is appropriately set up, maintained, and configured throughout their
                                        lifecycle. Multiple Safeguards focus on using up-to-date software on network appliances and
                                        modern, secure administration protocols. As such, many of the Safeguards within this Control
                                        do not have a direct privacy impact.

 Privacy Implications
                                        •   Network infrastructure will likely be able to granularly track user activity throughout
                                            the network.
                                        •   Improper network design and segmentation could lead to lesser degrees of privacy for
                                            enterprise network users. Failure to document decisions that are meant to enhance privacy
                                            could hamper future developments in a burgeoning privacy program.
                                        •   Logs relating to authentication and authorization systems in general may record private
                                            action. For instance, some centralized authentication systems log the geolocation of users
                                            when they connect. Other authentication events will trigger log entries, such as time of
                                            access, time of authentication attempt, and what resources were accessed. Collecting
                                            these log entries can be beneficial to investigative efforts during incident response;
                                            however, they can also be used to thwart privacy. Due to this and other factors, it’s best
                                            practice to regularly audit and verify who has access to personal data.

                                        Data Collection

                                        No PII or personal data should be intentionally collected within this Safeguard by network
                                        infrastructure. This includes decrypting employee traffic, which was specifically removed from
                                        the CIS Controls as a privacy protecting measure. Yet, many systems will collect data that
                                        could be used for tracking while performing their security or privacy function.

                                        Data Storage

                                        In general, network infrastructure should not store PII and personal data. With that said, some
                                        network systems will observe what sites and resources users are accessing both internally
                                        and externally on the internet. These network appliances include DNS, intrusion detection
                                        system (IDS), and firewalls. Since web history can be considered privacy-relevant data, if such
                                        information is necessary for securing network infrastructure, this information should be stored
                                        in a secure fashion and only for as long as is needed.




 CIS Controls Privacy Companion Guide                                                                Control 12: Network Infrastructure   Page 48
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
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                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         54 92
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2966
                                        ID #:4877

Additional Discussion

                                       Planning and implementing a secure architecture (Safeguard 12.2 – Establish and Maintain a
                                       Secure Network Architecture) can help to enable privacy across an enterprise. This ensures
                                       there are architectural elements in the network that prevent access to employee systems
                                       and information (to include mobile devices). Many layers of physical and logical defenses
                                       need to be put into place for this to function appropriately. This includes the centralization
                                       of authentication systems, privilege management, remote network access, and preventing
                                       systems on one portion of the network from accessing another unrelated network segment.
                                       Privacy decisions and other considerations designed into the network should be explicitly
                                       documented to ensure that other IT staff understand these decisions and can follow them
                                       going forward. This documentation can also be useful for the legal team if a breach occurs in
                                       the future.

                                       There are often regulatory requirements, or third-party agreements for security controls on
                                       devices that route personal data within or between networks. Regular auditing of regulatory
                                       and third-party agreement requirements can help verify the location and appropriate
                                       protection of all PII and other personal data. In a similar manner, as part of personal plan and
                                       data governance, ensure that all PII or other privacy data is identified, and the appropriate data
                                       flows are known. That way, appropriate protection can be applied to all systems in the data
                                       flow chain.

Fair Information Practice Principles
                                       •   The Collection Limitation Principle. Network infrastructure should not be intentionally
                                           configured to collect PII and other personal data.
                                       •   The Data Quality Principle. PII and other personal data collected from network
                                           devices should only be used for making security decisions for network access and
                                           information filtering.
                                       •   The Purpose Specification Principle. Employees should be informed what information will
                                           be collected by network devices and how the information will be used.
                                       •   The Use Limitation Principle. Employees should be informed if data collected by network
                                           devices will be transferred to other systems owned or used by third-party service providers,
                                           such as a company focusing on network forensics or incident response.
                                       •   The Security Safeguards Principle. Care should be taken to secure any network data that
                                           likely includes PII and other personal data.
                                       •   The Openness Principle. Employees with PII and other personal data collected
                                           by enterprise systems should understand what external systems may contain their
                                           personal data.
                                       •   The Individual Participation Principle. This is unlikely to be implemented without serious
                                           discussion with any service providers beforehand. Employees should have the ability to
                                           reasonably request to see what data is stored about them.
                                       •   The Accountability Principle. It will be uncommon to find service providers who comply
                                           with many of the FIPPs.

General Data Protection Regulation Principles
                                       •   Lawfulness, fairness, and transparency. Employees should have the opportunity to
                                           make an informed decision on the type of personal data that will be collected by network
                                           infrastructure. A lawful basis is needed for collecting personal data.
                                       •   Purpose limitation. Network infrastructure should not be intentionally configured to
                                           collect PII and other personal data. Users should be informed in writing about any network
                                           infrastructure collecting personal data.




CIS Controls Privacy Companion Guide                                                                Control 12: NetworkInfrastructure   Page 49
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         55 93
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2967
                                        ID #:4878
                                               •   Data minimization. Personal data should not be collected by network infrastructure unless
                                                   it is necessary. Written processes should be in place to avoid undesirable personal data
                                                   collection.
                                               •   Accuracy of data. Any personal data should be maintained with written processes
                                                   documented for how user data is maintained and how incorrect data can be corrected or,
                                                   more likely, removed.
                                               •   Storage limitation. User data should only be stored for as long as needed, if it is needed at
                                                   all. Obsolete or unnecessary user data should be deleted without delay.
                                               •   Integrity and confidentiality. The CIS Controls can be leveraged to enable this principle,
                                                   such as Control 3 – Data Protection for protecting backups. Personal data should be
                                                   protected from unauthorized access, modification, and disclosure and can be leveraged by
                                                   an attacker to obtain unauthorized access to an enterprise’s systems.

Control 12 Privacy Applicability Table

CIS Control 12: Network Infrastructure
Safeguard         Asset             Security   Control Title/                                        Applicability Included?
                  Type              Function   Description                                           Applicability Justification and Privacy Considerations

12.1           -Network-          -Protect- Ensure Network Infrastructure is                         No
                                               Up-to-Date                                            Network infrastructure should be kept up-to-date,
                                               Ensure network infrastructure is kept up-to-date.     but there is no specific privacy impact with the
                                               Example implementations include running the latest    implementation of this Safeguard.
                                               stable release of software and/or using currently
                                               supported network-as-a-service (NaaS) offerings.
                                               Review software versions monthly, or more
                                               frequently, to verify software support.

12.2           -Network-          -Protect- Establish and Maintain a Secure Network                  Yes
                                               Architecture                                          A secure architecture can help to enable privacy
                                               Establish and maintain a secure network               by preventing access to employee systems and
                                               architecture. A secure network architecture           information. This can be via privilege management
                                               must address segmentation, least privilege, and       or preventing systems on one portion of the
                                               availability, at a minimum.                           network from accessing another network segment.

12.3           -Network-          -Protect- Securely Manage Network Infrastructure                   No
                                            Securely manage network infrastructure. Example          Systems containing personal data will need routine
                                            implementations include version-controlled-              maintenance and administration. These systems
                                            infrastructure-as-code, and the use of secure            should only be accessed via secure protocols. No
                                            network protocols, such as SSH and HTTPS.                specific privacy impact for this Safeguard.

12.4           -Network-          -Identify- Establish and Maintain Architecture                     Yes
                                               Diagram(s)                                            Privacy protections and considerations designed
                                               Establish and maintain architecture diagram(s) and/   into the network should be explicitly documented.
                                               or other network system documentation. Review
                                               and update documentation annually, or when
                                               significant enterprise changes occur that could
                                               impact this Safeguard.

12.5           -Network-          -Protect- Centralize Network Authentication,                       Yes
                                               Authorization, and Auditing (AAA)                     Centralized AAA will likely record and log
                                               Centralize network AAA.                               information about a user’s current location.

12.6           -Network-          -Protect- Use of Secure Network Management and                     No
                                               Communication Protocols                               This Safeguard should be applied to protect all
                                               Use secure network management and                     information throughout a network, but there is no
                                               communication protocols (e.g., 802.1X, Wi-Fi          specific privacy impact.
                                               Protected Access 2 (WPA2) Enterprise or greater).




CIS Controls Privacy Companion Guide                                                                                 Control 12: NetworkInfrastructure        Page 50
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         56 94
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2968
                                        ID #:4879
CIS Control 12: Network Infrastructure
Safeguard         Asset             Security   Control Title/                                         Applicability Included?
                  Type              Function   Description                                            Applicability Justification and Privacy Considerations

12.7           -Devices-          -Protect- Ensure Remote Devices Utilize a VPN and                   Yes
                                               are Connecting to an Enterprise’s AAA                  Information systems associated with remote login
                                               Infrastructure                                         or VPN capabilities will likely learn information
                                               Require users to authenticate using MFA to             about a user’s current location. VPNs may track a
                                               enterprise-managed VPN and authentication              user’s geographical location.
                                               services prior to accessing enterprise resources on
                                               end-user devices.

12.8           -Devices-          -Protect- Establish and Maintain Dedicated                          Yes
                                               Computing Resources For All                            Administrators are encouraged to use separate
                                               Administrative Work                                    devices for administrative tasks and day-to-day
                                               Establish and maintain dedicated computing             work-related tasks. Devices and applications that
                                               resources, either physically or logically separated,   don’t require internet access should either be
                                               for all administrative tasks or tasks requiring        air-gapped or placed into a private network that
                                               administrative access. The computing resources         doesn’t allow them access to external networks.
                                               should be segmented from the enterprise’s primary
                                               network and not be allowed internet access.




CIS Controls Privacy Companion Guide                                                                                  Control 12: NetworkInfrastructure        Page 51
    Case
      Case
         8:24-cv-01997-WLH-DFM
            8:24-cv-01997-JLS-DFM Document
                                   Document88-8
                                             127-7 Filed
                                                       Filed
                                                          11/27/24
                                                             01/08/25 Page
                                                                        Page
                                                                           57 95
                                                                              of 84
                                                                                 of 122
                                                                                     Page
                                    Page
                                       ID #:2969
                                          ID #:4880




      13                                Network Monitoring
CONTROL

                                        and Defense
 Overview	                              Operate processes and tooling to establish and maintain comprehensive network
                                        monitoring and defense against security threats across the enterprise’s network
                                        infrastructure and user base.


 Privacy Applicability

                                        Ensuring visibility into a network is essential in understanding the types and frequency of
                                        attacks facing an enterprise. Network visibility, and acting on this information, is ultimately
                                        the goal of this Control. To accomplish this, the Network Monitoring and Defense Safeguards
                                        focus on installing, configuring, and monitoring software products that sit on the network and
                                        on the host. These products will have privileged access to information on the network and
                                        host, and what information they access, store, and use can have privacy implications. Many of
                                        these Safeguards have privacy impacts.

 Privacy Implications
                                        •   Enterprises should ensure that SIEMs are not regularly alerting on information that
                                            contains personal data and is thus being pushed up to security analysts for manual
                                            review. That is distinct from SIEMs alerting IT on the existence of personal information and
                                            cleartext passwords.
                                        •   Network infrastructure will likely be able to granularly track user activity throughout
                                            the network.
                                        •   Perimeter defense and other network architecture systems may collect information about
                                            their customers.

                                        Data Collection

                                        Network traffic information collected by IDS, intrusion prevention system (IPS), and
                                        application filtering software, alongside alerts generated from a variety of sources, may
                                        be collected.

                                        Data Storage

                                        Network traffic information collected by IDS, IPS, and application filtering software, alongside
                                        alerts generated from a variety of sources, must all be stored. The owners of the software for
                                        all of these systems likely have access to all of this information and may store this information
                                        within their own private network. The enterprise using these systems will also store this
                                        information, and it should be appropriately protected.

 Additional Discussion

                                        Best practice implementation of centralizing logs and alerts requires the usage of a SIEM tool
                                        (Safeguard 13.1 – Centralize Security Event Alerting). Many of the other Safeguards within this
                                        Control focus around implementing products that ultimately produce logs and alerts that can
                                        be ingested into a SIEM. It is quite possible that there would be privacy issues with the type
                                        of data collected by these perimeter defense systems, especially user activity, email logs, and
                                        personal information that can be logged when a user visits a website. Because of this, it is
                                        best to ensure that there is a data governance process that identifies and protects all PII or
                                        personal data and where that data flows in and out of the network.




 CIS Controls Privacy Companion Guide                                                        Control 13: Network Monitoring and Defense   Page 52
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         58 96
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2970
                                        ID #:4881

                                       Mobile devices should also be part of this process, and some of the perimeter defense
                                       tools do have mobile subcomponents or entirely separate product categories that could
                                       be applicable, such as mobile threat defense. Finally, remember that insufficient perimeter
                                       defense controls could prove lack of sufficient defenses to protect personal data, as required
                                       by some regulatory frameworks.

Fair Information Practice Principles
                                       •   The Collection Limitation Principle. Network infrastructure should not be intentionally
                                           configured to collect PII and other personal data.
                                       •   The Data Quality Principle. PII and other personal data collected from network
                                           devices should only be used for making security decisions for network access and
                                           information filtering.
                                       •   The Purpose Specification Principle. Employees should be informed what information will
                                           be collected by network devices and how the information will be used.
                                       •   The Use Limitation Principle. Employees should be informed if data collected by network
                                           devices will be transferred to other systems owned or used by third-party service providers,
                                           such as a company focusing on forensics or incident response.
                                       •   The Security Safeguards Principle. Care should be taken to secure any network data that
                                           likely includes PII and other personal data.
                                       •   The Openness Principle. Employees with PII and other personal data collected
                                           by enterprise systems should understand what external systems may contain their
                                           personal data.
                                       •   The Individual Participation Principle. This is unlikely to be implementable without serious
                                           discussion with any service providers beforehand. Employees should have the ability to
                                           reasonably request to see what data is stored about them.
                                       •   The Accountability Principle. It will be uncommon to find service providers who comply
                                           with many of the FIPPs.

General Data Protection Regulation Principles
                                       •   Lawfulness, fairness, and transparency. Employees should have the opportunity to
                                           make an informed decision on the type of personal data that will be collected by network
                                           infrastructure. A lawful basis is needed for collecting personal data.
                                       •   Purpose limitation. Network infrastructure should not be intentionally configured to
                                           collect PII and other personal data. Users should be informed in writing about any network
                                           infrastructure collecting personal data. Sharing data with third-parties should be avoided if
                                           possible, and users should understand what is being shared with whom.
                                       •   Data minimization. Personal data should not be collected by network infrastructure unless
                                           it is necessary. Written processes should be in place to avoid undesirable personal data
                                           collection.
                                       •   Accuracy of data. Any personal data should be maintained with written processes
                                           documented for how user data in backups is maintained and how incorrect data can be
                                           corrected or, more likely, removed.
                                       •   Storage limitation. User data should only be stored for as long as needed, if it is needed at
                                           all. Obsolete or unnecessary user data should be deleted without delay.
                                       •   Integrity and confidentiality. The CIS Controls can be leveraged to enable this principle,
                                           such as Control 3: Data Protection for protecting backups. Personal data should be
                                           protected from unauthorized access, modification, and disclosure and can be leveraged by
                                           an attacker to obtain unauthorized access to an enterprise’s systems.




CIS Controls Privacy Companion Guide                                                        Control 13: Network Monitoringand Defense   Page 53
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         59 97
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2971
                                        ID #:4882

Control 13 Privacy Applicability Table

CIS Control 13: Network Monitoring and Defense
Safeguard        Asset            Security       Control Title/                                           Applicability Included?
                 Type             Function       Description                                              Applicability Justification and Privacy Considerations

13.1          -Network-          -Detect-        Centralize Security Event Alerting                       Yes
                                                 Centralize security event alerting across enterprise     Administrators should work with the enterprise
                                                 assets for log correlation and analysis. Best practice   privacy officer, or legal department, to understand
                                                 implementation requires the use of a SIEM, which         what potential PII is stored in logs and alerts and
                                                 includes vendor-defined event correlation alerts;        how it should be protected.
                                                 a log analytics platform configured with security-
                                                 relevant correlation alerts also satisfies this
                                                 Safeguard.

13.2          -Devices-          -Detect-        Deploy a Host-Based Intrusion Detection                  Yes
                                                 Solution                                                 Research should be done to understand the
                                                 Deploy a host-based intrusion detection solution         information host-based IDS can access on a
                                                 on enterprise assets, where appropriate and/or           system and specifically whether it can access any
                                                 supported.                                               personal data.

13.3          -Network-          -Detect-        Deploy a Network Intrusion Detection                     Yes
                                                 Solution                                                 Research should be performed to understand how
                                                 Deploy a network intrusion detection solution on         the IDS solution stores and collects information
                                                 enterprise assets, where appropriate. Example            about individual users.
                                                 implementations include the use of a Network
                                                 Intrusion Detection System (NIDS) or equivalent
                                                 Cloud Service Provider (CSP) service.

13.4          -Network-          -Protect- Perform Traffic Filtering Between Network                      Yes
                                                 Segments                                                 Traffic filtering should in theory increase privacy for
                                                 Perform traffic filtering between network segments,      individual users and systems.
                                                 where appropriate.

13.5          -Devices-          -Protect- Manage Access Control for Remote Assets                        No
                                           Manage access control for assets remotely                      Although this Safeguard can help prevent a
                                           connecting to enterprise resources. Determine                  breach, there are no direct privacy impacts. If there
                                           amount of access to enterprise resources based                 is a remote agent stored on the user’s asset, then
                                           on: up-to-date anti-malware software installed,                that agent may be able to access user data and
                                           configuration compliance with the enterprise’s                 this Safeguard would apply.
                                           secure configuration process, and ensuring the
                                           operating system and applications are up-to-date.

13.6          -Network-          -Detect-        Collect Network Traffic Flow Logs                        Yes
                                                 Collect network traffic flow logs and/or network         Flow logs will contain detailed information about
                                                 traffic to review and alert upon from network            resources accessed by specific IP addresses, some
                                                 devices.                                                 of which may be statically assigned, alongside
                                                                                                          protocols used to access those resources.

13.7          -Devices-          -Protect- Deploy a Host-Based Intrusion Prevention                       Yes
                                                 Solution                                                 Research should be done to understand the
                                                 Deploy a host-based intrusion prevention solution        information host-based IPS can access on
                                                 on enterprise assets, where appropriate and/or           a system and whether there are any privacy
                                                 supported. Example implementations include use of        implications associated with the deployment.
                                                 an Endpoint Detection and Response (EDR) client
                                                 or host-based IPS agent.

13.8          -Network-          -Protect- Deploy a Network Intrusion Prevention                          Yes
                                                 Solution                                                 Research should be done to understand the
                                                 Deploy a network intrusion prevention solution,          information host-based IPS can access on
                                                 where appropriate. Example implementations               a system and whether there are any privacy
                                                 include the use of a Network Intrusion Prevention        implications associated with the deployment.
                                                 System (NIPS) or equivalent CSP service.




CIS Controls Privacy Companion Guide                                                                         Control 13: Network Monitoringand Defense             Page 54
  Case
    Case
       8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM Document
                                 Document88-8
                                           127-7 Filed
                                                     Filed
                                                        11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         60 98
                                                                            of 84
                                                                               of 122
                                                                                   Page
                                  Page
                                     ID #:2972
                                        ID #:4883
CIS Control 13: Network Monitoring and Defense
Safeguard        Asset            Security       Control Title/                                        Applicability Included?
                 Type             Function       Description                                           Applicability Justification and Privacy Considerations

13.9          -Devices-          -Protect- Deploy Port-Level Access Control                            No
                                           Deploy port-level access control. Port-level access         There are no privacy impacts of using port-level
                                           control utilizes 802.1x, or similar network access          access control for network access.
                                           control protocols, such as certificates, and may
                                           incorporate user and/or device authentication.

13.10         -Network-          -Protect- Perform Application Layer Filtering                         Yes
                                           Perform application layer filtering. Example                While these tools can help enable privacy by
                                           implementations include a filtering proxy,                  preventing a breach, they may learn and store
                                           application layer firewall, or gateway.                     detailed information about individual users. Where
                                                                                                       that data is stored and how it is treated is also a
                                                                                                       concern.

13.11         -Network-          -Detect-        Tune Security Event Alerting Thresholds               Yes
                                                 Tune security event alerting thresholds monthly, or   If alerts are exposing or storing sensitive
                                                 more frequently.                                      information, the thresholds should be appropriately
                                                                                                       tuned. Ensure alerts are communicated in a
                                                                                                       secure manner.




CIS Controls Privacy Companion Guide                                                                      Control 13: Network Monitoringand Defense             Page 55
    Case
      Case
         8:24-cv-01997-WLH-DFM
            8:24-cv-01997-JLS-DFM Document
                                   Document88-8
                                             127-7 Filed
                                                       Filed
                                                          11/27/24
                                                             01/08/25 Page
                                                                        Page
                                                                           61 99
                                                                              of 84
                                                                                 of 122
                                                                                     Page
                                    Page
                                       ID #:2973
                                          ID #:4884




      14                                Security Awareness
CONTROL

                                        and Skills Training
 Overview	                              Establish and maintain a security awareness program to influence behavior
                                        among the workforce to be security conscious and properly skilled to reduce
                                        cybersecurity risks to the enterprise.


 Privacy Applicability

                                        This Control is intended to ensure that employees and contractors receive security training
                                        targeted toward their particular role and responsibilities. Security awareness training often
                                        includes privacy as a component of the overall curriculum, but due to the scope of this Privacy
                                        Guide, this Control will be viewed through the lens of performing privacy awareness training.
                                        As such, many of the Controls are directly applicable.

 Privacy Implications
                                        •   IT administrators with enhanced privileges and access may make poor privacy decisions
                                            if they are not trained on appropriate use of their access and consequences of privacy
                                            breaches or violations. IT staff appropriately configuring systems across the enterprise to
                                            refrain from collecting certain types of PII and other personal data is an opportunity to
                                            make a large, positive privacy impact.
                                        •   Failure to provide privacy awareness training may conflict with existing regulation and
                                            other compliance requirements.
                                        •   Users should understand the privacy policies of the enterprise and how to appropriately
                                            protect their own information.
                                        •   Contractors and third-party service providers should understand the privacy requirements
                                            mandated by the organization. Ultimately, this is up to the primary enterprise to
                                            communicate privacy requirements and ensure they are met.

                                        Data Collection

                                        PII and other personal data may not be specifically collected for this Control, with the
                                        exception of which individuals successfully completed privacy training.

                                        Data Storage

                                        The list of which employees completed privacy training is likely not the highest priority for
                                        securing. Yet, this information could still be valuable to an attacker (e.g., for phishing) and
                                        should be appropriately protected.

 Additional Discussion

                                        Note that security awareness training on its own is not necessarily a substitute for privacy
                                        awareness training, although security awareness training seminars are a great time to also
                                        provide privacy training. All employees should be specifically trained for privacy impacts to
                                        employees and contractors in the workplace. Different roles will require specific types of
                                        training, as certain roles will have access to PII, whereas other roles will have access to other
                                        types of sensitive information. Developers, system engineers, and software architects may
                                        need dedicated training in privacy engineering.




 CIS Controls Privacy Companion Guide                                                   Control 14: Security Awareness and Skills Training   Page 56
  Case
   Case8:24-cv-01997-WLH-DFM
         8:24-cv-01997-JLS-DFM Document
                                Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       62100
                                                                          of 84
                                                                              of 122
                                                                                  Page
                                 Page
                                    ID #:2974
                                       ID #:4885

                                       How that data is used, and protected, could be unique as there may be specific regulatory
                                       compliance policies that need to be followed. This is especially true for those job functions
                                       that regularly work with PII and other sensitive information. Training should occur at all levels
                                       of technical staff on privacy, socializing privacy policies to users, and promoting good behavior
                                       in protecting privacy information.

                                       Privacy training should encompass multiple topics. One of the most important topics is
                                       providing an understanding of how to identify personal data or data that could be considered
                                       personal data, especially if combined with other data. The following are also relevant topics
                                       that can be included:

                                       •   Understanding what data may be labeled sensitive under any applicable regulatory
                                           frameworks and compliance requirements
                                       •   Addressing personal data on mobile devices, including BYOD
                                       •   How to prevent, report, and mitigate a breach of personal data
                                       •   Precautions for handling different types of personal data
                                       •   The risks of de-identified data being re-identified
                                       •   How to use de-identified aggregate data rather individual data to achieve the
                                           same purpose
                                       •   The enterprise’s current policies surrounding the protection of private information

                                       This privacy awareness training should receive regular updates, and employees should retake
                                       the training at regular intervals. The enterprise should track attendance and completion
                                       of training.

                                       The Department of Homeland Security provides a resource for privacy training. These
                                       include major federal statutes, guidelines, and policies related to privacy in the United States.
                                       Additionally, ideas are provided for promoting privacy awareness, and measuring success
                                       for training activities. The US Nuclear Regulatory Commission’s (NRC) privacy training can
                                       be a useful example for enterprises beginning to perform privacy training, as can the State of
                                       California Department of Aging.

Fair Information Practice Principles
                                       •   The Collection Limitation Principle. N/A
                                       •   The Data Quality Principle. N/A
                                       •   The Purpose Specification Principle. N/A
                                       •   The Use Limitation Principle. N/A
                                       •   The Security Safeguards Principle. N/A
                                       •   The Openness Principle. N/A
                                       •   The Individual Participation Principle. N/A
                                       •   The Accountability Principle. N/A




CIS Controls Privacy Companion Guide                                                    Control 14: Security Awarenessand Skills Training   Page 57
  Case
   Case8:24-cv-01997-WLH-DFM
         8:24-cv-01997-JLS-DFM Document
                                Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       63101
                                                                          of 84
                                                                              of 122
                                                                                  Page
                                 Page
                                    ID #:2975
                                       ID #:4886

General Data Protection Regulation Principles

                                                  The GDPR principles don’t specifically apply to cybersecurity training and awareness, but
                                                  employees should be made aware of any responsibilities they have under GDPR. This may be
                                                  specific to certain employees working on products used by EU citizens.

                                                  •      Lawfulness, fairness, and transparency. N/A
                                                  •      Purpose limitation. N/A
                                                  •      Data minimization. N/A
                                                  •      Accuracy of data. N/A
                                                  •      Storage limitation. N/A
                                                  •      Integrity and confidentiality. N/A

Control 14 Privacy Applicability Table

CIS Control 14: Security Awareness and Skills Training
Safeguard         Asset             Security      Control Title/                                            Applicability Included?
                  Type              Function      Description                                               Applicability Justification and Privacy Considerations

14.1                              -Protect- Establish and Maintain a Security                               Yes
                                                  Awareness Program                                         Establishing and maintaining a privacy training
                                                  Establish and maintain a security awareness               program is a critical part of an enterprise
                                                  program. The purpose of a security awareness              protecting PII and other sensitive information.
                                                  program is to educate the enterprise’s workforce
                                                  on how to interact with enterprise assets and data
                                                  in a secure manner. Conduct training at hire and, at
                                                  a minimum, annually. Review and update content
                                                  annually, or when significant enterprise changes
                                                  occur that could impact this Safeguard.

14.2                              -Protect- Train Workforce Members to Recognize                            Yes
                                                  Social Engineering Attacks                                Employees should understand when someone is
                                                  Train workforce members to recognize social               attempting to obtain PII and other personal data
                                                  engineering attacks, such as phishing, pre-texting,       from individuals or the enterprise.
                                                  and tailgating.

14.3                              -Protect- Train Workforce Members on                                      Yes
                                                  Authentication Best Practices                             Certain methods of authentication are more
                                                  Train workforce members on authentication best            privacy preserving than others.
                                                  practices. Example topics include MFA, password
                                                  composition, and credential management.

14.4                              -Protect- Train Workforce on Data Handling Best                           Yes
                                                  Practices                                                 Employees with responsibilities pertaining to PII
                                                  Train workforce members on how to identify                and other personal data should receive specific
                                                  and properly store, transfer, archive, and destroy        training for how to handle this data.
                                                  sensitive data. This also includes training workforce     The enterprise can also choose to train the
                                                  members on clear screen and desk best practices,          workforce on privacy tools and practices, such as
                                                  such as locking their screen when they step away          using privacy features of browsers, camera covers,
                                                  from their enterprise asset, erasing physical and         and more.
                                                  virtual whiteboards at the end of meetings, and
                                                  storing data and assets securely.

14.5                              -Protect- Train Workforce Members on Causes of                            Yes
                                                  Unintentional Data Exposure                               Employees with responsibilities pertaining to PII
                                                  Train workforce members to be aware of causes for         and other personal data should receive specific
                                                  unintentional data exposure. Example topics include       training for how to recognize unintentional data
                                                  misdelivery of sensitive data, losing a portable          exposure.
                                                  end-user device, or publishing data to unintended
                                                  audiences.




CIS Controls Privacy Companion Guide                                                                      Control 14: Security Awarenessand Skills Training          Page 58
  Case
   Case8:24-cv-01997-WLH-DFM
         8:24-cv-01997-JLS-DFM Document
                                Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       64102
                                                                          of 84
                                                                              of 122
                                                                                  Page
                                 Page
                                    ID #:2976
                                       ID #:4887
CIS Control 14: Security Awareness and Skills Training
Safeguard         Asset             Security      Control Title/                                            Applicability Included?
                  Type              Function      Description                                               Applicability Justification and Privacy Considerations

14.6                              -Protect- Train Workforce Members on Recognizing                          Yes
                                                  and Reporting Security Incidents                          Employees need to receive specific training
                                                  Train workforce members to be able to recognize           about recognizing security and privacy incidents
                                                  a potential incident and be able to report such an        related to PII.
                                                  incident.

14.7                              -Protect- Train Workforce on How to Identify and                          No
                                                  Report if their Enterprise Assets are                     Although an important security control, there is no
                                                  Missing Security Updates                                  specific action to take here for private information.
                                                  Train workforce to understand how to verify and
                                                  report out-of-date software patches or any failures
                                                  in automated processes and tools. Part of this
                                                  training should include notifying IT personnel of any
                                                  failures in automated processes and tools.

14.8                              -Protect- Train Workforce on the Dangers of                               Yes
                                                  Connecting to and Transmitting Enterprise                 Employees should understand the dangers of
                                                  Data Over Insecure Networks                               sending personal data without the appropriate
                                                  Train workforce members on the dangers of                 security controls protecting that data and know
                                                  connecting to, and transmitting data over, insecure       how to avoid making that mistake.
                                                  networks for enterprise activities. If the enterprise
                                                  has remote workers, training must include guidance
                                                  to ensure that all users securely configure their
                                                  home network infrastructure.

14.9                              -Protect- Conduct Role-Specific Security Awareness                        Yes
                                                  and Skills Training                                       Employees with responsibilities pertaining to PII
                                                  Conduct role-specific security awareness and skills       and other personal data should receive specific
                                                  training. Example implementations include secure          training for how to handle their personal data.
                                                  system administration courses for IT professionals,
                                                  OWASP® Top 10 vulnerability awareness and
                                                  prevention training for web application developers,
                                                  and advanced social engineering awareness
                                                  training for high-profile roles.




CIS Controls Privacy Companion Guide                                                                      Control 14: Security Awarenessand Skills Training          Page 59
    Case
     Case8:24-cv-01997-WLH-DFM
           8:24-cv-01997-JLS-DFM Document
                                  Document88-8
                                            127-7 Filed
                                                     Filed
                                                         11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         65103
                                                                            of 84
                                                                                of 122
                                                                                    Page
                                   Page
                                      ID #:2977
                                         ID #:4888




      15                                Service Provider
CONTROL

                                        Management
 Overview	                              Develop a process to evaluate service providers who hold sensitive data, or are
                                        responsible for an enterprise’s critical IT platforms or processes, to ensure these
                                        providers are protecting those platforms and data appropriately.


 Privacy Applicability

                                        It is quite common for an enterprise to leverage cloud service providers (CSPs) for email
                                        or storage. This Control covers actions that should be taken to ensure that third-party
                                        service providers are properly securing their customer’s data, and their own systems. The
                                        recommended measures for this Control include understanding what service providers are
                                        in use, what types of data they store, and monitoring their performance. All of these activities
                                        are applicable to privacy, as it is common for third-party service providers to store and
                                        process PII and other personal data, such as is the case with HR information. Each Safeguard
                                        within this Control can be successfully applied to privacy. When possible, consider choosing
                                        providers that have privacy certifications or some other independent auditing of their own
                                        privacy practices.

 Privacy Implications
                                        •   Service providers may utilize, sell, or share PII and other personal data obtained via
                                            their customers.
                                        •   Personal data could be provided directly as part of a business function or created via the
                                            use of a product or service such as the case for firewalls or other network appliances. In
                                            both cases, the owner of the personal data has a responsibility to keep this information
                                            from being disclosed. Examples of sensitive information that may be handled by third-party
                                            organizations include:

                                            •   HR records and other PII
                                            •   Log files for workstations, servers, and network appliances
                                            •   DNS records
                                            •   URL filtering data
                                            •   Hardware, software, data, and other types of inventories

                                        Data Collection

                                        What data can be collected by a service provider is an extremely important question to settle
                                        before a service is used. Data that the service provider is able to collect should be clearly
                                        stated in service-level agreements (SLAs). Specific types of data should be discussed, as
                                        should be whether the service provider can use your data within their products or sell the data
                                        to other organizations.

                                        Data Storage

                                        Security controls relating to the security of PII and other personal data should be explicitly
                                        written and agreed upon before usage.




 CIS Controls Privacy Companion Guide                                                          Control 15: Service Provider Management   Page 60
  Case
   Case8:24-cv-01997-WLH-DFM
         8:24-cv-01997-JLS-DFM Document
                                Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       66104
                                                                          of 84
                                                                              of 122
                                                                                  Page
                                 Page
                                    ID #:2978
                                       ID #:4889

Additional Discussion

                                       Third-party service providers are breached from time to time, and their customers’ data may
                                       be included in this breach. It is important to keep a handle on the data collection and security
                                       controls that service providers have in place. Informing them of privacy expectations at the
                                       outset of any discussions about business partnerships may be worthwhile, as they may be
                                       unable to comply with certain privacy regulations. The geographic location that a service
                                       provider operates out of likely dictates the privacy rules they must adhere to. It may be wise
                                       to choose a service provider from a jurisdiction without privacy or data protection laws unless
                                       they can demonstrate that they adhere to high data protection standards through external
                                       certification or other trusted mechanism.

Fair Information Practice Principles
                                       •   The Collection Limitation Principle. Service providers should not collect PII and other
                                           personal data, unless required.
                                       •   The Data Quality Principle. PII and other personal data collected by service providers or
                                           shared by the enterprise with service providers (as needed) should only be used while
                                           providing the product or service they were contracted for.
                                       •   The Purpose Specification Principle. Employees should be informed what information will
                                           be collected by service providers and how the information will be used.
                                       •   The Use Limitation Principle. Employees should be informed if data collected by service
                                           providers will be transferred to other systems owned by third-party service providers.
                                       •   The Security Safeguards Principle. Care should be taken to secure any shared data.
                                       •   The Openness Principle. Employees with PII and other personal data collected
                                           by enterprise systems should understand what external systems may contain their
                                           personal data.
                                       •   The Individual Participation Principle. This is unlikely to be implementable without serious
                                           discussion with any service providers beforehand. Employees should have the ability to
                                           reasonably request to see what data is stored about them.
                                       •   The Accountability Principle. It will be uncommon to find service providers who comply
                                           with many of the FIPPs.

General Data Protection Regulation Principles
                                       •   Lawfulness, fairness, and transparency. Employees should have the opportunity to make
                                           an informed decision on the type of personal data that will be shared to a third-party
                                           service provider. A lawful basis is needed for collecting personal data, and this service
                                           provider may need to comply with GDPR regulations if they are acting on your behalf and
                                           processing data from specific individuals.
                                       •   Purpose limitation. Employees should be informed what information will be collected
                                           by service providers and how the information will be used. Third-party service providers
                                           should not have the ability to access more information than they require.
                                       •   Data minimization. Third-party service providers should not have the ability to access
                                           more information than they require. Written processes and contracts should be in place to
                                           avoid undesirable personal data collection by service providers.
                                       •   Accuracy of data. Any personal data shared with service providers should be maintained
                                           with written processes documented for how user data in backups is maintained and how
                                           incorrect data can be corrected or, more likely, removed. Service providers must implement
                                           these same procedures.
                                       •   Storage limitation. User data should only be stored for as long as needed, if it is needed at
                                           all. Obsolete or unnecessary user data should be deleted without delay.




CIS Controls Privacy Companion Guide                                                          Control 15: Service ProviderManagement   Page 61
  Case
   Case8:24-cv-01997-WLH-DFM
         8:24-cv-01997-JLS-DFM Document
                                Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       67105
                                                                          of 84
                                                                              of 122
                                                                                  Page
                                 Page
                                    ID #:2979
                                       ID #:4890
                                              •   Integrity and confidentiality. The CIS Controls can be leveraged to enable this principle,
                                                  such as Control 3 and Control 15. Specifically, obtaining evidence that any service provider
                                                  is leveraging a security framework is necessary.

Control 15 Privacy Applicability Table

CIS Control 15: Service Provider Management
Safeguard        Asset            Security    Control Title/                                          Applicability Included?
                 Type             Function    Description                                             Applicability Justification and Privacy Considerations

15.1                            -Identify- Establish and Maintain an Inventory of                     Yes
                                              Service Providers                                       An inventory of which service providers store what
                                              Establish and maintain an inventory of service          types of PII and personal data should be developed
                                              providers. The inventory is to list all known service   and maintained.
                                              providers, include classification(s), and designate
                                              an enterprise contact for each service provider.
                                              Review and update the inventory annually, or when
                                              significant enterprise changes occur that could
                                              impact this Safeguard.

15.2                            -Identify- Establish and Maintain a Service Provider                  Yes
                                              Management Policy                                       Privacy expectations should be built into this
                                              Establish and maintain a service provider               service provider management policy.
                                              management policy. Ensure the policy addresses
                                              the classification, inventory, assessment,
                                              monitoring, and decommissioning of service
                                              providers. Review and update the policy annually,
                                              or when significant enterprise changes occur that
                                              could impact this Safeguard.

15.3                            -Identify- Classify Service Providers                                 Yes
                                           Classify service providers. Classification                 Providers can be classified based on access to PII,
                                           consideration may include one or more                      personal data, and any regulations that would be
                                           characteristics, such as data sensitivity, data            applicable specifically due to personal data.
                                           volume, availability requirements, applicable
                                           regulations, inherent risk, and mitigated risk.
                                           Update and review classifications annually, or when
                                           significant enterprise changes occur that could
                                           impact this Safeguard.

15.4                             -Protect- Ensure Service Provider Contracts Include                  Yes
                                              Security Requirements                                   For this Safeguard, it is recommended that privacy
                                              Ensure service provider contracts include security      requirements also be included within service
                                              requirements. Example requirements may include          provider contracts.
                                              minimum security program requirements; security
                                              incident and/or data breach notification and
                                              response; data encryption requirements; and data
                                              disposal commitments; and must be consistent
                                              with the enterprise’s service provider management
                                              policy. Review service provider contracts annually
                                              to ensure contracts are not missing security
                                              requirements.

15.5                            -Identify- Assess Service Providers                                   Yes
                                           Assess service providers consistent with the               Enterprises should assess their service providers
                                           enterprise’s service provider management                   and their defensive mitigations used to protect PII
                                           policy. Assessment scope may vary based on                 and other personal data.
                                           classification(s), and may include review of
                                           standardized assessment reports, such as Service
                                           Organizational Control 2 (SOC 2) and Payment Card
                                           Industry (PCI) Attestation of Compliance (AoC),
                                           customized questionnaire, or other appropriately
                                           rigorous process. Reassess service providers
                                           annually, at a minimum, or with new and renewed
                                           contracts.




CIS Controls Privacy Companion Guide                                                                         Control 15: Service ProviderManagement            Page 62
  Case
   Case8:24-cv-01997-WLH-DFM
         8:24-cv-01997-JLS-DFM Document
                                Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       68106
                                                                          of 84
                                                                              of 122
                                                                                  Page
                                 Page
                                    ID #:2980
                                       ID #:4891
CIS Control 15: Service Provider Management
Safeguard        Asset            Security    Control Title/                                     Applicability Included?
                 Type             Function    Description                                        Applicability Justification and Privacy Considerations

15.6            -Data-           -Detect-     Monitor Service Providers                          Yes
                                              Monitor service providers consistent with the      Periodic assessment of service provider storage,
                                              enterprise’s service provider management policy.   collection, and handling of PII and other personal
                                              Monitoring may include periodic reassessment of    data should be performed.
                                              service provider compliance, monitoring service
                                              provider release notes, and dark web monitoring.

15.7            -Data-           -Protect- Securely Decommission Service Providers               Yes
                                           Securely decommission service providers. Example      Once a service provider is no longer being actively
                                           considerations include user and service account       used, PII and other personal data should be
                                           deactivation, termination of data flows, and secure   securely deleted from their systems.
                                           disposal of enterprise data within service provider
                                           systems.




CIS Controls Privacy Companion Guide                                                                    Control 15: Service ProviderManagement            Page 63
    Case
     Case8:24-cv-01997-WLH-DFM
           8:24-cv-01997-JLS-DFM Document
                                  Document88-8
                                            127-7 Filed
                                                     Filed
                                                         11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         69107
                                                                            of 84
                                                                                of 122
                                                                                    Page
                                   Page
                                      ID #:2981
                                         ID #:4892




      16                                Application Software
CONTROL

                                        Security
 Overview	                              Manage the security lifecycle of in-house developed, hosted, or acquired software
                                        to prevent, detect, and remediate security weaknesses before they can impact
                                        the enterprise.


 Privacy Applicability

                                        This Control principally focuses on efforts that software architects and developers can take
                                        to prevent exploitable vulnerabilities in their code. These exploitable vulnerabilities could
                                        potentially lead to unauthorized exposure of PII and other personal data. With that said, most
                                        of the Safeguards contained within this Control are not directly related to protecting PII.
                                        Therefore, they will be listed as not applicable.

 Privacy Implications
                                        •   All developers should be trained on privacy requirements pertaining to software handling
                                            PII and other personal data and how to include privacy in the design of software.
                                        •   Third-party software libraries, components, and application programming interfaces (APIs)
                                            may collect information that they process. They may also fingerprint users, which could be
                                            used for tracking.
                                        •   Applications might have logging or error messages that write data to help identify and
                                            troubleshoot problems. There is a chance that some of this data might have privacy
                                            requirements; it is important to evaluate all logs, backups, and cache stores where privacy
                                            data might be permanently or temporarily stored.
                                        •   Failure to provide or require appropriate security controls to third-party software
                                            developers with access to PII and other personal data.

                                        Data Collection

                                        Third-party software libraries and application programming interfaces (APIs) may collect
                                        information through their usage, such as is the case with log data. Data that these third-party
                                        components can collect should be clearly stated in SLAs. Implement regular auditing of
                                        regulatory and third-party agreement requirements to verify who has access to privacy data.

                                        Data Storage

                                        Security controls relating to the security of your data should be explicitly written down and
                                        agreed upon with third-party component providers before usage. Ensure there are data
                                        governance processes that identify all PII or privacy related data, where it is stored, and who
                                        should have access. Apply controls and monitoring to these accounts.

 Additional Discussion

                                        The software development processes used by the company should identify any additional
                                        tasks that need to be accomplished when writing software handling PII, and software
                                        engineers should be trained on handling PII and other personal data. When designing
                                        software, additional scrutiny should be provided to applications, modules, and logic that
                                        handle personal data. Processes should also be established for receiving information on
                                        vulnerabilities from external sources related to systems that contain privacy data. These
                                        vulnerabilities can have an outsized impact if exploited, or if made public, and accordingly
                                        these vulnerabilities may need to be placed toward the top end of the remediation queue.


 CIS Controls Privacy Companion Guide                                                          Control 16: Application Software Security   Page 64
  Case
   Case8:24-cv-01997-WLH-DFM
         8:24-cv-01997-JLS-DFM Document
                                Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       70108
                                                                          of 84
                                                                              of 122
                                                                                  Page
                                 Page
                                    ID #:2982
                                       ID #:4893

                                       Third-party components are a necessary commodity in modern software engineering and
                                       design. While these components are often necessary, third-party components handling PII
                                       should be given extra attention, inventoried, and validated accordingly. Be sure to regularly
                                       monitor publicly released vulnerabilities reported for these companies and the software
                                       they use within their technology stack. Many third-party components are not meant to be
                                       connected to the internet. Applications and other components that do not require network
                                       access should be placed within a private network that lacks external access.

                                       Threat modeling activities are useful exercises in understanding how external and internal
                                       threat actors may attempt to steal personal data. These modeling activities should explicitly
                                       take into account personal data, with focused reviews for personal datastores and other
                                       applications that access PII.

                                       Many enterprises have privacy policies on their websites and customer facing applications.
                                       These policies define what information is collected, how it’s used and shared, and how
                                       it’s protected. Consider posting a privacy policy for internal business applications. This is
                                       true for traditional operating system-based applications, alongside mobile and web-based
                                       applications.

Fair Information Practice Principles
                                       •   The Collection Limitation Principle. Third-party software libraries, components, APIs,
                                           and external software developers should not collect PII and other personal data unless
                                           explicitly required.
                                       •   The Data Quality Principle. PII and other personal data collected by third-party software
                                           libraries, components, APIs, and external software developers should only be used for the
                                           business process they were designed for.
                                       •   The Purpose Specification Principle. Employees should be informed of what information
                                           will be collected by third-party software libraries, components, APIs, and external software
                                           developers and how the information will be used.
                                       •   The Use Limitation Principle. Employees should be informed if data collected by third-
                                           party software libraries, components, APIs, and external software developers will be
                                           transferred to other systems owned by third-party service providers.
                                       •   The Security Safeguards Principle. Care should be taken to secure any data that likely
                                           includes PII and other personal data.
                                       •   The Openness Principle. Employees with PII and other personal data collected
                                           by enterprise systems should understand what external systems may contain their
                                           personal data.
                                       •   The Individual Participation Principle. This is unlikely to be implementable without serious
                                           discussion with any service providers beforehand. Employees should have the ability to
                                           reasonably request to see what data is stored about them.
                                       •   The Accountability Principle. It will be uncommon to find service providers who comply
                                           with many of the FIPPs.

General Data Protection Regulation Principles
                                       •   Lawfulness, fairness, and transparency. Employees should have the opportunity to make
                                           an informed decision on the type of personal data that will be collected by third-party
                                           software libraries, components, APIs, and external software developers. A lawful basis is
                                           needed for collecting personal data.
                                       •   Purpose limitation. Third-party software libraries, components, APIs, and external software
                                           developers should not be intentionally configured with the ability to collect PII and other
                                           personal data. Users should be informed in writing when their data is to be shared.
                                       •   Data minimization. Personal data should not be collected unless it is necessary. Written
                                           processes should be in place to avoid undesirable personal data collection.


CIS Controls Privacy Companion Guide                                                         Control 16: Application Software Security   Page 65
  Case
   Case8:24-cv-01997-WLH-DFM
         8:24-cv-01997-JLS-DFM Document
                                Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       71109
                                                                          of 84
                                                                              of 122
                                                                                  Page
                                 Page
                                    ID #:2983
                                       ID #:4894
                                                •   Accuracy of data. Any personal data should be maintained with written processes
                                                    documented for how user data is maintained and how incorrect data can be corrected or,
                                                    more likely, removed.
                                                •   Storage limitation. User data should only be stored for as long as needed, if it is needed at
                                                    all. Obsolete or unnecessary user data should be deleted without delay.
                                                •   Integrity and confidentiality. The CIS Controls can be leveraged to enable this principle,
                                                    such as Control 3: Data Protection for protecting this information. Personal data should be
                                                    protected from unauthorized access, modification, and disclosure and can be leveraged by
                                                    an attacker to obtain unauthorized access to an enterprise’s systems.

Control 16 Privacy Applicability Table

CIS Control 16: Application Software Security
Safeguard         Asset             Security    Control Title/                                           Applicability Included?
                  Type              Function    Description                                              Applicability Justification and Privacy Considerations

16.1        -Applications-        -Protect- Establish and Maintain a Secure Application                  Yes
                                                Development Process                                      Software engineers should be trained on handling
                                                Establish and maintain a secure application              PII and other personal data and how to include
                                                development process. In the process, address             privacy considerations in the design of their
                                                such items as secure application design standards,       software.
                                                secure coding practices, developer training,
                                                vulnerability management, security of third-party
                                                code, and application security testing procedures.
                                                Review and update documentation annually, or
                                                when significant enterprise changes occur that
                                                could impact this Safeguard.

16.2        -Applications-        -Protect- Establish and Maintain a Process to Accept                   Yes
                                                and Address Software Vulnerabilities                     IT systems handling PII and other personal data
                                                Establish and maintain a process to accept and           may need to have their vulnerabilities prioritized
                                                address reports of software vulnerabilities, including   over others. It may be wise to carve out a specific
                                                providing a means for external entities to report. The   section of this process to address privacy
                                                process is to include such items as a vulnerability      vulnerabilities.
                                                handling policy that identifies reporting process,
                                                responsible party for handling vulnerability reports,
                                                and a process for intake, assignment, remediation,
                                                and remediation testing. As part of the process,
                                                use a vulnerability tracking system that includes
                                                severity ratings, and metrics for measuring timing
                                                for identification, analysis, and remediation of
                                                vulnerabilities. Review and update documentation
                                                annually, or when significant enterprise changes
                                                occur that could impact this Safeguard.
                                                Third-party application developers need to consider
                                                this an externally-facing policy that helps to set
                                                expectations for outside stakeholders.

16.3        -Applications-        -Protect- Perform Root Cause Analysis on Security                      No
                                                Vulnerabilities                                          Although an important activity, there is no direct
                                                Perform root cause analysis on security                  privacy impact.
                                                vulnerabilities. When reviewing vulnerabilities, root
                                                cause analysis is the task of evaluating underlying
                                                issues that creates vulnerabilities in code, and
                                                allows development teams to move beyond just
                                                fixing individual vulnerabilities as they arise.




CIS Controls Privacy Companion Guide                                                                            Control 16: Application Software Security         Page 66
  Case
   Case8:24-cv-01997-WLH-DFM
         8:24-cv-01997-JLS-DFM Document
                                Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       72110
                                                                          of 84
                                                                              of 122
                                                                                  Page
                                 Page
                                    ID #:2984
                                       ID #:4895
CIS Control 16: Application Software Security
Safeguard         Asset             Security    Control Title/                                           Applicability Included?
                  Type              Function    Description                                              Applicability Justification and Privacy Considerations

16.4        -Applications-        -Protect- Establish and Manage an Inventory of                         Yes
                                                Third-Party Software Components                          Any third-party component handling personal data
                                                Establish and manage an updated inventory of             should be afforded additional scrutiny, inventoried,
                                                third-party components used in development,              and validated accordingly.
                                                often referred to as a “bill of materials,” as well as
                                                components slated for future use. This inventory
                                                is to include any risks that each third-party
                                                component could pose. Evaluate the list at least
                                                monthly to identify any changes or updates to these
                                                components, and validate the component is still
                                                supported.

16.5        -Applications-        -Protect- Use Up-to-Date and Trusted Third-Party                       No
                                                Software Components                                      There are no privacy specific aspects of keeping
                                                Use up-to-date and trusted third-party software          third-party components up-to-date.
                                                components. When possible, choose established
                                                and proven frameworks and libraries that provide
                                                adequate security. Acquire these components
                                                from trusted sources or evaluate the software for
                                                vulnerabilities before use.

16.6        -Applications-        -Protect- Establish and Maintain a Severity Rating                     Yes
                                                System and Process for Application                       IT systems handling PII and other personal data
                                                Vulnerabilities                                          may need to have their vulnerabilities prioritized
                                                Establish and maintain a severity rating system          over others.
                                                and process for application vulnerabilities that
                                                facilitates prioritizing the order in which discovered
                                                vulnerabilities are fixed. This process includes
                                                setting a minimum level of security acceptability
                                                for releasing code or applications. Severity ratings
                                                bring a systematic way of triaging vulnerabilities
                                                that improves risk management and helps ensure
                                                the most severe bugs are fixed first. Review and
                                                update the system and process annually.

16.7        -Applications-        -Protect- Use Standard Hardening Configuration                         No
                                                Templates for Application Infrastructure                 This should be performed for all application
                                                Use standard, industry-recommended hardening             infrastructure, regardless of the types of data
                                                configuration templates for application                  stored within.
                                                infrastructure components. This includes underlying
                                                servers, databases, and web servers, and applies
                                                to cloud containers, Platform as a Service (PaaS)
                                                components, and SaaS components. Do not
                                                allow in-house developed software to weaken
                                                configuration hardening.

16.8        -Applications-        -Protect- Separate Production and                                      No
                                                Non-Production Systems                                   Although an important Safeguard, there are no
                                                Maintain separate environments for production and        privacy specific impacts.
                                                non-production systems.

16.9        -Applications-        -Protect- Train Developers in Application Security                     No
                                                Concepts and Secure Coding                               This should happen for all developers. No privacy
                                                Ensure that all software development personnel           impact. This is an opportunity to train developers
                                                receive training in writing secure code for              on the core concepts of privacy engineering.
                                                their specific development environment and
                                                responsibilities. Training can include general
                                                security principles and application security standard
                                                practices. Conduct training at least annually and
                                                design in a way to promote security within the
                                                development team, and build a culture of security
                                                among the developers.




CIS Controls Privacy Companion Guide                                                                            Control 16: Application Software Security         Page 67
  Case
   Case8:24-cv-01997-WLH-DFM
         8:24-cv-01997-JLS-DFM Document
                                Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       73111
                                                                          of 84
                                                                              of 122
                                                                                  Page
                                 Page
                                    ID #:2985
                                       ID #:4896
CIS Control 16: Application Software Security
Safeguard         Asset             Security    Control Title/                                          Applicability Included?
                  Type              Function    Description                                             Applicability Justification and Privacy Considerations

16.10       -Applications-        -Protect- Apply Secure Design Principles in                           No
                                                Application Architectures                               This should happen for all developers. No privacy
                                                Apply secure design principles in application           impact. This is an opportunity to train developers
                                                architectures. Secure design principles include the     on the core concepts of privacy engineering.
                                                concept of least privilege and enforcing mediation
                                                to validate every operation that the user makes,
                                                promoting the concept of “never trust user input.”
                                                Examples include ensuring that explicit error
                                                checking is performed and documented for all
                                                input, including for size, data type, and acceptable
                                                ranges or formats. Secure design also means
                                                minimizing the application infrastructure attack
                                                surface, such as turning off unprotected ports and
                                                services, removing unnecessary programs and files,
                                                and renaming or removing default accounts.

16.11       -Applications-        -Protect- Leverage Vetted Modules or Services for                     No
                                                Application Security Components                         Vetted modules and services should be leveraged
                                                Leverage vetted modules or services for application     regardless of data type. There is no privacy impact.
                                                security components, such as identity management,
                                                encryption, and auditing and logging. Using
                                                platform features in critical security functions will
                                                reduce developers’ workload and minimize the
                                                likelihood of design or implementation errors.
                                                Modern operating systems provide effective
                                                mechanisms for identification, authentication,
                                                and authorization and make those mechanisms
                                                available to applications. Use only standardized,
                                                currently accepted, and extensively reviewed
                                                encryption algorithms. Operating systems also
                                                provide mechanisms to create and maintain secure
                                                audit logs.

16.12       -Applications-        -Protect- Implement Code-Level Security Checks                        No
                                            Apply static and dynamic analysis tools within the          There are no privacy impacts within code-level
                                            application lifecycle to verify that secure coding          security checks.
                                            practices are being followed.

16.13       -Applications-        -Protect- Conduct Application Penetration Testing                     Yes
                                            Conduct application penetration testing. For critical       There is often a resource component to penetration
                                            applications, authenticated penetration testing is          testing, and certain systems receive more testing
                                            better suited to finding business logic vulnerabilities     than others. Systems containing PII and other
                                            than code scanning and automated security                   personal data should receive additional scrutiny
                                            testing. Penetration testing relies on the skill of the     from penetration testers.
                                            tester to manually manipulate an application as an
                                            authenticated and unauthenticated user.

16.14       -Applications-        -Protect- Conduct Threat Modeling                                     Yes
                                            Conduct threat modeling. Threat modeling is the             Threat modeling activities should include
                                            process of identifying and addressing application           additional and focused review for private
                                            security design flaws within a design, before code          datastores and other applications that access
                                            is created. It is conducted through specially trained       that data.
                                            individuals who evaluate the application design
                                            and gauge security risks for each entry point and
                                            access level. The goal is to map out the application,
                                            architecture, and infrastructure in a structured way
                                            to understand its weaknesses.




CIS Controls Privacy Companion Guide                                                                           Control 16: Application Software Security         Page 68
    Case
     Case8:24-cv-01997-WLH-DFM
           8:24-cv-01997-JLS-DFM Document
                                  Document88-8
                                            127-7 Filed
                                                     Filed
                                                         11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         74112
                                                                            of 84
                                                                                of 122
                                                                                    Page
                                   Page
                                      ID #:2986
                                         ID #:4897




      17                                Incident Response
CONTROL

                                        Management
 Overview	                              Establish a program to develop and maintain an incident response capability
                                        (e.g., policies, plans, procedures, defined roles, training, and communications) to
                                        prepare, detect, and quickly respond to an attack.


 Privacy Applicability

                                        This Control assists enterprises in planning for, and responding to, a cyber incident. Two
                                        aspects of privacy exist within this Control. The first is how to respond to a privacy incident,
                                        such as the unauthorized access or disclosure of personal or sensitive information. The
                                        second is how to maintain privacy for all individuals when responding to a cyber incident.

 Privacy Implications
                                        •   Incident response teams are often composed of internal stakeholders, internal and external
                                            technical experts, and legal staff. Throughout the course of their response duties, members
                                            of incident response teams may have access to personal data. For instance, when
                                            reviewing logs to understand the manner and date of unauthorized access and reviewing
                                            leaked databases to confirm the data’s origin, response team members are likely to view
                                            personal data. They may intentionally abuse or improperly handle their access to this
                                            information
                                        •   Cyber incidents often have a privacy component due to what enterprise resources were
                                            accessed, or what data was exfiltrated. This often brings local and federal privacy law
                                            into account. These laws may have specific mechanisms and timeframes for notifying the
                                            government and affected entities of a cybersecurity incident or data breach. Enterprises
                                            that do not appropriately notify may face fines or other legal action.
                                        •   Data breaches affecting PII need to be reported to the appropriate entities within pre-
                                            specified reporting timeframes.

                                        Data Collection

                                        Incident response team members will collect information from various systems across the
                                        enterprise network as they perform their duties to understand the manner and scope of an
                                        intrusion. Legal counsel may also obtain access to this data. It may be prudent to redact
                                        certain portions of information and obtain a nondisclosure agreement before providing this
                                        information to other entities.

                                        Data Storage

                                        All data collected during incident response activities needs to be protected as it is often
                                        personal data, but also may be needed for upcoming legal proceedings. Collected information
                                        may be stored outside of the primary enterprise, within a third-party incident response
                                        enterprise’s management platform. It is important to protect forensic data, and access to this
                                        data, similar to other privacy data.




 CIS Controls Privacy Companion Guide                                                        Control 17: Incident Response Management   Page 69
  Case
   Case8:24-cv-01997-WLH-DFM
         8:24-cv-01997-JLS-DFM Document
                                Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       75113
                                                                          of 84
                                                                              of 122
                                                                                  Page
                                 Page
                                    ID #:2987
                                       ID #:4898

Additional Discussion

                                       Data breach reporting requirements should also be built into incident response plans.
                                       Enterprises need to establish a process for responding to cyber incidents with a privacy
                                       component. This may take the form of distinct processes when dealing with a data breach.
                                       Using an external legal team to oversee incidents is often considered a best practice, as
                                       incident reports can be marked as “attorney client privileged.” Additionally, specific individuals
                                       should be assigned for analyzing PII and other sensitive information throughout the lifecycle
                                       of the breach investigation. Descriptions of incident response and forensic procedures should
                                       be disclosed, so that employees are aware. Incident response procedures dealing with privacy
                                       breaches should be regularly exercised.

Fair Information Practice Principles
                                       •   The Collection Limitation Principle. Incident response team members should not collect
                                           PII and other personal data unless explicitly required.
                                       •   The Data Quality Principle. PII and other personal data collected by incident response
                                           team members should only be used for incident response activities.
                                       •   The Purpose Specification Principle. Employees should be informed what information will
                                           be collected by an incident response team and how the information will be used.
                                       •   The Use Limitation Principle. Employees should be informed if data collected by incident
                                           response team members will be transferred to other systems owned by third-party
                                           service providers.
                                       •   The Security Safeguards Principle. Care should be taken to secure any data that likely
                                           includes PII and other personal data.
                                       •   The Openness Principle. Employees with PII and other personal data collected by an
                                           incident response team should understand what external systems may contain their
                                           personal data.
                                       •   The Individual Participation Principle. This is unlikely to be implementable without serious
                                           discussion with any service providers beforehand. Employees should have the ability to
                                           reasonably request to see what data is stored about them.
                                       •   The Accountability Principle. It will be uncommon to find service providers who comply
                                           with many of the FIPPs.

General Data Protection Regulation Principles
                                       •   Lawfulness, fairness, and transparency. Employees should have the opportunity to
                                           make an informed decision on the type of personal data that will be collected by incident
                                           response personnel. A lawful basis is needed for collecting personal data.
                                       •   Purpose limitation. PII and other personal data collected by incident response team
                                           members should only be used for incident response activities. Users should be informed in
                                           writing when their data is to be shared.
                                       •   Data minimization. Personal data should not be collected unless it is necessary during the
                                           course of a response. Written processes should be in place to avoid undesirable personal
                                           data collection, since the incident response process is often fast-paced.
                                       •   Accuracy of data. Any personal data should be maintained with written processes
                                           documented for how user data is maintained and how incorrect data can be corrected
                                           or, more likely, removed. This is very applicable to incident response as situations change
                                           rapidly and the incident response team may collect more information than is strictly
                                           necessary. Reviewing the collected information and deleting unnecessary information is a
                                           common practice.
                                       •   Storage limitation. User data should only be stored for as long as needed, if it is needed at
                                           all. Obsolete or unnecessary user data should be deleted without delay.



CIS Controls Privacy Companion Guide                                                        Control 17: Incident Response Management   Page 70
  Case
   Case8:24-cv-01997-WLH-DFM
         8:24-cv-01997-JLS-DFM Document
                                Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       76114
                                                                          of 84
                                                                              of 122
                                                                                  Page
                                 Page
                                    ID #:2988
                                       ID #:4899
                                               •   Integrity and confidentiality. The CIS Controls can be leveraged to enable this principle,
                                                   such as Control 3: Data Protection for protecting this information. Personal data collected
                                                   during the incident response process should be protected from unauthorized access,
                                                   modification, and disclosure and can be leveraged by an attacker to obtain unauthorized
                                                   access to an enterprise’s systems.

Control 17 Privacy Applicability Table

CIS Control 17: Incident Response Management
Safeguard        Asset           Security      Control Title/                                          Applicability Included?
                 Type            Function      Description                                             Applicability Justification and Privacy Considerations

17.1                           -Respond- Designate Personnel to Manage Incident                        Yes
                                               Handling                                                Personnel designated to handle incidents should
                                               Designate one key person, and at least one backup,      be trained on handling PII and other personal data.
                                               who will manage the enterprise’s incident handling      They should understand applicable regulatory
                                               process. Management personnel are responsible           requirements facing the enterprise.
                                               for the coordination and documentation of incident
                                               response and recovery efforts and can consist of
                                               employees internal to the enterprise, third-party
                                               vendors, or a hybrid approach. If using a third-party
                                               vendor, designate at least one person internal to the
                                               enterprise to oversee any third-party work. Review
                                               annually, or when significant enterprise changes
                                               occur that could impact this Safeguard.

17.2                           -Respond- Establish and Maintain Contact Information                    Yes
                                               for Reporting Security Incidents                        Contact information for responders should not be
                                               Establish and maintain contact information for          overly granular and contain only the required PII.
                                               parties that need to be informed of security
                                               incidents. Contacts may include internal staff,
                                               third-party vendors, law enforcement, cyber
                                               insurance providers, relevant government agencies,
                                               Information Sharing and Analysis Center (ISAC)
                                               partners, or other stakeholders. Verify contacts
                                               annually to ensure that information is up-to-date.

17.3                           -Respond- Establish and Maintain an Enterprise                          Yes
                                               Process for Reporting Incidents                         This process should closely follow local and
                                               Establish and maintain an enterprise process for the    national laws. Timeframes of notification, and who
                                               workforce to report security incidents. The process     to notify, can be different based on region. Failure
                                               includes reporting timeframe, personnel to report       to appropriately notify affected parties can result in
                                               to, mechanism for reporting, and the minimum            penalties against the enterprise.
                                               information to be reported. Ensure the process is
                                               publicly available to all of the workforce. Review
                                               annually, or when significant enterprise changes
                                               occur that could impact this Safeguard.

17.4                           -Respond- Establish and Maintain an Incident                            Yes
                                               Response Process                                        A process for responding to a privacy incident
                                               Establish and maintain an incident response             should be established. This may take the form of
                                               process that addresses roles and responsibilities,      special instructions when dealing with a broader
                                               compliance requirements, and a communication            cyber incident.
                                               plan. Review annually, or when significant enterprise
                                               changes occur that could impact this Safeguard.

17.5                           -Respond- Assign Key Roles and Responsibilities                         Yes
                                         Assign key roles and responsibilities for incident            Someone should be assigned for tracking the
                                         response, including staff from legal, IT, information         processing of PII and other private information.
                                         security, facilities, public relations, human                 There should also be someone designated for
                                         resources, incident responders and analysts, as               ensuring compliance with local regulatory and
                                         applicable. Review annually, or when significant              compliance requirements in regards to privacy.
                                         enterprise changes occur that could impact this
                                         Safeguard.




CIS Controls Privacy Companion Guide                                                                       Control 17: Incident Response Management             Page 71
  Case
   Case8:24-cv-01997-WLH-DFM
         8:24-cv-01997-JLS-DFM Document
                                Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       77115
                                                                          of 84
                                                                              of 122
                                                                                  Page
                                 Page
                                    ID #:2989
                                       ID #:4900
CIS Control 17: Incident Response Management
Safeguard        Asset           Security      Control Title/                                          Applicability Included?
                 Type            Function      Description                                             Applicability Justification and Privacy Considerations

17.6                           -Respond- Define Mechanisms for Communicating                           Yes
                                               During Incident Response                                Any communication methods should meet any
                                               Determine which primary and secondary                   regulatory or compliance requirements for privacy
                                               mechanisms will be used to communicate and              breaches.
                                               report during a security incident. Mechanisms can
                                               include phone calls, emails, or letters. Keep in mind
                                               that certain mechanisms, such as emails, can be
                                               affected during a security incident. Review annually,
                                               or when significant enterprise changes occur that
                                               could impact this Safeguard.

17.7                           -Recover- Conduct Routine Incident Response                             Yes
                                               Exercises                                               Incident response procedures dealing with privacy
                                               Plan and conduct routine incident response              breaches should be regularly exercised.
                                               exercises and scenarios for key personnel involved
                                               in the incident response process to prepare for
                                               responding to real-world incidents. Exercises need
                                               to test communication channels, decision-making,
                                               and workflows. Conduct testing on an annual basis,
                                               at a minimum.

17.8                           -Recover- Conduct Post-Incident Reviews                                 Yes
                                         Conduct post-incident reviews. Post-incident                  Post-incident reviews should be conducted for
                                         reviews help prevent incident recurrence through              all cyber incidents that involve PII and other
                                         identifying lessons learned and follow-up action.             personal data.

17.9                           -Recover- Establish and Maintain Security Incident                      Yes
                                               Thresholds                                              Security event thresholds should be established
                                               Establish and maintain security incident thresholds,    for cyber incidents that involve PII and other
                                               including, at a minimum, differentiating between        personal data.
                                               an incident and an event. Examples can include
                                               abnormal activity, security vulnerability, security
                                               weakness, data breach, privacy incident, etc.
                                               Review annually, or when significant enterprise
                                               changes occur that could impact this Safeguard.




CIS Controls Privacy Companion Guide                                                                       Control 17: Incident Response Management             Page 72
    Case
     Case8:24-cv-01997-WLH-DFM
           8:24-cv-01997-JLS-DFM Document
                                  Document88-8
                                            127-7 Filed
                                                     Filed
                                                         11/27/24
                                                           01/08/25 Page
                                                                      Page
                                                                         78116
                                                                            of 84
                                                                                of 122
                                                                                    Page
                                   Page
                                      ID #:2990
                                         ID #:4901




      18                                Penetration
CONTROL

                                        Testing
 Overview	                              Test the effectiveness and resiliency of enterprise assets through identifying
                                        and exploiting weaknesses in controls (people, processes, and technology), and
                                        simulating the objectives and actions of an attacker.


 Privacy Applicability

                                        This Control focuses on how to effectively simulate the actions of an external and/or internal
                                        attacker within an enterprise environment. This may include exploiting a weakness or
                                        vulnerability in a system or network. Many of the Safeguards within this Control contain
                                        privacy impacts that can be at least mitigated via policy and clearly written agreements before
                                        any testing is performed. All of this Control’s Safeguards apply.

 Privacy Implications
                                        •   As part of the testing process, personal information may be obtained by the penetration
                                            testers. This is especially true for penetration testing with a social component and those
                                            looking to include BYOD mobile devices.
                                        •   Improper handling or disposal of PII and other personal data obtained throughout the
                                            course of a testing engagement.

                                        Data Collection

                                        Any data collected by penetration testers throughout the course of their engagement should
                                        be well secured. Both organizations should agree on data disposal techniques.

                                        Data Storage

                                        Data obtained by penetration testers should not be shared, and penetration testers should
                                        quickly notify the enterprise.

 Additional Discussion

                                        The development of a penetration testing program should take the privacy of employees and
                                        users into account during formation. Since modern penetration testing engagements will often
                                        contain a social component, acceptable rules for gathering information from the web should
                                        be established. This could include collection of highly personal information about specific
                                        targets for phishing campaigns, to include publicly available information from social networks,
                                        public records, and news sites.

                                        A penetration testing program should also address what level of access and knowledge
                                        external penetration testers receive. This is especially true for systems that contain PII and
                                        other personal data. Members of any external or contracted penetration testing team should
                                        be treated as third-party service providers, and Control 15 should be applied. Finally, how to
                                        handle mobile devices and data should be scoped appropriately into the penetration testing
                                        program. This should include how to handle any BYOD devices.




 CIS Controls Privacy Companion Guide                                                                  Control 18: Penetration Testing   Page 73
  Case
   Case8:24-cv-01997-WLH-DFM
         8:24-cv-01997-JLS-DFM Document
                                Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       79117
                                                                          of 84
                                                                              of 122
                                                                                  Page
                                 Page
                                    ID #:2991
                                       ID #:4902

Fair Information Practice Principles
                                       •   The Collection Limitation Principle. Penetration testing should not collect PII and other
                                           personal data unless explicitly required in pre-approved testing methodologies.
                                       •   The Data Quality Principle. PII and other personal data collected by penetration testers
                                           should only be used for testing engagement.
                                       •   The Purpose Specification Principle. Employees should be informed what information
                                           could be collected by penetration testers and how the information will be used.
                                       •   The Use Limitation Principle. Employees should be informed if data collected by
                                           penetration testers will be transferred to other systems owned by third-party service
                                           providers. This includes if any penetration testing tools or frameworks will also collect PII
                                           and other personal data.
                                       •   The Security Safeguards Principle. Care should be taken to secure any data that likely
                                           includes PII and other personal data.
                                       •   The Openness Principle. Employees with PII and other personal data collected
                                           by penetration testers should understand what external systems may contain their
                                           personal data.
                                       •   The Individual Participation Principle. This is unlikely to be implementable without
                                           serious discussion with any service providers beforehand. Employees should have the
                                           ability to reasonably request to see what data is stored about them.
                                       •   The Accountability Principle. It will be uncommon to find service providers who comply
                                           with many of the FIPPs.

General Data Protection Regulation Principles
                                       •   Lawfulness, fairness, and transparency. Employees should have the opportunity to make
                                           an informed decision on the type of personal data that will be collected by penetration
                                           testers. A lawful basis is needed for collecting personal data.
                                       •   Purpose limitation. PII and other personal data collected by penetration testers should
                                           only be used for related activities. Users should be informed in writing when their data is to
                                           be shared. Generally, penetration testers should be told not to access personal information,
                                           and this should be documented within any rules of engagement beforehand.
                                       •   Data minimization. Personal data should not be collected unless it is necessary during the
                                           course of a testing engagement. Written processes should be in place to avoid undesirable
                                           personal data collection, but sometimes personal data will be exposed during a penetration
                                           testing engagement.
                                       •   Accuracy of data. Any personal data should be maintained with written processes
                                           documented for how user data is maintained and how incorrect data can be corrected or,
                                           more likely, removed. This is very applicable to penetration testing since personal data will
                                           sometimes be exposed during a penetration testing engagement. Reviewing the collected
                                           information and deleting unnecessary information is a common practice.
                                       •   Storage limitation. User data should only be stored for as long as needed, if it is needed at
                                           all. Obsolete or unnecessary user data should be deleted without delay.
                                       •   Integrity and confidentiality. The CIS Controls can be leveraged to enable this principle,
                                           such as Control 3: Data Protection for protecting this information. Personal data collected
                                           during a testing engagement should be protected from unauthorized access, modification,
                                           and disclosure and can be leveraged by an attacker to obtain unauthorized access to an
                                           enterprise’s systems.




CIS Controls Privacy Companion Guide                                                                    Control 18: PenetrationTesting   Page 74
  Case
   Case8:24-cv-01997-WLH-DFM
         8:24-cv-01997-JLS-DFM Document
                                Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       80118
                                                                          of 84
                                                                              of 122
                                                                                  Page
                                 Page
                                    ID #:2992
                                       ID #:4903

Control 18 Privacy Applicability Table

CIS Control 18: Penetration Testing
Safeguard          Asset               Security   Control Title/                                          Applicability Included?
                   Type                Function   Description                                             Applicability Justification and Privacy Considerations

18.1                                  -Identify- Establish and Maintain a Penetration                     Yes
                                                  Testing Program                                         The development of this program should take
                                                  Establish and maintain a penetration testing            the privacy of employees and users into account
                                                  program appropriate to the size, complexity, and        during formation.
                                                  maturity of the enterprise. Penetration testing
                                                  program characteristics include scope, such as
                                                  network, web application, Application Programming
                                                  Interface (API), hosted services, and physical
                                                  premise controls; frequency; limitations, such as
                                                  acceptable hours, and excluded attack types; point
                                                  of contact information; remediation, such as how
                                                  findings will be routed internally; and retrospective
                                                  requirements.

18.2           -Network-              -Identify- Perform Periodic External Penetration Tests              Yes
                                                 Perform periodic external penetration tests based        External penetration testers should be made aware
                                                 on program requirements, no less than annually.          of systems that contain personal data in order to
                                                 External penetration testing must include enterprise     ensure those systems are not included within the
                                                 and environmental reconnaissance to detect               scope of the testing engagement unless that is
                                                 exploitable information. Penetration testing requires    intended.
                                                 specialized skills and experience and must be
                                                 conducted through a qualified party. The testing
                                                 may be clear box or opaque box.

18.3           -Network-              -Protect- Remediate Penetration Test Findings                       Yes
                                                Remediate penetration test findings based on              Penetration testing finds in systems containing PII
                                                the enterprise’s policy for remediation scope and         and other personal data should be prioritized for
                                                prioritization.                                           remediation.

18.4           -Network-              -Protect- Validate Security Measures                                Yes
                                                Validate security measures after each penetration         Security measures for systems storing PII and
                                                test. If deemed necessary, modify rulesets and            other personal data should be validated earlier
                                                capabilities to detect the techniques used during         than others, although this is obviously a business
                                                testing.                                                  decision.

18.5                                  -Identify- Perform Periodic Internal Penetration Tests              Yes
                                                 Perform periodic internal penetration tests based on     Internal tests should abide by the rules of
                                                 program requirements, no less than annually. The         engagement for dealing with systems containing
                                                 testing may be clear box or opaque box.                  PII and personal data.




CIS Controls Privacy Companion Guide                                                                                          Control 18: PenetrationTesting       Page 75
  Case
   Case8:24-cv-01997-WLH-DFM
         8:24-cv-01997-JLS-DFM Document
                                Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       81119
                                                                          of 84
                                                                              of 122
                                                                                  Page
                                 Page
                                    ID #:2993
                                       ID #:4904


Acronyms and Abbreviations

AAA       Authentication, Authorization and Accounting      IDS     Intrusion Detection System

API       Application Programming Interface                 IP      Internet Protocol

BYOD      Bring Your Own Device                             IPS     Intrusion Prevention System

CIPP      Certified Information Privacy Professional        IT      Information Technology

CIS       Center for Internet Security                      MAC     Media Access Control (address)

COPE      Corporate Owned, Personally Enabled               NAS     National Academy of Sciences

CSP       Cloud Service Providers                           NIST    National Institute of Standards and Technology

DLP       Data Loss Protection                              NRC     Nuclear Regulatory Commission

DHCP      Dynamic Host Configuration Protocol               PHI     Protected Health Information

DMARC Domain-based Message Authentication, Reporting &      PIA     Privacy Impact Assessment
      Conformance
                                                            PII     Personally Identifiable Information
DNS       Domain Name System
                                                            SIEM    Security Information and Event Management
EMM       Enterprise Mobility Management
                                                            SLA     Service Level Agreement
ETSI      European Telecommunications Standards Institute
                                                            SME     Small/Medium Enterprise
EU        European Union
                                                            SSID    Service Set Identifier
FIPPs     Fair Information Practice Principles
                                                            SSO     Single Sign-On
GDPR      General Data Protection Regulation
                                                            URL     Uniform Resource Locator
HR        Human Resource
                                                            VPN     Virtual Private Network
HTTPS     Hypertext Transfer Protocol Secure
                                                            Wi-Fi   Wireless Fidelity
IAPP      International Association Privacy Professionals




CIS Controls Privacy Companion Guide                                                         Acronyms and Abbreviations   Page 76
  Case
   Case8:24-cv-01997-WLH-DFM
         8:24-cv-01997-JLS-DFM Document
                                Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       82120
                                                                          of 84
                                                                              of 122
                                                                                  Page
                                 Page
                                    ID #:2994
                                       ID #:4905


Links and Resources
                                       •   CIS Controls: https://www.cisecurity.org/controls/
                                       •   CIS Controls Cloud Companion Guide: https://www.cisecurity.org/white-papers/cis-
                                           controls-cloud-companion-guide/
                                       •   CIS Controls Mobile Companion Guide: https://www.cisecurity.org/white-papers/cis-
                                           controls-mobile-companion-guide-2/
                                       •   Fair Information Practice Principles (FIPPs): https://iapp.org/resources/article/fair-
                                           information-practices
                                       •   General Data Protection Regulation (GDPR): https://ec.europa.eu/info/law/law-topic/data-
                                           protection_en
                                       •   National Academies of Sciences: Privacy Research and Best Practices: Summary of a
                                           Workshop for the Intelligence Community: https://www.dni.gov/files/documents/CLPO/
                                           NAP%20Privacy%20Research%20and%20Best%20Practices.pdf
                                       •   How To Do A Privacy Impact Assessment (PIA): Privacy-Impact-Assessment-Part-2-FA.pdf
                                       •   National Institute of Standards & Technology Privacy Framework: https://www.nist.gov/
                                           privacy-framework
                                       •   European Telecommunications Standards Institute (ETSI) Critical Security Controls for
                                           Effective Cyber Defence [sic]; Part 5: Privacy enhancement: https://www.etsi.org/deliver/
                                           etsi_tr/103300_103399/10330505/01.01.01_60/tr_10330505v010101p.pdf
                                       •   Department of Homeland Security Privacy Training & Awareness: https://www.dhs.gov/
                                           privacy-training
                                       •   US Nuclear Regulatory Commission Privacy Program: https://www.nrc.gov/
                                           privacy/index.html
                                       •   California Department of Aging: Privacy & Information Security Awareness Training:
                                           https://www.aging.ca.gov/Information_Security/Privacy_and_Information_Security_
                                           Awareness_Training




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CIS Controls Privacy Companion Guide                                                                                 Links and Resources    Page 77
  Case
   Case8:24-cv-01997-WLH-DFM
         8:24-cv-01997-JLS-DFM Document
                                Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       83121
                                                                          of 84
                                                                              of 122
                                                                                  Page
                                 Page
                                    ID #:2995
                                       ID #:4906


Closing Notes
                                       In this document, we provide guidance on how to apply privacy best practices while
                                       implementing the CIS Controls Version 8. The newest version of the CIS Controls and other
                                       complementary documents may be found at www.cisecurity.org.

                                       As a nonprofit organization driven by its volunteers, we are always in the process of looking
                                       for new topics and assistance in creating cybersecurity guidance. If you are interested in
                                       volunteering and/or have questions, comments, or have identified ways to improve this guide,
                                       please write us at: controlsinfo@cisecurity.org.

                                       All references to tools or other products in this document are provided for informational
                                       purposes only, and do not represent the endorsement by CIS of any particular company,
                                       product, or technology.

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CIS Controls Privacy Companion Guide                                                                             Closing Notes     Page 78
  Case
   Case8:24-cv-01997-WLH-DFM
         8:24-cv-01997-JLS-DFM Document
                                Document88-8
                                          127-7 Filed
                                                   Filed
                                                       11/27/24
                                                         01/08/25 Page
                                                                    Page
                                                                       84122
                                                                          of 84
                                                                              of 122
                                                                                  Page
                                 Page
                                    ID #:2996
                                       ID #:4907




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